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     legal@ashleygjovik.com
 4
 5
 6                       UNITED STATES DISTRICT COURT
 7
                         NORTHERN DISTRICT OF CALIFORNIA
 8
 9
10
11                                      Case No. 3:23-CV-04597-EMC
12
13   ASHLEY GJOVIK, an individual,      PLAINTIFF’S MEMORANDUM OF
14                                      POINTS & AUTHORITIES
                  Plaintiff,
15                v.                    IN CONDITIONAL NON-OPPOSITION TO
16                                      DEFENDANT’S
     APPLE INC, a corporation,
17                                      REQUEST FOR JUDICIAL NOTICE
                  Defendant.            AT DOCKET NO. 61
18
19
20
                                        MOTION HEARING:
21
                                        Dept: Courtroom 5, 17th Floor (Virtual)
22
                                        Date: May 16, 2024
23                                      Time: 1:30 p.m.
24
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                                             i
     PLAINTIFF’S CONDITIONAL NON-OPPPSOTION TO DEFFENDANT’S          APRIL 23 2024
     REQUEST FOR JUDICIAL NOTICE | 3:23-CV-04597-EMC
 1                                                     TABLE OF CONTENTS
 2
     I.     PLAINTIFF’S MEMORANDUM IN CONDITIONAL NON-OPPOSITION TO DEFENDANT’S
 3
     MOTION REQUESTING JUDICIAL NOTICE......................................................................................... 1
 4
     II.    ISSUES TO BE DECIDED .................................................................................................................. 1
 5
     III. APPLE’S REQUEST IS MISSING REQUIRED DOCUMENTS. EXHIBIT A DOES NOT
 6   CONTAIN THE FACTS REFERENCED TO DENY THE MOTION TO DISMISS RELATED TO
 7   GOOD FAITH AND FAIR DEALING. ....................................................................................................... 2

 8   IV. THE MOTION SHOULD BE GRANTED IF THE REQUEST IS SUPPLEMENTED WITH
     BANKO’S FIRST AMENDED COMPLAINT. ........................................................................................... 3
 9
     V.     THE REQUEST SHOULD BE SUPPLEMENTED WITH ADDITIONAL FILINGS INCLUDING
10
     BANKO’S FAC, APPLE’S TWO MOTIONS TO DISMISS BANKO’S COMPLAINTS, AND
11
     BANKO’S OPPOSITION BRIEFING......................................................................................................... 3
12
     VI. CONCLUSION .................................................................................................................................... 5
13
14
15
16
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22
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                                                                                   ii
     PLAINTIFF’S CONDITIONAL NON-OPPPSOTION TO DEFFENDANT’S                                                               APRIL 23 2024
     REQUEST FOR JUDICIAL NOTICE | 3:23-CV-04597-EMC
 1                                                      CASES
 2
     Banko v. Apple Inc., 20 F. Supp. 3d 749, 759 (N.D. Cal. Sept. 27, 2013). -------------------------------------2
 3
     Banko v. Apple, Inc., No. 13-02977 RS, 11 (N.D. Cal. Dec. 16, 2013). ----------------------------------------2
 4
     Orr v. Bank of America, NT & SA, 285 F.3d 764, 779 n.26 (9th Cir. 2002). ----------------------------------5
 5
     Rosenberg-Wohl v. State Farm Fire & Cas. Co., 20-cv-09316-DMR, 6 (N.D. Cal. Mar. 28, 2022). -------2
 6
     United States v. Corinthian Colls., 655 F.3d 984, 999 (9th Cir. 2011). -----------------------------------------2
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                                                                iii
     PLAINTIFF’S CONDITIONAL NON-OPPPSOTION TO DEFFENDANT’S                                   APRIL 23 2024
     REQUEST FOR JUDICIAL NOTICE | 3:23-CV-04597-EMC
 1
     I.     PLAINTIFF’S MEMORANDUM IN CONDITIONAL NON-OPPOSITION TO
 2
            DEFENDANT’S MOTION REQUESTING JUDICIAL NOTICE
 3
            1.      Plaintiff, Ashley Gjovik, respectfully submits the following Memorandum of
 4
     Points and Authorities in conditional non-opposition to Defendant’s latest Motion Requesting
 5
 6   Judicial Notice at Docket No. 61. A Declaration is concurrently attached at Docket No. 63-1.

 7
     II.    ISSUES TO BE DECIDED
 8
            2.      On April 16 2024, Defendant filed a new motion requesting judicial notice of one
 9
10   document, listed by Defendant as “Exhibit A: Complaint, Banko v. Apple Inc., N.D. Cal. No.

11   3:13-cv-02977-VC, Dkt. 1 (June 27, 2013).” Docket No. 61-1, Ex. A. Defendant claimed this

12   Motion was “in connection with its Reply in Support of its Motion to Dismiss Plaintiff’s Third
13
     Amended Complaint.” Def.’s Mot. for Judicial Notice at page 1 and Docket No. 61.
14
            3.      Replies are not supposed to introduce new facts; however, introducing papers
15
     already filed to this Court in order to clarify arguments made in the instant TAC, Motion,
16
17   Opposition, and Reply seems appropriate.

18          4.      Apple argues judicial notice is proper due to Plaintiff’s arguments related to her
19   claims for Breach of Implied Contract and Breach of Implied Warranty of Good Faith and Fair
20
     Dealing. Plaintiff agrees the briefing for Banko v Apple Inc may be relevant to Gjovik v Apple Inc
21
     due to the similarities in legal claims and arguments from both Plaintiffs (Banko and Gjovik) and
22
     Defendant (Apple). Banko and Gjovik also worked in the same Apple Hardware Engineering
23
24   organization at the time of their involuntary terminations. Gjovik v Apple TAC ¶ 18; Banko v Apple

25   Original Complaint ¶ 19, 38 and FAC ¶ 19, 38.
26
27
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     PLAINTIFF’S CONDITIONAL NON-OPPPSOTION TO DEFFENDANT’S                       APRIL 23 2024
     REQUEST FOR JUDICIAL NOTICE | 3:23-CV-04597-EMC
 1   III.   APPLE’S REQUEST IS MISSING REQUIRED DOCUMENTS. EXHIBIT A
 2          DOES NOT CONTAIN THE FACTS REFERENCED TO DENY THE
 3          MOTION TO DISMISS RELATED TO GOOD FAITH AND FAIR DEALING.
 4
            5.      Apple notes “the Court declined to dismiss [Banko’s] ‘Breach of Contract and
 5
     Breach of Implied Covenant of Good Faith and Fair Dealing’ claim.” D’s Motion for Judicial
 6
 7   Notice at page 1. Apple adds, “Apple requests that the Court take notice of the complaint at issue

 8   in Banko, not for the truth of the allegations asserted therein, but rather for the fact that the
 9   allegations therein were the operative allegations at issue in the motion to dismiss in Banko.” Id.
10
            6.      However, Apple’s Motion only introduces Banko’s Original Complaint for which
11
     the subsequent Order on September 27 2013 did not dismiss the Implied Contract claim, but did
12
     dismiss the Implied Covenant of Good Faith and Fair Dealing claim. Banko v. Apple Inc., 20 F.
13
14   Supp. 3d 749, 759 (N.D. Cal. Sept. 27, 2013). A second Order on December 16 2013 later denied

15   Apple’s motion to dismiss the covenant of good faith and fair dealing claim in Banko’s first
16   amended Complaint. Banko v. Apple, Inc., No. 13-02977 RS, 11 (N.D. Cal. Dec. 16, 2013).
17
            7.      It is usually not appropriate for a court to grant judicial notice to a defendant for
18
     evidence to support a Fed. R. Civ. Pro. 12(b)(6) motion unless the complaint relies on the
19
20   document, the document is central to a party’s claims, and no party questions the authenticity of

21   the document. United States v. Corinthian Colls., 655 F.3d 984, 999 (9th Cir. 2011). At this phase

22   of the lawsuit, judicial notice to support a motion to dismiss may only be appropriate “if the court
23
     is to rely on the document in determining whether to dismiss the complaint.” Rosenberg-Wohl v.
24
     State Farm Fire & Cas. Co., 20-cv-09316-DMR, 6 (N.D. Cal. Mar. 28, 2022).
25
            8.      Accordingly, Plaintiff supports this request only if the Judge finds the documents
26
27   needed for the Rule 12(b)(6) motion.

28


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     PLAINTIFF’S CONDITIONAL NON-OPPPSOTION TO DEFFENDANT’S                         APRIL 23 2024
     REQUEST FOR JUDICIAL NOTICE | 3:23-CV-04597-EMC
 1   IV.    THE MOTION SHOULD BE GRANTED IF THE REQUEST IS
 2          SUPPLEMENTED WITH BANKO’S FIRST AMENDED COMPLAINT.
 3
            9.      As Apple’s Request for Judicial Notice was specific to both the Implied Contract
 4
     and the Implied Covenant of Good Faith and Fair Dealing, then the request must include Banko’s
 5
     First Amended Complaint (Exhibit E) in addition to Banko’s Original Complaint (Apple’s Docket
 6
 7   No. 61-1 Exhibit A). Otherwise, the facts pled found to be a plausible claim for the covenant will

 8   not actually be judicially noticed.
 9
     V.     THE REQUEST SHOULD BE SUPPLEMENTED WITH ADDITIONAL
10
            FILINGS INCLUDING BANKO’S FAC, APPLE’S TWO MOTIONS TO
11
            DISMISS BANKO’S COMPLAINTS, AND BANKO’S OPPOSITION
12
            BRIEFING
13
14          10.     In addition, if Apple would like to request this Court to examine the Banko v Apple

15   Inc. case in depth, it seems proper to also include the briefings that were considered by this Court

16   in making both of the motion to dismiss decisions in Banko v Apple. True and correct copies are
17
     attached under the following exhibits and authenticated in the attached Declaration.
18
            11.     Attached as Exhibit A is Apple’s Motion to Dismiss Banko’s Original Complaint.
19
     See, Case 3:13-cv-02977, Docket No. 11, August 5 2013.
20
21          12.     Attached as Exhibit B is Banko’s Opposition to Apple’s Motion to Dismiss

22   Banko’s Original Complaint. See, Case 3:13-cv-02977, Docket No. 18, August 26 2013.
23          13.     Attached as Exhibit C is Apple’s Reply to Banko’s Opposition to Apple’s Motion
24
     to Dismiss Banko’s Original Complaint. Case 3:13-cv-02977, Docket No. 22, September 9 2013.
25
            14.     Attached as Exhibit D is the Order, Banko v. Apple Inc., 20 F. Supp. 3d 749 (N.D.
26
     Cal. 2013). See, Case 3:13-cv-02977, Docket No. 29.
27
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     PLAINTIFF’S CONDITIONAL NON-OPPPSOTION TO DEFFENDANT’S                         APRIL 23 2024
     REQUEST FOR JUDICIAL NOTICE | 3:23-CV-04597-EMC
 1          15.    Attached as Exhibit F is Apple’s Motion to Dismiss Banko’s First Amended

 2   Complaint. See, Case 3:13-cv-02977, Docket No. 32, November 7 2013.
 3
            16.    Attached as Exhibit G is Order, Banko v. Apple, Inc., No. 13-02977 RS (N.D. Cal.
 4
     Dec. 16, 2013). See, Case 3:13-cv-02977, Docket No. 38.
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     PLAINTIFF’S CONDITIONAL NON-OPPPSOTION TO DEFFENDANT’S                    APRIL 23 2024
     REQUEST FOR JUDICIAL NOTICE | 3:23-CV-04597-EMC
 1
 2   VI.    CONCLUSION
 3          17.     In conclusion, Plaintiff does not oppose Apple’s request for Judical Notice in the
 4
     Motion at Docket No. 61 as long as Banko’s First Amended Complaint is also included (Exhibit
 5
     E). In addition, Plaintiff suggests that the Orders (Exhibits D and H) be included, as well as the
 6
     briefings and papers the Orders were based on (Exhibits A, B, C, F, and G).
 7
 8          18.     Finally, if this Court does not want to review Banko v Apple in depth, and as such

 9   finds these documents unneeded, then Plaintiff also has no opposition to this Court denying

10   Apple’s request for Judicial Notice.
11
12
13   Dated: April 23 2024
14
     Signature:
15
16
17
18   ___________________________
19   s/ Ashley M. Gjovik
20
     Pro Se Plaintiff
21
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24   Phone: (408) 883-4428

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     PLAINTIFF’S CONDITIONAL NON-OPPPSOTION TO DEFFENDANT’S                        APRIL 23 2024
     REQUEST FOR JUDICIAL NOTICE | 3:23-CV-04597-EMC
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 2
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 9                         EXHIBIT A
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11
                 Banko v Apple (2013), Apple’s First Motion to Dismiss
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     PLAINTIFF’S CONDITIONAL NON-OPPPSOTION TO DEFFENDANT’S      APRIL 23 2024
     REQUEST FOR JUDICIAL NOTICE | 3:23-CV-04597-EMC
                                      Case 3:13-cv-02977-VC Document 11 Filed 08/05/13 Page 1 of 27



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                          7

                          8                                     UNITED STATES DISTRICT COURT
                          9                                    NORTHERN DISTRICT OF CALIFORNIA
                       10                                             OAKLAND DIVISION
                       11

                       12        JOSHUA BANKO,                                   Case No. CV13-02977

                       13                         Plaintiff,                     DEFENDANT APPLE INC.'S NOTICE OF
                                                                                 MOTION; MOTION TO DISMISS
                       14               v.                                       PLAINTIFF'S COMPLAINT PURSUANT
                                                                                 TO FED. R. CIV. P. 12(b)(1) and 12(b)(6);
                       15        APPLE INC., and DOES 1-50,                      MEMORANDUM OF POINTS AND
                                                                                 AUTHORITIES IN SUPPORT OF
                       16                         Defendants.                    DEFENDANT'S MOTION TO DISMISS
                                                                                 PLAINTIFF'S COMPLAINT PURSUANT
                       17                                                        TO FED.R.CIV.P. 12(b)(1) AND 12(b)(6)

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                                                DEFT APPLE'S NOTICE OF MOTION, MOTION TO DISMISS AND MPA'S ISO THEREOF
                                        Case 3:13-cv-02977-VC Document 11 Filed 08/05/13 Page 2 of 27



                          1                                                        TABLE OF CONTENTS
                          2                                                                                                                                                PAGE
                          3      I.      STATEMENT OF ISSUES TO BE DECIDED ...................................................................... 2

                          4      II.     INTRODUCTION ................................................................................................................... 3

                          5      III.    STATEMENT OF ALLEGATIONS ....................................................................................... 4

                          6      IV.     LEGAL ARGUMENT ............................................................................................................. 5

                          7              A.        Standard On A Rule 12(b)(6) Motion .......................................................................... 5

                          8              B.        Plaintiff Has Not Alleged Facts Establishing His First Claim For Relief For
                                                   An Alleged Violation Of The Dodd-Frank Act (15 U.S.C. § 78u-6) .......................... 7
                          9
                                                   1.         Plaintiff Is Not A Whistleblower Under Dodd-Frank...................................... 7
                       10
                                                   2.         The Court Lacks Jurisdiction Over Plaintiff’s SOX Allegations Which
                       11                                     Are Barred By The Statute Of Limitations And SOX’s Administrative
                                                              Procedure Requirements ................................................................................ 10
                       12
                                                   3.         Plaintiff’s Communications Were Not Required or Protected Under
                       13                                     SOX................................................................................................................ 11

                       14                C.        Plaintiff’s Second Claim For Relief For Wrongful Termination Should Be
                                                   Dismissed As He Has Failed To Allege A Violation Of Public Policy ..................... 13
                       15
                                         D.        Plaintiff Has Not Alleged Facts Establishing The Essential Elements Of His
                       16                          Third Claim For Relief For Retaliation ..................................................................... 15

                       17                E.        Plaintiff Has Not Alleged Facts Establishing The Essential Elements Of His
                                                   Fourth Claim For Relief For Breach Of Contract ...................................................... 17
                       18
                                         F.        Plaintiff’s Fifth Claim For Relief Breach Of The Covenant Of Good Faith
                       19                          And Fair Dealing Fails As A Matter Of Law ............................................................ 21

                       20        V.      CONCLUSION ...................................................................................................................... 22

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                                                                                           TABLE OF CONTENTS
        Case 3:13-cv-02977-VC Document 11 Filed 08/05/13 Page 3 of 27




                                                  TABLE OF AUTHORITIES

                                                                                                                                     Page(s)
CASES

Aguilar v. Atlantic Richfield Co.,
   25 Cal. 4th 826 (2001) .............................................................................................................20

Allen v. Beverly Hills,
    911 F.2d 367 (9th Cir. 1990) ...................................................................................................19

Allen v. Dep’t. of Labor,
    514 F.3d 468 (5th Cir. 2008) ...................................................................................................12

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   No. 12-20522, 2013 U.S. App. LEXIS 14470 (5th Cir. July 17, 2013)........................... passim

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ...........................................................................................................5, 6, 7

Balistreri v. Pacifica Police Dept.,
   901 F.2d 696 (9th Cir. 1990) .....................................................................................................5

Bedroc Ltd. v. United States,
   541 U.S. 176 (2004) ...................................................................................................................9

Bell Atl. Corp. v. Twombly,
    550 U.S. 544 (2007) ...........................................................................................................5, 6, 7

Bionghi v. Metro Water Dist.,
   70 Cal.App.4th 1358 (1999) ....................................................................................................22

Bishop v. PCS Admin., Inc.,
   2006 U.S. Dist. LEXIS 37230 .................................................................................................12

Burt v. Irvine Co.,
   237 Cal. App. 2d 828 (1965) ...................................................................................................19

Carter v. Escondido Union High School District,
   148 Cal.App.4th 922 (2007) ....................................................................................................13

Coppinger-Martin v. Nordstrom, Inc.,
   627 F.3d 745 (9th Cir. 2010) .............................................................................................10, 11

Day v. Staples Inc.,
   555 F.3d 42 (1st Cir. 2009) ......................................................................................................11

Edgerly v. City of Oakland,
   211 Cal.App.4th 1191 (2012) ............................................................................................16, 17

                                                                       i
                                                         TABLE OF AUTHORITIES
         Case 3:13-cv-02977-VC Document 11 Filed 08/05/13 Page 4 of 27



Foley v. Interactive Data Corp.,
   47 Cal.3d 654 (1988) .........................................................................................................14, 21

Fraser v. Fiduciary Trust Co. Int’l,
   417 F.Supp.2d 310 (S.D.N.Y. Aug. 25, 2006) aff’d, 396 Fed. Appx. 734 (2d Cir. 2010) ......12

Gale v. World Fin. Group,
   2006-SOX-43 (Dep’t. of Labor June 9, 2006) .........................................................................12

Gant v. Sentry Insurance,
   1 Cal.4th 1083 (1992) ..............................................................................................................14

Godfrey v. Union Pac. R.R. Co.,
   ARB Case No. 08-088, *4 (July 30, 2009) ..............................................................................12

Green v. Ralee Engineering Co.,
   19 Cal. 4th 66 (1988) .........................................................................................................15, 16

Guz v. Bechtel National, Inc.,
   24 Cal.4th 317 (2000) ...................................................................................................... passim

Horn v. Cushman & Wakefield Western, Inc.,
   72 Cal.App.4th 798 (1999) ................................................................................................19, 20

In re Gilead Sciences Securities Litigation,
    536 F.3d 1049 (9th Cir. 2008) ...................................................................................................5

In Riddle v. First Tenn. Bank Nat’l Assoc.,
    2012 U.S. App. LEXIS 18684 .................................................................................................12

INS v. Cardozo Fonesca,
   480 U.S. 421 (1987) ...................................................................................................................9

Kovatch v. Cal. Casualty Management Co.,
   65 Cal. App. 4th 1256 (1998) ..................................................................................................20

Livingston v. Wyeth, Inc.,
    2006 U.S. Dist. LEXIS 52978 (M.D.N.C. July 28, 2006) aff’d 520 F.3d 344 (4th Cir.
    2008) ..................................................................................................................................12, 13

Love v. Motion Industries, Inc.,
   309 F.Supp.2d 1128 (N.D. Cal. 2004) .....................................................................................15

Meese v. Keene,
   481 U.S. 465 (1987) ...................................................................................................................9

Mueller v. County of Los Angeles,
  176 Cal.App.4th 809 (2009) ....................................................................................................17


                                                                          ii
                                                            TABLE OF AUTHORITIES
        Case 3:13-cv-02977-VC Document 11 Filed 08/05/13 Page 5 of 27



Passantino v. Johnson & Johnson Consumer Prods., Inc.,
   212 F.3d 493 (9th Cir. 2000) ...................................................................................................15

Robinson v. Morgan Stanley,
   No. 07-070, 2010 .....................................................................................................................12

Sequoia Ins. Co. v. Superior Court
   13 Cal.App.4th 1472 (1993) ....................................................................................................14

Silvas v. E*Trade Mortg. Corp.,
    421 F.Supp.2d 1315 (S.D. Cal. 2006) ........................................................................................5

Stevenson v. Superior Court,
    16 Cal.4th 880 (1997) ..............................................................................................................13

Strigliabotti v. Franklin Resources, Inc.,
    398 F.Supp.2d 1094 (N.D. Cal. 2005) .......................................................................................5

Strother v. S. Cal. Permanente Med. Group,
    79 F.3d 859 (9th Cir. 1996) .....................................................................................................15

Tameny v. Atlantic Richfield Co.,
   27 Cal.3d 167 (1980) ...............................................................................................................13

TRW Inc. v. Andrews,
  534 U.S. 19 (2001) ...................................................................................................................10

Turner v. Anheuser-Busch, Inc.,
   7 Cal.4th 1238 (1994) ..............................................................................................................14

Van Asdale v. Int’l Game Tech.,
   577 F.3d 989 (9th Cir. 2009) ...................................................................................................11

STATUTES

12 U.S.C. § 5567(c)(4)(D) .............................................................................................................10

15 U.S.C. § 78u-6 ....................................................................................................3, 7, 8, 9, 10, 15

18 U.S.C. 1514A ............................................................................................................................15

18 U.S.C. § 1514A(a)(1) ..........................................................................................................11, 12

18 U.S.C. § 1514A(b)(2)(D) ..........................................................................................................10

Cal. Civ. Code § 1636 ....................................................................................................................19

Cal. Labor Code § 2922 .................................................................................................................18

Cal. Labor Code § 1102.5 ..........................................................................................................3, 15

                                                                        iii
                                                           TABLE OF AUTHORITIES
         Case 3:13-cv-02977-VC Document 11 Filed 08/05/13 Page 6 of 27



Dodd-Frank Wall Street Reform Consumer Protection Act of 2010, Pub. L. No. 111-203 §
   922, 124 Stat. 1376, 1841-49 (2010) .......................................................................................11

Labor Code section 1102.5(b)........................................................................................................16

Labor Code sections 1102.5(b) and (c) ..............................................................................15, 16, 17

Sarbanes-Oxley Act (“SOX”) ................................................................................................3,.8, 12

OTHER AUTHORITIES

29 C.F.R. § 1980.103(d) ................................................................................................................10

7, *21 (ARB Jan. 10, 2010) ...........................................................................................................12

Restoring American Financial Stability Act of 2010, H.R. 4173, 111th .........................................9

Rule 12(b)(6) ....................................................................................................................................5

Wall Street Reform and Consumer Protection Act of 2009, H.R. 4173, 111th ...............................9




                                                                          iv
                                                             TABLE OF AUTHORITIES
                                       Case 3:13-cv-02977-VC Document 11 Filed 08/05/13 Page 7 of 27



                          1                            NOTICE OF MOTION AND MOTION TO DISMISS

                          2      TO PLAINTIFF JOSHUA BANKO AND TO HIS ATTORNEYS OF RECORD:

                          3                     PLEASE TAKE NOTICE that on Thursday, September 26, 2013, at 1:30 p.m., or as

                          4      soon thereafter as the matter may be heard in Courtroom 3 (17th Floor) of the above-entitled Court,

                          5      located at 450 Golden Gate Avenue, San Francisco, California, 94102, Apple Inc., (“Defendant” or

                          6      “Apple”) will and hereby moves the Court for an order dismissing Plaintiff’s first, second, third,

                          7      fourth and fifth claims for relief under FCRP 12(b)(1) and 12(b)(6) with prejudice on the grounds

                          8      that Plaintiff Joshua Banko (“Plaintiff”) fails to state facts sufficient to establish a claim upon which

                          9      relief can be granted and on the grounds the Court lacks jurisdiction due to Plaintiff’s failure to
                       10        exhaust his administrative remedies.

                       11                       Apple’s motion is based on this Notice, the Memorandum of Points and Authorities

                       12        set forth below, the files and records in this action, and any further evidence and argument that the

                       13        Court may receive at or before the hearing.

                       14        I.        STATEMENT OF ISSUES TO BE DECIDED
                       15                       Apple’s motion seeks dismissal of Plaintiff’s complaint in its entirety with prejudice

                       16        presents the Court with the following issues for decision:

                       17                       1.      Does Plaintiff’s first claim for relief state facts sufficient to establish a claim

                       18        for violation of Dodd-Frank and/or SOX?

                       19                       2.      Does Plaintiff’s second claim for relief state facts sufficient to establish that
                       20        Apple wrongfully terminated his employment in violation of some unidentified fundamental public

                       21        policy?

                       22                       3.      Does Plaintiff’s third claim for relief state facts sufficient to establish that

                       23        Apple terminated his employment in retaliation for his engaging in a protected activity?

                       24                       4.      Does Plaintiff’s fourth claim for relief state facts sufficient to establish that

                       25        Apple breached some agreement to terminate his “at-will” employment under only certain

                       26        unidentified circumstances?

                       27                       5.      Does Plaintiff’s fifth claim for relief state facts sufficient to establish Apple

                       28        violated the implied covenant of good faith and fair dealing in terminating his employment?
 LITTLER MENDELSON, P.C.
50 W. San Fernando, 15th Floor
  San Jose, CA 95113.2303
        408.998.4150
                                                                                  2.                                 Case No. CV13-02977

                                                 DEFT APPLE'S NOTICE OF MOTION, MOTION TO DISMISS AND MPA'S ISO THEREOF
                                       Case 3:13-cv-02977-VC Document 11 Filed 08/05/13 Page 8 of 27



                          1                                MEMORANDUM OF POINTS AND AUTHORITIES

                          2      II.     INTRODUCTION
                          3                      Plaintiff is a former “at-will” Apple employee who brings this meritless lawsuit based

                          4      on his contention that Apple unlawfully terminated his employment on January 14, 2013, because he

                          5      reported that one of his subordinates had allegedly padded her expense reports she submitted to

                          6      Apple in violation of Apple’s internal policies and procedures. Even assuming this was true, which

                          7      it is not, Plaintiff’s allegations do not amount to a violation of the law.

                          8                      As discussed below, Plaintiff has not and cannot establish the essential elements of

                          9      his five claims for relief for: (1) violation of the Dodd-Frank Act (“Dodd-Frank”) (15 U.S.C. § 78u-
                       10        6) and the Sarbanes-Oxley Act (“SOX”) (18 U.S.C. § 1514A); (2) wrongful termination in violation

                       11        of public policy; (3) retaliation in violation of Dodd-Frank, SOX, and/or California Labor Code

                       12        Section 1102.5; (4) breach of employment contract; and (5) breach of the implied covenant of good

                       13        faith and fair dealing.

                       14                        Plaintiff’s first and third claims under Dodd-Frank and SOX fail because he has not

                       15        alleged he engaged in any protected activity, and on the grounds that his Dodd-Frank and SOX

                       16        claims are barred by his failure to exhaust his necessary and jurisdictional pre-filing administrative

                       17        remedies. His second claim for wrongful termination in violation of public policy fails because he

                       18        has identified no State or federal constitutional, statutory, or regulatory provision that Apple

                       19        allegedly violated in terminating his employment. His fourth and fifth claims for breach of implied
                       20        contract and of the implied covenant of good faith and fair dealing fail because he has not and cannot

                       21        establish Apple breached any agreement it had to terminate his “at-will” employment under only

                       22        specified circumstances.

                       23                        While Plaintiff may be unhappy with Apple’s decision to terminate his employment,

                       24        he has not and cannot allege any facts establishing Apple violated any federal or State statute in

                       25        doing so. Apple’s motion should therefore be granted.

                       26

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                                                                                   3.                               Case No. CV13-02977

                                                  DEFT APPLE'S NOTICE OF MOTION, MOTION TO DISMISS AND MPA'S ISO THEREOF
                                        Case 3:13-cv-02977-VC Document 11 Filed 08/05/13 Page 9 of 27



                          1      III.    STATEMENT OF ALLEGATIONS

                          2                     Plaintiff alleges he worked as an engineer for Apple from September 2000 until his

                          3      employment was terminated on January 14, 2013. (Plaintiff’s Complaint “Compl.,” ¶¶9, 48.) He

                          4      claims to have received multiple promotions, led numerous high profile projects, received numerous

                          5      outstanding performance reviews, received several merit based salary increases and discretionary

                          6      bonuses and was otherwise routinely complemented on his job performance during his employment.

                          7      (Id. at ¶¶ 9-22.) He also claims his “performance never necessitated any performance improvement

                          8      plan, nor did Apple ever issue any negative written reviews.” (Id. at ¶11.)

                          9                     He further alleges that in early 2012, he noticed that one of his direct reports, another

                       10        engineer called “Employee Roe,” was allegedly submitting fraudulent charges on her expense

                       11        reports. (Id. at ¶30.) Plaintiff claims to have instructed Employee Roe to remove the charges from

                       12        her expense reports but she failed to do so. (Id. at ¶31.) Believing her alleged fraudulent charges

                       13        constituted a violation of Apple’s policies and some unidentified “law,” he believed he was required

                       14        to report her to his supervisor. (Id. at ¶32.) When his supervisor allegedly told him not to report

                       15        Employee Roe, Plaintiff proceeded in reporting the alleged conduct to Apple’s management.

                       16        (Compl., ¶34.) Plaintiff claims Apple conducted an investigation of his report and discovered she

                       17        had submitted over 40 fraudulent expense reports. (Id. at ¶36.)

                       18                       Because of Apple’s investigation, Plaintiff claims he recommended Employee Roe be

                       19        fired. (Id. at ¶37.) Plaintiff claims his supervisors rebuffed his suggestion, and he thus made his

                       20        termination recommendation directly to Apple’s Human Resources Department. (Id. at ¶¶39-40.)

                       21        He claims Apple Human Resources’ Business Partner held a meeting with his supervisors regarding

                       22        whether to fire Employee Roe. (Id. at ¶42.) Plaintiff alleges Apple terminated Employee Roe’s

                       23        employment on about December 31, 2012. (Id.) Plaintiff claims his supervisors and others were

                       24        upset that he had reported Employee Roe’s falsification of her expense reports and recommended her

                       25        termination. (Compl., ¶43.)

                       26                       Plaintiff alleges that on January 9, 2013, he was called into a meeting with his

                       27        supervisor and one of Apple Human Resources Department’s Business Partners. (Id. at ¶47.) He

                       28        claims they pulled him off the project he was working on and told him to stay home the rest of the
 LITTLER MENDELSON, P.C.
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  San Jose, CA 95113.2303
        408.998.4150
                                                                                 4.                                 Case No. CV13-02977

                                                 DEFT APPLE'S NOTICE OF MOTION, MOTION TO DISMISS AND MPA'S ISO THEREOF
                                       Case 3:13-cv-02977-VC Document 11 Filed 08/05/13 Page 10 of 27



                          1      week and return to work on January 14, 2013. (Id.) He claims that when he returned to work on

                          2      January 14, 2013, Apple terminated his employment. (Id.)

                          3      IV.    LEGAL ARGUMENT
                          4             A.      Standard On A Rule 12(b)(6) Motion.
                          5                     In ruling on a motion to dismiss under Rule 12(b)(6), the court must determine

                          6      whether the plaintiff has stated a claim upon which relief may be granted. See Fed. R. Civ. P.

                          7      12(b)(6); Strigliabotti v. Franklin Resources, Inc., 398 F.Supp.2d 1094, 1097 (N.D. Cal. 2005)

                          8      (discussing the standards under Rule 12(b)(6)). The Court should grant a motion to dismiss when a

                          9      set of facts pled, even if true, would not entitle the plaintiff to relief. Balistreri v. Pacifica Police
                       10        Dept., 901 F.2d 696, 699 (9th Cir. 1990) (as amended) (motion to dismiss warranted when there is

                       11        an “absence of sufficient facts alleged under a cognizable legal theory”) (disapproved on other

                       12        grounds in Bell Atl. Corp. v. Twombly, 550 U.S. 544, 562-63 (2007)).

                       13                       To survive a motion to dismiss, a Complaint must offer “more than labels and

                       14        conclusions, and a formulaic recitation of the elements of a cause of action will not do.” Bell Atl.

                       15        Corp. v. Twombly, 550 U.S. 544, 555 (2007). And, although the court must assume the Complaint’s

                       16        factual allegations are true, “legal conclusions need not be taken as true merely because they are cast

                       17        in the form of factual allegations.” Silvas v. E*Trade Mortg. Corp., 421 F.Supp.2d 1315, 1317 (S.D.

                       18        Cal. 2006). “Nor is the court required to accept as true allegations that are . . . unreasonable

                       19        inferences.” In re Gilead Sciences Securities Litigation, 536 F.3d 1049, 1055 (9th Cir. 2008)
                       20        (quoting Sprewell v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir. 2001)).

                       21                       Further, while the pleading standard under the Federal Rules of Civil Procedure “does

                       22        not require ‘detailed factual allegations,’ . . . it [certainly] demands more than an unadorned, the-

                       23        defendant-unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting

                       24        Twombly, supra, 550 U.S. at 555). A complaint that offers “‘naked assertion[s]’ devoid of ‘further

                       25        factual enhancement’” is insufficient. Ashcroft, 556 U.S. at 678 (quoting Twombly, 550 U.S. at

                       26        557). Rather, factual allegations must “possess enough heft to show that the pleader is entitled to

                       27        relief.” Twombly, 550 U.S. at 557 (citations omitted). A plaintiff must plead a “statement of

                       28
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        408.998.4150
                                                                                 5.                                  Case No. CV13-02977

                                                 DEFT APPLE'S NOTICE OF MOTION, MOTION TO DISMISS AND MPA'S ISO THEREOF
                                      Case 3:13-cv-02977-VC Document 11 Filed 08/05/13 Page 11 of 27



                          1      circumstances, occurrences, and events in support of the claim presented.” Id. at 556 n.3, citation

                          2      omitted. As the Supreme Court stated in Twombly, 550 U.S. at 555:

                          3                     While a complaint attacked by Rule 12 (b)(6) motion to dismiss does not
                          4                     need detailed factual allegations [citation], a plaintiff's obligation to
                                                provide the 'grounds' of his 'entitlement to relief’ requires more than labels
                          5                     and conclusions, and a formulaic recitation of the elements of a cause of
                                                action will not do [citation]. Factual allegations must be enough to raise a
                          6                     right to relief above the speculative level . . . . [T]he pleading must contain
                                                something more . . . than . . . a statement of facts that merely creates a
                          7                     suspicion [of] a legally cognizable right of action . . . . [citations].
                          8      Likewise, the court further noted in Ashcroft v. Iqbal, 556 U.S. at 678-79 that:
                          9
                                                A court considering a motion to dismiss can choose to begin by
                       10                       identifying allegations that, because they are mere conclusions, are not
                                                entitled to the assumption of truth. While legal conclusions can
                       11                       provide the framework of a complaint, they must be supported by
                                                factual allegations. When there are well-pleaded factual allegations, a
                       12
                                                court should assume their veracity and then determine whether they
                       13                       plausibly give rise to an entitlement to relief. . . .

                       14                       A pleading that offers “labels and conclusions” or “a formulaic recitation
                                                of the elements of a cause of action will not do.” [Citation.] Nor does a
                       15                       complaint suffice if it tenders “naked assertion[s]” devoid of “further
                                                factual enhancement.” [Citation.]
                       16

                       17                       To survive a motion to dismiss, a complaint must contain sufficient
                                                factual matter, accepted as true, to “state a claim to relief that is plausible
                       18                       on its face.” [Citation.] A claim has facial plausibility when the plaintiff
                                                pleads factual content that allows the court to draw the reasonable
                       19                       inference that the defendant is liable for the misconduct alleged.
                                                [Citation.] The plausibility standard is not akin to a “probability
                       20
                                                requirement,” but it asks for more than a sheer possibility that a defendant
                       21                       has acted unlawfully. [Citation.] Where a complaint pleads facts that are
                                                “merely consistent with” a defendant's liability, it “stops short of the line
                       22                       between possibility and plausibility of ‘entitlement to relief.’” [Citation.]

                       23                       [O]nly a complaint that states a plausible claim for relief survives a motion
                                                to dismiss. [Citation.] Determining whether a complaint states a plausible
                       24
                                                claim for relief will, as the Court of Appeals observed, be a context
                       25                       specific task that requires the reviewing court to draw on its judicial
                                                experience and common sense. [Citation.] But where the well-pleaded
                       26                       facts do not permit the court to infer more than the mere possibility of
                                                misconduct, the complaint has alleged--but it has not “show[n]”—
                       27                       “that the pleader is entitled to relief.” Fed. Rule Civ. Proc. 8(a)(2).
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  San Jose, CA 95113.2303
        408.998.4150
                                                                                 6.                                  Case No. CV13-02977

                                                 DEFT APPLE'S NOTICE OF MOTION, MOTION TO DISMISS AND MPA'S ISO THEREOF
                                         Case 3:13-cv-02977-VC Document 11 Filed 08/05/13 Page 12 of 27



                          1      Ashcroft 556 U.S. at 678-679 (emphasis added). A court should not assume that a plaintiff can prove

                          2      facts not alleged. Twombly, 550 U.S. at 563 n.8 (quoting Associated Gen. Contractors of Calif., Inc.

                          3      v. California State Council of Carpenters, 459 U.S. 519, 526 (1983)). If a plaintiff’s allegations do

                          4      not bring his “claims across the line from conceivable to plausible, [his] complaint must be

                          5      dismissed.” Twombly, at 570. As discussed below, Plaintiff’s Complaint fails to allege facts

                          6      establishing his five claims for relief under this pleading standard.

                          7               B.     Plaintiff Has Not Alleged Facts Establishing His First Claim For Relief For An
                                                 Alleged Violation Of The Dodd-Frank Act (15 U.S.C. § 78u-6).
                          8

                          9                      Plaintiff’s first claim for relief fails as a matter of law because he has alleged no facts
                       10        establishing he engaged in any protected activity and his claims are barred by the statute of

                       11        limitations.

                       12                        1.      Plaintiff Is Not A Whistleblower Under Dodd-Frank.
                       13                        Plaintiff cannot state a claim for relief under Dodd-Frank because he did not make a

                       14        report to the Securities and Exchange Commission (“SEC”) and therefore does not meet the statutory

                       15        definition of a “whistleblower.” Congress could not have been more clear: the anti-retaliation

                       16        provision of Dodd-Frank prohibits actions taken against “whistleblowers.”             15 U.S.C. § 78u-

                       17        6(h)(1)(A). A “whistleblower” is defined as “any individual who provides, or 2 or more individuals

                       18        acting jointly who provide, information relating to a violation of the securities law to the [Securities

                       19        and Exchange] Commission . . . .” Id. § 78u-6(a)(6) (emphasis added). Congress mandated this
                       20        definition “shall apply” to the entire statute, including the anti-retaliation subsection. Id. at §78u-

                       21        6(a).     “[T]he whistleblower-protection provision [of Dodd-Frank] unambiguously requires

                       22        individuals to provide information relating to a violation of the securities laws to the SEC to qualify

                       23        for protection from retaliation . . . .” Asadi v. G.E. Energy, No. 12-20522, 2013 U.S. App. LEXIS

                       24        14470, *27 (5th Cir. July 17, 2013) (emphasis in original). Plaintiff has not claimed – and cannot

                       25        claim – that he reported any information to the SEC.             (See Compl., passim.)       He is not a

                       26        “whistleblower” as defined by Dodd-Frank and the Court should dismiss his first claim for relief in

                       27        its entirety with prejudice.

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 LITTLER MENDELSON, P.C.
50 W. San Fernando, 15th Floor
  San Jose, CA 95113.2303
        408.998.4150
                                                                                  7.                                  Case No. CV13-02977

                                                  DEFT APPLE'S NOTICE OF MOTION, MOTION TO DISMISS AND MPA'S ISO THEREOF
                                      Case 3:13-cv-02977-VC Document 11 Filed 08/05/13 Page 13 of 27



                          1                      To avoid this fatal defect, Plaintiff asserts he is protected under Dodd-Frank because

                          2      his internal complaints were “required or protected under the Sarbanes-Oxley Act (“SOX”).”

                          3      (Compl., ¶50.) The only appellate court to consider this argument, however, has explicitly rejected

                          4      this misinterpretation of the statute.    In Asadi, the Fifth Circuit held that Dodd-Frank’s anti-

                          5      retaliation protections apply only to individuals who have provided information to the SEC. Asadi,

                          6      supra, 2013 U.S. App. LEXIS 14470, at *13. Like Plaintiff here, the plaintiff in Asadi argued his

                          7      claim fell within Dodd-Frank’s purview because his internal complaints were still “required or

                          8      protected” under SOX. The Fifth Circuit concluded this was a clear misreading of the statute. Id.

                          9      As the court explained, subsection (a) of Dodd-Frank provides definitions for certain terms used
                       10        throughout the statue. Included in this list is the term “whistleblower,” which is defined as “any

                       11        individual who provides or 2 or more individuals acting jointly who provide, information relating to

                       12        a violation of the securities laws to the Commission . . . .” 15 U.S.C. § § 78u-6(a)(6) (emphasis

                       13        added). Subsection (h) of Dodd-Frank then accords these whistleblowers a private right of action

                       14        against employers who take retaliatory actions against them for engaging in certain enumerated

                       15        protected activities:

                       16                        No employer may discharge, demote, suspend, threaten, harass,
                                                 directly or indirectly, or in any other manner discriminate against, a
                       17                        whistleblower in the terms and conditions of employment because of
                                                 any lawful act done by the whistleblower—
                       18
                                                 (i) in providing information to the Commission in accordance with this
                       19                        section;
                       20                        (ii) in initiating, testifying in, or assisting in any investigation or
                                                 judicial or administrative action of the Commission based upon or
                       21                        related to such information; or
                       22                        (iii) in making disclosures that are required or protected under the
                                                 Sarbanes-Oxley Act of 2002 (15 U.S.C. 7201 et seq.), the Securities
                       23                        Exchange Act of 1934 (15 U.S.C. 78a et seq.), including section
                                                 10A(m) of such Act (15 U.S.C. 78f(m)), section 1513(e) of Title 18,
                       24                        and any other law, rule, or regulation subject to the jurisdiction of the
                                                 Commission.
                       25

                       26        § 78u-6(h)(1)(A) [emphasis added].

                       27                        The statutory language conditions that the protections in subsection (h) only apply to

                       28        an individual who has already qualified as a “whistleblower” under the statute. Asadi, supra,
 LITTLER MENDELSON, P.C.
50 W. San Fernando, 15th Floor
  San Jose, CA 95113.2303
        408.998.4150
                                                                                  8.                                Case No. CV13-02977

                                                  DEFT APPLE'S NOTICE OF MOTION, MOTION TO DISMISS AND MPA'S ISO THEREOF
                                      Case 3:13-cv-02977-VC Document 11 Filed 08/05/13 Page 14 of 27



                          1      2013 U.S. App. LEXIS 14470, at **16-17 (“Importantly, the placement of the three categories of

                          2      protected activity in subsection (h) follows the phrase ‘[n]o employer may discharge . . . or in any

                          3      other matter discriminate against, a whistleblower . . . because of any lawful act done by the

                          4      whistleblower . . . .’” § 78u-6(h)(1)(A)) (emphasis in original).

                          5                     Plaintiff’s expansion of the term “whistleblower” contradicts the unambiguous

                          6      language of the statute. “The preeminent canon of statutory interpretation requires us to ‘presume

                          7      that [the] legislature says in a statute what it means and means in a statute what it says there.’”

                          8      Bedroc Ltd. v. United States, 541 U.S. 176, 183 (2004) (quoting Connecticut Nat’l Bank v. Germain,

                          9      503 U.S. 249, 253-54 (1992)). The fact that Congress used “the term ‘whistleblower,’ [in subsection
                       10        (h)] as compared with terms such as ‘individual’ or ‘employee,’ is significant.” Asadi, 2013 U.S.

                       11        App. LEXIS 14470, at **17-18. Congress deliberately selected the word “whistleblower” rather

                       12        than the word “employee” or “person” and this Court must enforce the plain language of the statute.

                       13        Id. “It is axiomatic that the statutory definition of the term excludes unstated meanings of that

                       14        term.” Meese v. Keene, 481 U.S. 465, 484 (1987).

                       15                       The legislative history of Dodd-Frank confirms that Congress intentionally chose the

                       16        more restrictive term “whistleblower” when drafting the law’s anti-retaliation provision. The anti-

                       17        retaliation provision in the bill originally passed by the House of Representatives did not use the

                       18        term “whistleblower” but instead prohibited adverse employment actions against “an employee,

                       19        contractor, or agent in the terms and conditions of employment . . . .” Wall Street Reform and
                       20        Consumer Protection Act of 2009, H.R. 4173, 111th Cong. § 7203(g)(1)(A) (p. 1114) (1st Sess.

                       21        2009) (emphasis added). The Senate’s version, which provided the basis for the enacted text,

                       22        restructured the provision and replaced the phrase “employee, contractor, or agent” with the term

                       23        “whistleblower” defined as “any individual who provides, or 2 or more individuals acting jointly,

                       24        who provides information relating to a violation of the securities laws to the Commission . . . .”

                       25        Restoring American Financial Stability Act of 2010, H.R. 4173, 111th Cong. §§ 922(a)(6) (p. 976),

                       26        (h)(1)(A) (pp. 983-984) (2d Sess. 2010) (emphasis added). “Few principles of statutory construction

                       27        are more compelling than the proposition that Congress does not intend sub silentio to enact

                       28        statutory language that it has earlier discarded in favor of other language.” INS v. Cardozo Fonesca,
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  San Jose, CA 95113.2303
        408.998.4150
                                                                                  9.                               Case No. CV13-02977

                                                 DEFT APPLE'S NOTICE OF MOTION, MOTION TO DISMISS AND MPA'S ISO THEREOF
                                      Case 3:13-cv-02977-VC Document 11 Filed 08/05/13 Page 15 of 27



                          1      480 U.S. 421, 442-43 (1987). Congress clearly intended Dodd-Frank’s anti-retaliation provisions to

                          2      only apply to a “whistleblower,” defined as an individual who reports information to the SEC.

                          3                     Plaintiff’s attempt to expand Dodd-Frank’s definition of a “whistleblower” would

                          4      impermissibly render statutory text superfluous. “It is a cardinal principle of statutory construction

                          5      that a statute ought, upon the whole, to be so construed that, if it can be prevented, no clause,

                          6      sentence, or word shall be superfluous, void, or insignificant.” TRW Inc. v. Andrews, 534 U.S. 19,

                          7      31 (2001) (citations omitted). Section 78u-6(h)(1)(A) defines a “whistleblower” as any individual

                          8      who reports information regarding securities violations to the SEC. Plaintiff seeks to impermissibly

                          9      broaden this definition to include employees who make only internal complaints.
                       10                       As explained by the Fifth Circuit, “[Plaintiff’s] suggested statutory construction

                       11        would read the words ‘to the Commission’ out of the definition of ‘whistleblower’ for purposes of

                       12        the whistle-blower protection provision. Construing the statute in this manner would violate the

                       13        surplusage canon, that every word is to be given effect.” Asadi, supra, 2013 U.S. App. LEXIS

                       14        14470, at **23-24. Accordingly, Plaintiff’s Dodd-Frank claim is based on an erroneous reading of

                       15        the statute and must be dismissed with prejudice. Without allegations that he reported a securities

                       16        law violation to the SEC, Plaintiff cannot state a claim for relief under Dodd-Frank.

                       17                       2.     The Court Lacks Jurisdiction Over Plaintiff’s SOX Allegations Which
                                                       Are Barred By The Statute Of Limitations And SOX’s Administrative
                       18                              Procedure Requirements.
                       19
                                                Plaintiff’s claims for relief under SOX likewise founders because he failed to file a
                       20
                                 charge with the United States Secretary of Labor within 180 days of his termination. Individuals
                       21
                                 who bring a SOX anti-retaliation claim must first file a complaint with the Secretary of Labor within
                       22
                                 180 days of the alleged violation, and are only permitted to sue in federal court if the Secretary has
                       23
                                 not issued a final order within 210 days. 18 U.S.C. § 1514A(b)(2)(D); 29 C.F.R. § 1980.103(d); 12
                       24
                                 U.S.C. § 5567(c)(4)(D). Plaintiff alleges that Apple terminated his employment on January 14,
                       25
                                 2013. (Compl., ¶48.) Plaintiff had to file his complaint with the Secretary of Labor by July 15,
                       26
                                 2013. Plaintiff has not done so and his SOX claims are now time-barred. See Coppinger-Martin v.
                       27
                                 Nordstrom, Inc., 627 F.3d 745, 749 (9th Cir. 2010) (holding plaintiff’s SOX was untimely because
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  San Jose, CA 95113.2303
        408.998.4150
                                                                                10.                                Case No. CV13-02977

                                                 DEFT APPLE'S NOTICE OF MOTION, MOTION TO DISMISS AND MPA'S ISO THEREOF
                                      Case 3:13-cv-02977-VC Document 11 Filed 08/05/13 Page 16 of 27



                          1      statute of limitations ran from date she learned of her actual injury). Plaintiff’s failure to file with

                          2      the Secretary of Labor prior to filing his claim with this Court likewise precludes his recovery as a

                          3      matter of law. Further, Plaintiff’s failure to file with the Secretary of Labor within the statutorily-

                          4      prescribed timeframe cannot be excused because he had sufficient information to know of his claim

                          5      at the time of his termination and he had secured counsel and filed this lawsuit before the statute of

                          6      limitations expired. Id. at 750.

                          7                     Plaintiff cannot recast his SOX allegations as a Dodd-Frank claim to circumvent

                          8      SOX’s statute of limitations and administrative procedure requirements. Once again, Asadi rejected

                          9      this argument, reasoning that, if it held otherwise, “the SOX anti-retaliation provision, and most
                       10        importantly, its administrative scheme, for practical purposes, would be rendered moot.” Asadi,

                       11        2013 U.S. App. LEXIS 14470, at **26-27.               Unlike SOX, Dodd-Frank does not have an

                       12        administrative procedure requirement and affords a six to ten-year statute of limitations period. 15

                       13        U.S.C. § 78u-6(h). If, as Plaintiff contends, a SOX violation can serve as a predicate basis for a

                       14        Dodd-Frank claim, then SOX’s carefully-crafted administrative scheme would become a nullity.

                       15        This is particularly troublesome because Congress amended SOX’s statute of limitations from 90 to

                       16        180 days in another section of Dodd-Frank.           See, Dodd-Frank Wall Street Reform Consumer

                       17        Protection Act of 2010, Pub. L. No. 111-203 § 922, 124 Stat. 1376, 1841-49 (2010). It would defy

                       18        logic for Congress to tweak SOX’s administrative scheme in one section of Dodd-Frank, while at the

                       19        same time intending for Dodd-Frank’s anti-retaliation provision to render the SOX limitation period
                       20        moot. Asadi, 2013 U.S. App. LEXIS 14470, at **26-27.

                       21                       3.      Plaintiff’s Communications Were Not Required or Protected Under SOX.
                       22                       Even if Plaintiff can establish that a SOX claim can be the basis for a Dodd-Frank

                       23        claim, he cannot as a matter of law establish his reports regarding another employee’s expense

                       24        reports sufficiently involved shareholder fraud to constitute protected activity under SOX. “[T]o

                       25        constitute ‘protected activity’ under SOX, the allegation must ‘definitively and specifically’ relate to

                       26        one of the list categories of fraud or securities violations under 18 U.S.C. § 1514A(a)(1).” Van

                       27        Asdale v. Int’l Game Tech., 577 F.3d 989, 996-97 (9th Cir. 2009); Day v. Staples Inc., 555 F.3d 42,

                       28        55 (1st Cir. 2009). This means that, “to be protected under [SOX], an employee’s disclosure must
 LITTLER MENDELSON, P.C.
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        408.998.4150
                                                                                11.                                 Case No. CV13-02977

                                                 DEFT APPLE'S NOTICE OF MOTION, MOTION TO DISMISS AND MPA'S ISO THEREOF
                                      Case 3:13-cv-02977-VC Document 11 Filed 08/05/13 Page 17 of 27



                          1      be related to illegal activity that, at its core, involves shareholder fraud.” Livingston v. Wyeth, Inc.,

                          2      2006 U.S. Dist. LEXIS 52978, at *30 (M.D.N.C. July 28, 2006) aff’d 520 F.3d 344 (4th Cir. 2008).

                          3      See, e.g., Allen v. Dep’t. of Labor, 514 F.3d 468, 479-480 (5th Cir. 2008) (there must be an intent to

                          4      defraud shareholders); Fraser v. Fiduciary Trust Co. Int’l, 417 F.Supp.2d 310, 323-34 (S.D.N.Y.

                          5      Aug. 25, 2006) aff’d, 396 Fed. Appx. 734 (2d Cir. 2010) (dismissing claimant’s complaint for failure

                          6      to demonstrate that claimant actually complained of illegal activity, as opposed to violating internal

                          7      policy); Bishop v. PCS Admin., Inc., 2006 U.S. Dist. LEXIS 37230, **30-32 (N.D. Ill. May 23,

                          8      2006) (concluding the phrase “relating to fraud against shareholder” must be read as applying to all

                          9      violations enumerated under § 1514A(a)(1)); Gale v. World Fin. Group, 2006-SOX-43 (Dep’t. of
                       10        Labor June 9, 2006) (“The phrase ‘relating to fraud against shareholders’ in [§ 1514A] must be read

                       11        as modifying each item in the series, including ‘rule or regulations of the [SEC]’”) (quoting Bishop

                       12        v. PCS Admin., Inc., 2006 U.S. Dist. LEXIS 37230 (N.D. Ill. May 23, 2006)).

                       13                       The alleged shareholder fraud must be “material” and “a mere possibility that a

                       14        challenged practice could adversely affect the financial condition of a corporation, and that the effect

                       15        on the financial condition could in turn be intentionally withheld from investors, is not enough” to

                       16        constitute protected activity. Robinson v. Morgan Stanley, No. 07-070, 2010 DOLSOX LEXIS 7,

                       17        *21 (ARB Jan. 10, 2010); see also Livingston, supra, 2006 U.S. Dist. LEXIS 52978, at *33 (holding

                       18        that “under Supreme Court authority, for information to be material, there must be a substantial

                       19        likelihood that a reasonable shareholder would consider [the matter] important to his decision to
                       20        invest”); Godfrey v. Union Pac. R.R. Co., ARB Case No. 08-088, *4 (July 30, 2009) (“employee

                       21        must ordinarily complain about a material misstatement of fact (or omission) concerning a

                       22        corporation’s financial condition on which an investor would reasonably rely”).

                       23                       Even taking Plaintiff’s allegations at face value, his reports regarding an employee’s

                       24        inaccurate expense reports do not constitute a complaint regarding shareholder fraud to constitute

                       25        protected activity under SOX. In Riddle v. First Tenn. Bank Nat’l Assoc., 2012 U.S. App. LEXIS

                       26        18684, at **19-21 (6th Cir. Aug. 31, 2012), the plaintiff reported to his superiors that a fellow

                       27        employee made improper cash advances on a corporate credit card and submitted inaccurate expense

                       28        reports. The Sixth Circuit Court of Appeals dismissed plaintiff’s SOX claim, reasoning he “failed to
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                                                                                 12.                                 Case No. CV13-02977

                                                 DEFT APPLE'S NOTICE OF MOTION, MOTION TO DISMISS AND MPA'S ISO THEREOF
                                      Case 3:13-cv-02977-VC Document 11 Filed 08/05/13 Page 18 of 27



                          1      show how [the accused employee’s] behavior constituted a misrepresentation to shareholders that

                          2      resulted in a loss. [Plaintiff’s] belief that [the employee’s] gift card practices violated SOX is not

                          3      itself an objectively reasonable belief that shareholders have been or were likely to be defrauded.”

                          4      Id. at 21. Similarly, Plaintiff’s complaints about an employee’s failure to follow Apple’s internal

                          5      expense report procedures did not involve shareholder fraud and are thus not protected under SOX.

                          6      Moreover, the total dollar amount in “Employee Roe’s” allegedly fraudulent expenses would have

                          7      been entirely immaterial to investors. Livingston, supra, 2006 U.S. Dist. LEXIS 52978, at *33. It is

                          8      preposterous for Plaintiff to assert that discrepancies in a single employee’s expense reports could be

                          9      material to Apple’s overall disclosed financial records. There are no allegations, that Employee
                       10        Roe’s allegedly inaccurate expense reports would have any material effect on Apple. Plaintiff’s

                       11        alleged complaints were neither “required [nor] protected” under SOX as a matter of law, and the

                       12        Court should dismiss Plaintiff’s first and third claims for relief under SOX in their entirety with

                       13        prejudice.

                       14               C.      Plaintiff’s Second Claim For Relief For Wrongful Termination Should Be
                                                Dismissed As He Has Failed To Allege A Violation Of Public Policy
                       15

                       16                       In Tameny v. Atlantic Richfield Co., 27 Cal.3d 167 (1980), the California Supreme

                       17        Court recognized a narrow exception to California's “at-will” employment doctrine and held that

                       18        “[a]n employer's traditional broad authority to discharge an at-will employee ‘may be limited by

                       19        statute . . . or by considerations of public policy.’” Id. at 172, citations omitted. Thus, the Court
                       20        recognized the existence of a tort claim arising from a public policy violation.

                       21                       Wrongful termination claims based on violating a fundamental public policy must be

                       22        tethered to some recognized statutory or regulatory provision. Stevenson v. Superior Court, 16

                       23        Cal.4th 880, 887-894 (1997). A discharge is actionable as against public policy only if it violates a

                       24        policy that is: “(1) delineated in either constitutional or statutory provisions; (2) ‘public’ in the sense

                       25        that it ‘inures to the benefit of the public’ rather than serving merely the interests of the individual;

                       26        (3) well established at the time of the discharge; and (4) ‘substantial’ and ‘fundamental.’” Carter v.

                       27        Escondido Union High School District, 148 Cal.App.4th 922, 929 (2007) (quoting Stevenson v.

                       28        Superior Court 16 Cal.4th 880, 901–902 (1997)).
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                                                                                  13.                                 Case No. CV13-02977

                                                  DEFT APPLE'S NOTICE OF MOTION, MOTION TO DISMISS AND MPA'S ISO THEREOF
                                      Case 3:13-cv-02977-VC Document 11 Filed 08/05/13 Page 19 of 27



                          1                     To bring a cognizable public policy claim, Plaintiff must show: (1) that Defendant

                          2      violated some statute or regulation (or that Plaintiff had a reasonable belief that Defendant did so);

                          3      and (2) that the violation was tethered to an important and fundamental public policy articulated in

                          4      the statute or regulation. See Gant v. Sentry Insurance, 1 Cal.4th 1083, 1095 (1992); Sequoia Ins.

                          5      Co. v. Superior Court 13 Cal.App.4th 1472, 1475 (1993) (a showing the employer's conduct was

                          6      “specifically prohibited” by statute is a “foundational requirement” for wrongful termination claims).

                          7      In Foley v. Interactive Data Corp., 47 Cal.3d 654 (1988), the California Supreme Court recognized

                          8      that no tort claim can typically exist for employment related conduct, such as termination of

                          9      employment, absent some violation of public policy. Foley, 47 Cal.3d. at 671.
                       10                       Here, Plaintiff cites no actual public policy or statute to support his wrongful

                       11        termination claim. Rather he only makes vague reference to “the law.” (Compl., ¶63.) He claims

                       12        “Apple’s officers and/or management advised [him] not to pursue the investigation and/or

                       13        termination of Employee Rose who had been found to embezzle funds on 40 separate occasions in

                       14        violation of Apple policy and the law.” (Id.) In Paragraph 65 of the Complaint, Plaintiff states:

                       15        “[a]s a proximate result of [Plaintiff’s] conduct as described in Paragraph 63, above, and in violation

                       16        of public policy as set forth in Paragraph 64 above, Apple terminated [Plaintiff’s] employment.”

                       17        Nowhere in his wrongful termination claim, however, does Plaintiff cite any statute which stands for

                       18        the proposition that advising an individual not to pursue an investigation or terminating an employee

                       19        for allegedly padding expense reports violates any statute or law. Plaintiff cites nothing at all which
                       20        even remotely constitutes a “public policy” supporting a wrongful termination claim. Gant, supra, 1

                       21        Cal. 4th at 1095.

                       22                       Moreover, Plaintiff’s reliance on Employee Roe’s alleged violation of Apple’s

                       23        internal policies is completely insufficient as a matter of law. The law is clear that alleged violations

                       24        of internal practices that affect only the employer’s or employee’s interest, and not the general

                       25        public’s interest, cannot support a public policy claim. Foley, supra, 47 Cal.3d at 669-671; see also

                       26        Turner v. Anheuser-Busch, Inc., 7 Cal.4th 1238, 1257 (1994) (“[t]he tort of wrongful discharge is not

                       27        a vehicle for enforcement of an employer's internal policies or the provisions of its agreements with

                       28        others”).
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                                                                                 14.                                 Case No. CV13-02977

                                                 DEFT APPLE'S NOTICE OF MOTION, MOTION TO DISMISS AND MPA'S ISO THEREOF
                                         Case 3:13-cv-02977-VC Document 11 Filed 08/05/13 Page 20 of 27



                          1                     There is not a single statute referenced, nor does Plaintiff explain the “law” and

                          2      Courts have routinely rejected public policy claims “unaccompanied by citations to specific statutory

                          3      or constitutional provisions.’” Green v. Ralee Engineering Co., 19 Cal. 4th 66, 83 (1988) (citing

                          4      Turner, supra, 7 Cal. 4th at 1257.) “The omission ‘puts [the defendant] and the court in the position

                          5      of having to guess at the nature of the public policies involved, if any. This kind of showing plainly

                          6      cannot create an issue of material fact justifying a trial on the merits of [the plaintiff's] claims.’”

                          7      Ibid.    Without citation to a statute which establishes Plaintiff’s wrongful termination claim,

                          8      Plaintiff’s wrongful termination claim must be dismissed.

                          9               D.    Plaintiff Has Not Alleged Facts Establishing The Essential Elements Of His
                                                Third Claim For Relief For Retaliation.
                       10
                                                In his third claim for relief, Plaintiff alleges that Apple retaliated against him in
                       11
                                 violation of Dodd Frank, 15 U.S.C. § 78u-6, SOX, 18 U.S.C. 1514A, and California Labor Code
                       12
                                 Section 1102.5.     To establish a prima facie claim of retaliation, Plaintiff must plead facts
                       13
                                 establishing: (1) he engaged in a protected activity; (2) that Apple subjected him to an adverse
                       14
                                 employment action; and (3) there was a causal link between his protected activity and the adverse
                       15
                                 action. See Passantino v. Johnson & Johnson Consumer Prods., Inc., 212 F.3d 493, 506 (9th Cir.
                       16
                                 2000); Strother v. S. Cal. Permanente Med. Group, 79 F.3d 859, 868 (9th Cir. 1996); Love v. Motion
                       17
                                 Industries, Inc., 309 F.Supp.2d 1128, 1134 (N.D. Cal. 2004). Plaintiff cannot do so.
                       18
                                                As established above, Plaintiff has not and cannot establish he engaged in any
                       19
                                 protected activity under Dodd Frank and/or SOX and that his claims under SOX are time barred for
                       20
                                 his failure to exhaust his administrative remedies.       He therefore cannot establish that Apple
                       21
                                 unlawfully retaliated against him under these statutes as a matter of law.
                       22
                                                Plaintiff also cannot establish he engaged in any activity protected by California
                       23
                                 Labor Code section 1102.5. Labor Code sections 1102.5(b) and (c) make it an unlawful employment
                       24
                                 practice for an employer to:
                       25
                                                [b] retaliate against an employee for disclosing information to a
                       26                       government or law enforcement agency, where the employee has
                                                reasonable cause to believe that the information discloses a violation of
                       27                       state or federal statute, or a violation or noncompliance with a state or
                                                federal rule or regulation, [or;]
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                                                                                15.                                 Case No. CV13-02977

                                                  DEFT APPLE'S NOTICE OF MOTION, MOTION TO DISMISS AND MPA'S ISO THEREOF
                                      Case 3:13-cv-02977-VC Document 11 Filed 08/05/13 Page 21 of 27



                          1                     [c] retaliate against an employee for refusing to participate in an activity
                                                that would result in a violation of state or federal statute, or a violation or
                          2                     noncompliance with a state or federal rule or regulation.

                          3                     As an initial matter, Plaintiff has alleged no facts establishing he ever complained of

                          4      any alleged violation of a state or federal statute, or a violation or noncompliance with a state or

                          5      federal rule or regulation to a government or law enforcement agency. At most, he claims he

                          6      reported Employee Roe’s alleged improper actions to Apple. These complaints cannot establish a

                          7      violation of Section 1102.5(b) as a matter of law. Green, supra, 19 Cal.4th at 77 (stating Labor

                          8      Code section 1102.5(b) “does not protect plaintiff, who reported his suspicions [of illegal activity]

                          9      directly to his employer”). Moreover, Plaintiff has not alleged what statute he believes Employee

                       10        Roe’s alleged conduct violated. Plaintiff alleges Apple’s management told him not to investigate or

                       11        fire Employee Roe and he was terminated shortly thereafter. (Compl., ¶37-38.) Plaintiff claims this

                       12        “violated the law” but cites no statute which requires an employer to investigate or fire an employee

                       13        for inflating an expense report – as of course there is no such law. Edgerly v. City of Oakland, 211

                       14        Cal.App.4th 1191 (2012). He therefore also cannot establish the essential element for this cause of

                       15        action that he actually reported a violation of a state or federal statute or noncompliance with a rule

                       16        or regulation. Cal. Labor Code § 1102.5(b).

                       17                       Plaintiff also cannot establish he was terminated for refusing to participate in an

                       18        activity that would result in violating a State or federal statute, or a violation or noncompliance with

                       19        a state or federal rule or regulation for the purposes of Labor Code section 1102.5(c). While

                       20        Plaintiff claims he was fired for “refusing to participate in an activity that would result in a violation

                       21        of a State of federal statute, or a violation or noncompliance with a state of federal rule or

                       22        regulation,” his Complaint is devoid of any factual allegations supporting this conclusion. (Compl.,

                       23        ¶75.) Plaintiff’s alleged refusal to not pursue Employee Roe’s alleged improper expense reports

                       24        does not constitute refusing to participate in an activity that would cause a violation of state or

                       25        federal statute for the purposes of Section 1102.5(c) as a matter of law.

                       26                       The recent case of Edgerly v. City of Oakland is completely analogous to Plaintiff’s

                       27        Section 1102.5(c) claims and shows this claim fails as a matter of law. Edgerly, supra, 211

                       28        Cal.App.4th at 1191. The plaintiff in Edgerly was Oakland’s City Administrator who alleged the
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                                                                                 16.                                 Case No. CV13-02977

                                                  DEFT APPLE'S NOTICE OF MOTION, MOTION TO DISMISS AND MPA'S ISO THEREOF
                                       Case 3:13-cv-02977-VC Document 11 Filed 08/05/13 Page 22 of 27



                          1      City of Oakland terminated her employment in retaliation for her refusal to approve expense

                          2      reimbursement requests submitted by the Mayor she believed violated the City’s rules and

                          3      regulations. Id. at 1194-1196. She sued the City alleging among other causes of action, unlawful

                          4      retaliation in violation of Section 1102.5(c) which was dismissed by the trial court on demurrer. Id.

                          5                     The Appellate Court affirmed the dismissal because Plaintiff had identified no State

                          6      or federal statute, rule or regulation violated by the Mayor’s alleged conduct. Id. at 1200-1201. At

                          7      most, the conduct violated the City’s charter. Id. The Court held the City’s charter, much like an

                          8      employer’s own internal policies and procedures, is not a State or federal statute, rule or regulation.

                          9      Id.   Plaintiff’s alleged termination for refusing to approve the expenses could not establish a
                       10        violation of Labor Code section 1102.5(c) as a matter of law. See also, Mueller v. County of Los

                       11        Angeles, 176 Cal.App.4th 809, 822 (2009) (holding that complaints regarding internal procedures

                       12        “such as transferring employees, writing up employees, and counseling employees are personnel

                       13        matters” and do “not rise to the level of whistleblower retaliation” as a matter of law).

                       14                       Here, Plaintiff, like the plaintiff in Edgerly, alleges throughout his Complaint that he

                       15        complained that Employee Roe had padded her expense reports in violation of Apple’s internal

                       16        policies. (Compl., ¶32.) There are no allegations that he was asked to do anything which would

                       17        violate any law, statute, or regulation. Moreover, Plaintiff has not alleged that an employee’s

                       18        alleged padding her expense report in violation of an employer’s internal policies or procedures

                       19        violates any State or federal statute, rule or regulation. As the Edgerly Court held, it does not.
                       20        Edgerly, supra, 211 Cal.App.4th at 1204. Accordingly, as with Plaintiff’s Dodd-Frank and SOX

                       21        retaliation claims, Plaintiff’s Section 1102.5(c) claim fails and must be dismissed with prejudice.

                       22                E.     Plaintiff Has Not Alleged Facts Establishing The Essential Elements Of His
                                                Fourth Claim For Relief For Breach Of Contract.
                       23

                       24                       Plaintiff’s fourth claim for relief is premised on his contention that he had an implied

                       25        agreement with Apple that Apple would not “arbitrarily” terminate his employment. (Compl., ¶83.)

                       26        Plaintiff, however, has failed to allege any facts establishing Apple agreed to any such term or

                       27        agreed to employ him on any basis other than “at-will.” Even if Plaintiff could establish Apple

                       28
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                                                                                 17.                                Case No. CV13-02977

                                                 DEFT APPLE'S NOTICE OF MOTION, MOTION TO DISMISS AND MPA'S ISO THEREOF
                                      Case 3:13-cv-02977-VC Document 11 Filed 08/05/13 Page 23 of 27



                          1      agreed to alter the “at-will” nature of his employment in some fashion, he has alleged no facts

                          2      establishing under what circumstances he contends that Apple could terminate his employment.

                          3                     It is well-established in California at an employment having no specified term is

                          4      presumed to be on an “at-will” basis. Cal. Labor Code § 2922; Guz v. Bechtel National, Inc., 24

                          5      Cal.4th 317, 335 (2000). This means that either the employer or the employee can terminate the

                          6      employment relationship “‘at any time without cause,’ for any or no reason” at all. Guz, 24 Cal.4th

                          7      at 335.   While the presumption of “at-will” employment can be altered by a written or oral

                          8      agreement between the employer and the employee, it is also well established by California’s

                          9      Legislature and its Supreme Court that an employee must present substantial evidence of an
                       10        employer’s actual intent to employ the employee on a basis other than “at-will” to establish a

                       11        departure from the “at-will” presumption. Guz, 24 Cal.4th at 335-336.

                       12                       As the Guz Court held:

                       13                       [a]bsent other evidence of the employer’s intent, longevity, raises and
                                                promotions are their own reward for the employee’s continuing valued
                       14                       service; they do not, in and of themselves, additionally constitute a
                                                contractual guarantee of future employment security. A rule granting such
                       15                       contractual rights on the basis of successful longevity alone would
                                                discourage the retention and promotion of employees.
                       16

                       17        Guz, 24 Cal.4th at 342 (emphasis in original). The Guz Court also held that a statement by a

                       18        representative of the employer that “his understanding [was] that [the employer] terminated workers

                       19        only with ‘good cause’ or for ‘lack of [available] work” was “insufficient as a matter of law to
                       20        permit a finding that the company, by an unwritten practice or policy on which employees

                       21        reasonably relied, had contracted away its right to discharge [its employees] at will.” Id. at 345.

                       22        Plaintiff’s allegation regarding some unidentified alleged agreement by Apple to limit its statutory

                       23        right to terminate its employees “at will” fails for the same reasons as the plaintiff’s in Guz.

                       24                       Here, Plaintiff does not allege his employment with Apple was for any specified term.

                       25        He is therefore presumed to be employed on an “at-will” basis. Cal. Labor Code § 2922; Guz, supra,

                       26        24 Cal.4th at 335. Plaintiff has not alleged anyone at Apple ever told him that he would be

                       27        terminated only for good cause, or upon some other specified circumstances. Guz, 24 Cal.4th at 341.

                       28        Rather, Plaintiff’s contention that Apple contractually agreed to alter the “at-will” nature of his
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                                                                                 18.                                 Case No. CV13-02977

                                                  DEFT APPLE'S NOTICE OF MOTION, MOTION TO DISMISS AND MPA'S ISO THEREOF
                                      Case 3:13-cv-02977-VC Document 11 Filed 08/05/13 Page 24 of 27



                          1      employment is based on his claim that: (1) he had been “employed by Apple for 12 years” and

                          2      “consistently received either good or excellent performance evaluations and merit raises” and

                          3      discretionary bonuses; (2) he was “assured on numerous occasions that he would not be terminated

                          4      arbitrarily;” (3) his supervisor told him that she “would support him and back him up with respect to

                          5      continued employment”; and (4) that “Apple normally has a course of conduct and a policy of

                          6      putting employees on performance improvement plans prior to terminating them.” (Compl., ¶¶ 9-22,

                          7      81, 82.)

                          8                     First, Plaintiff’s longevity of service, performance evaluation, merit raises, bonuses,

                          9      and promotions do not evidence any intent by Apple to alter the “at-will” nature of his employment
                       10        as a matter of law. Guz, supra, 24 Cal.4th at 342 (“longevity, raises, and promotions . . . do not . . .

                       11        constitute a contractual guarantee of future employment security”); Horn v. Cushman & Wakefield

                       12        Western, Inc., 72 Cal.App.4th 798, 818-19 (1999) (same).

                       13                       Second, his claims that he “was assured on numerous occasions that he would not be

                       14        terminated arbitrarily” and that his supervisor would “back-up” and “support” him regarding his

                       15        employment at Apple” are also completely insufficient to alter the “at-will” nature of his

                       16        employment. As an initial matter, such allegations are nothing more than an impermissible legal

                       17        conclusion not considered on a motion to dismiss. Burt v. Irvine Co., 237 Cal. App. 2d 828, 849

                       18        (1965) (“[a]llegations that the acts of [the defendants] were ‘arbitrary, capricious, fraudulent,

                       19        wrongful and unlawful,’ like other adjectival descriptions of such proceedings, constitute mere
                       20        conclusions of law which are not to be deemed admitted by a demurrer”) (quoting Faulkner v.

                       21        California Toll Bridge Authority, 40 Cal.2d 317, 329 (1953)). Such allegations do not evidence a

                       22        protectable right to continued employment. Allen v. Beverly Hills, 911 F.2d 367, 371 (9th Cir. 1990)

                       23        (“[w]here the only substantive restriction placed on [an employer] is that its decision to terminate

                       24        employment must be ‘reasonable,’ or in ‘good faith,’ any claim to a protected property interest . . . is

                       25        negated.”)

                       26                       Even if these allegations are not impermissible conclusions, they are far too vague to

                       27        constitute an enforceable contractual provision as a matter of law. Courts seek to enforce the

                       28        contracting parties’ actual agreement. Cal. Civ. Code § 1636. To do this, Plaintiff must establish
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        408.998.4150
                                                                                19.                                 Case No. CV13-02977

                                                 DEFT APPLE'S NOTICE OF MOTION, MOTION TO DISMISS AND MPA'S ISO THEREOF
                                      Case 3:13-cv-02977-VC Document 11 Filed 08/05/13 Page 25 of 27



                          1      what circumstances constitute an “arbitrary” termination decision from those that do not. Absent

                          2      defining the term, the Court and the trier of fact cannot determine if the termination decision violated

                          3      the parties’ alleged agreement.

                          4                     Finally, Plaintiff’s contention that “Apple normally has a course of conduct and a

                          5      policy of putting employees on performance improvement plans prior to terminating them” does not

                          6      support his breach of contract claim. (Compl., ¶82.) Even if true, this allegation means, at most,

                          7      that Apple would first give a poor performing employee the opportunity to improve his/her

                          8      performance if it would terminate their employment for job performance reasons. It would not alter

                          9      Apple’s ability to terminate an “at-will” employee for reasons other than for performance. Even if
                       10        true, this allegation is no help to Plaintiff. Plaintiff does not allege that Apple terminated his

                       11        employment for poor performance. In fact, Plaintiff unambiguously claims his job performance was

                       12        never anything less than completely spectacular. (Compl., ¶¶8-14, 16-22, 45-46.) In addition,

                       13        during the meeting in which his employment was terminated, Plaintiff states “there was no mention

                       14        of poor performance on the part of [Plaintiff].” (Compl., ¶48.)

                       15                       Plaintiff’s allegations on which this claim for relief is based are no more than those

                       16        California’s Courts have consistently found insufficient to rebut the presumption of “at-will”

                       17        employment as a matter of law. Guz, supra, 24 Cal.4th at 342, 345; Horn, supra, 72 Cal.App.4th at

                       18        819 (“[i]n our view, [the plaintiff’s] evidence of positive performance reviews, commendations,

                       19        salary increases, and vague assurances that [the plaintiff] would become a sales manager was not
                       20        sufficient to create a triable issue of fact as to whether the parties had implicitly agreed [the

                       21        company’s] right to terminate [the plaintiff] would be limited. Most of those factors are ‘natural

                       22        occurrences of an employee who remains with an employer for a substantial length of time.’”);

                       23        Kovatch v. Cal. Casualty Management Co., 65 Cal. App. 4th 1256, 1275-1277 (1998) (same)

                       24        (overruled on other grounds in Aguilar v. Atlantic Richfield Co., 25 Cal. 4th 826 (2001)). Plaintiff’s

                       25        fourth claim for relief should therefore be dismissed.

                       26

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                                                                                20.                                 Case No. CV13-02977

                                                 DEFT APPLE'S NOTICE OF MOTION, MOTION TO DISMISS AND MPA'S ISO THEREOF
                                      Case 3:13-cv-02977-VC Document 11 Filed 08/05/13 Page 26 of 27



                          1             F.       Plaintiff’s Fifth Claim For Relief Breach Of The Covenant Of Good Faith And
                                                 Fair Dealing Fails As A Matter Of Law.
                          2

                          3                      There is no tort remedy available for breach of the implied covenant in the

                          4      employment context when, as here, the cause of action is based on facts identical to a breach of an

                          5      implied contract claim. Foley, supra, 47 Cal.3d at 700 (abolishing tort remedies for breach of the

                          6      implied covenant in wrongful termination of employment cases).               This reasoning has been

                          7      repeatedly recognized by the Appellate Courts and affirmed by the California Supreme Court in Guz,

                          8      supra, 24 Cal.4th at 352-353. The Guz Court expressly limited the ability of a plaintiff to assert a

                          9      claim for breach of the implied covenant of good faith and fair dealing in the employment context.

                       10        The Court held that a plaintiff may not recover on such a claim for the alleged breach of obligations

                       11        not contained in the underlying contract because “the covenant of good faith and fair dealing . . .

                       12        exists merely to prevent one contracting party from unfairly frustrating the other party's right to

                       13        receive the benefits of the agreement actually made.” Id. at 349 (emphasis in original). As further

                       14        stated by the Court, “insofar as the employer's acts are directly actionable as a breach of an implied-

                       15        in-fact contract term, a claim that merely realleges that breach as a violation of the covenant is

                       16        superfluous.” Id. at 352. Rather, “the remedy for breach of an employment agreement, including

                       17        the covenant of good faith and fair dealing implied by law therein, is solely contractual.” Ibid.

                       18        (emphasis in original) (finding that “allegations that a breach was wrongful, in bad faith, arbitrary,

                       19        and unfair are unavailing”).

                       20                        In his fifth claim for relief, Plaintiff alleges that Apple breached the implied covenant

                       21        of good faith and fair dealing contained in the alleged employment contract by, among other things,

                       22        terminating Plaintiff's employment. (Compl., ¶95). His breach of contract and breach of the implied

                       23        covenant claims are both based upon the premise that Apple breached both the alleged employment

                       24        agreement and the implied covenant by wrongfully terminating Plaintiff's employment. (Id. at ¶¶92-

                       25        96.) Plaintiff pleads no unique facts to support his breach of the covenant of good faith and fair

                       26        dealing. Moreover, Plaintiff is seeking the same damages on both claims – an alleged “losses in

                       27        earning and other employment benefits, to his damage” because of Defendants' alleged breach. (Id.

                       28        at ¶¶88, 98.)
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        408.998.4150
                                                                                 21.                                 Case No. CV13-02977

                                                  DEFT APPLE'S NOTICE OF MOTION, MOTION TO DISMISS AND MPA'S ISO THEREOF
                                      Case 3:13-cv-02977-VC Document 11 Filed 08/05/13 Page 27 of 27



                          1                      Plaintiff's implied covenant claim is superfluous, does not constitute a valid cause of

                          2      action as a matter of law and should be dismissed. See Guz, supra, 24 Cal.4th at 352; Bionghi v.

                          3      Metro Water Dist., 70 Cal.App.4th 1358, 1370 (1999). Accordingly, Defendant’s motion to dismiss

                          4      Plaintiff’s fifth claim for relief should be granted.

                          5      V.      CONCLUSION
                          6                      Apple respectfully requests the Court issue and order dismissing Plaintiff’s Complaint

                          7      in its entirety without leave to amend.

                          8      Dated: August 5, 2013
                          9
                                                                                         //s// Todd K. Boyer
                       10                                                                TODD K. BOYER
                                                                                         LITTLER MENDELSON, P.C.
                       11                                                                Attorneys for Defendant
                                                                                         APPLE INC.
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                                                                                  22.                               Case No. CV13-02977

                                                  DEFT APPLE'S NOTICE OF MOTION, MOTION TO DISMISS AND MPA'S ISO THEREOF
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                            EXHIBIT B
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       Banko v Apple (2013), Banko’s Opposition to Apple’s 1st Motion to Dismiss
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                                             B
     PLAINTIFF’S CONDITIONAL NON-OPPPSOTION TO DEFFENDANT’S      APRIL 23 2024
     REQUEST FOR JUDICIAL NOTICE | 3:23-CV-04597-EMC
                                             Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 1 of 32



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                                      9   JOSHUA BANKO

                                     10

                                     11                                 UNITED STATES DISTRICT COURT

                                     12                              NORTHERN DISTRICT OF CALIFORNIA
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                                     14
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                                     15   JOSHUA BANKO,                        Case No. CV 13-02977 RS

                                     16
                                                            Plaintiff(s),      PLAINTIFF JOSHUA BANKO’S OPPOSITION TO
                                     17                                        APPLE, INC.’S MOTION TO DISMISS
                                     18
                                             v.                                DATE:      September 26, 2013
                                     19
                                                                               TIME:      1:30 p.m.
                                     20                                        COURTROOM: 3, 17th Floor
                                                                               JUDGE:     Hon. Richard G. Seeborg
                                     21   APPLE, INC., DOES 1-50

                                     22

                                     23                     Defendant(s).

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                                                                                      i
                                           CASE NO: CV 13-02977 RS                                 PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                                 Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 2 of 32



                                      1                                                      TABLE OF CONTENTS
                                      2   I.         INTRODUCTION ......................................................................................................... 1
                                      3   II.        STATEMENT OF FACTS ............................................................................................ 2
                                      4
                                          III.       ARGUMENT ................................................................................................................. 3
                                      5
                                                     A.        Legal Standard. .................................................................................................. 3
                                      6                        1.        Federal Rule of Civil Procedure 12(b)(1). .............................................. 3
                                      7                        2.        Federal Rule of Civil Procedure 12(b)(6). .............................................. 3
                                      8                        3.        Leave To Amend Should Be Freely Granted. ........................................ 4

                                      9              B.        Background and Context:The DFA Was Passed Specifically to
                                                               Allow Actions Such as This One. ...................................................................... 5
                                     10                        1.        Dodd-Frank is Designed to Remedy the Failure of SOX as
                                     11                                  to Whistleblowers ................................................................................... 5
                                                               2.        Congress Passed Dodd-Frank to Increase Access of
                                     12
650-684-1181 Main 650-684-1181 Fax




                                                                         Whistleblowers Like Mr. Banko to Courts of Law. ............................... 6
                                     13                        3.        Courts and Counsel Have Found Dodd-Frank
    100 Marine Parkway Suite 310
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                                     14
                                                                         Whistleblower Provisions Unclear. ........................................................ 6
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                                                               4.        The Majority of Courts Considering the Issue Have Found
                                     15                                  Dodd-Frank to Be Ambiguous as to the Term
                                     16                                  Whistleblower. ........................................................................................ 7
                                                               5.        Because of the Ambiguity of the Act, the SEC Provided
                                     17                                  Guidance as to the Term Whistleblower. ............................................. 10
                                     18                        6.        Asadi Improperly Fails to Give the SEC’s Interpretation
                                                                         the Deference it is Due Under Federal Law. ........................................ 11
                                     19
                                                     C.        Mr. Banko Has Alleged Enough Facts To State A Claim For
                                     20                        Violation Of the DFA....................................................................................... 13
                                     21                        1.        Because Mr. Banko’s SOX Allegations Fall Squarely
                                                                         Within the DFA Whistleblower Protection Provision, His
                                     22                                  Claims Are Timely. .............................................................................. 14
                                     23                        2.        Mr. Banko’s Communications Are Protected Under SOX
                                                                         and Therefore the DFA. ........................................................................ 14
                                     24
                                                     D.        Public Policy Supports Allowing Mr. Banko’s DFA Claim. ........................... 17
                                     25
                                                     E.        Mr. Banko Has Met the Federal Pleading Requirement To State A
                                     26                        Claim For Wrongful Termination In Violation of Public Policy ..................... 18

                                     27              F.        Mr. Banko Has Pled Enough Facts to State A Claim For
                                                               Retaliation ........................................................................................................ 20
                                     28
                                                                                                                ii
                                               CASE NO: CV 13-02977 RS                                                                PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                                Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 3 of 32



                                      1            G.        Mr. Banko Has Sufficiently Pled A Claim For Breach of Contract ................ 22
                                      2            H.        Mr. Banko Has Properly Pled Breach Of The Covenant Of Good
                                                             Faith And Fair Dealing..................................................................................... 25
                                      3
                                          IV.      CONCLUSION............................................................................................................ 25
                                      4

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                                                                                                          iii
                                           CASE NO: CV 13-02977 RS                                                             PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                               Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 4 of 32



                                      1
                                                                                            TABLE OF AUTHORITIES
                                      2   I.    CASES
                                      3   Allegheny General Hospital v. NLRB, 608 F.2d 965, 970 (3d Cir. 1979) ................................... 7
                                      4   Allen v. Beverly Hills, 911 F. 2d 367, 371 (9th Cir. 1990) ........................................................ 24

                                      5   Ashcroft v. Iqbal, 129 S. Ct. 1937, 1940 (2009) .......................................................................... 4

                                      6   Ashmore v. CGI Group, Inc., 11 Civ. 8611(LBS), 2012 U.S. Dist. LEXIS 82598, at *16-17
                                            (S.D. NY June 12, 2012) ........................................................................................................ 15
                                      7
                                          ATSI Communs., Inc. v. Shaar Fund, Ltd., 547 F.3d 109, 112 (2nd Cir. 2008) .......................... 7
                                      8
                                          Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007) ......................................................... 4
                                      9
                                          Burt v. Irvine, 237 Cal. App. 2d 828, 849 (1965) ...................................................................... 23
                                     10
                                          Chevron U.S.A. Inc. v. Natural Resources Defense Counsel, Inc., 467 U.S. 837 (1984) .......... 11
                                     11   City of Arlington, Tex. v. FCC, No. 11-1545, 2013 U.S. LEXIS 3838, slip op. at 5 (May 20,
                                     12     2013)....................................................................................................................................... 12
650-684-1181 Main 650-684-1181 Fax




                                     13   Clegg v. Cult Awareness Network, 18 F. 3d 752, 754 (9th Cir. 1994) ........................................ 4
    100 Marine Parkway Suite 310
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                                     14   Collier v. Superior Court, 228 Cal. App. 3d 1117 (Cal. App. 2d Dist. 1991) ........................... 21
        Miclean Gleason LLP




                                          Creighton v. City of Livingston, No. 08-1507, 2009 U.S. Dist. LEXIS 93720, at *31 (E.D. Cal.
                                     15
                                            Oct. 7, 2009) ........................................................................................................................... 21
                                     16
                                          Dowell v. Contra Costa County, Case No. 3:12-cv-05743-JCS, 2013 U.S. Dist. LEXIS 28526,
                                     17     at *31 (N.D. Cal. March 1, 2013) .......................................................................................... 20
                                     18   Egan v. Tradingscreen, Inc., et al., 10 Civ. 8202(LBS), 2011 U.S. Dist. LEXIS 47713, at *19
                                            (S.D. NY May 4, 2011) ............................................................................................................ 9
                                     19
                                          Enron Oil Trading & Transp. Co. v. Walbrook Ins. Co., Ltd., 132 F. 3d 526, 529 (9th Cir.
                                     20
                                            1997)......................................................................................................................................... 4
                                     21   Faulkner v. California Toll Bridge Authority, 40 Cal. 2d 317, 329 (1953) ............................... 23
                                     22   Foman v. Davis, 371 U.S. 178, 182 (1962).................................................................................. 5
                                     23   Fox v. Piche, No. C08-1098RS, 2008 U.S. Dist. LEXIS 79337 at *10 (N.D. Cal. Sept. 22,
                                     24     2008) (Seeborg, J.) ................................................................................................................... 4
                                          Genberg v. Porter, No. 11-cv-0234-WYD-MEH, 2013 U.S. Dist. LEXIS 41302 (Dist. Col.
                                     25
                                            March 25, 2010) ....................................................................................................................... 8
                                     26
                                          General Atomic Co. v. Exxon Nuclear Co., 90 F.R.D. 290, 307 (S.D. Cal. 1981) .................... 17
                                     27
                                          Gilligan v. Jamco Dev. Corp., 108 F. 3d 246, 249 (9th Cir. 1997) ............................................. 4
                                     28
                                                                                                                 iv
                                            CASE NO: CV 13-02977 RS                                                                     PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                               Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 5 of 32



                                      1   Holmes v. General Dynamics Corp., 17 Cal. App. 4th 1418 (Cal. App. 4th Dist. 1993) .......... 21
                                      2   Jiang v. Lee’s Happy House, Case No. C 07-03606 RS, 2007 U.S. Dist. LEXIS 80861 at *2-3
                                             (N.D. Cal. October 23, 2007) ................................................................................................... 3
                                      3
                                          Joe Hand Promotions, Inc. v. Croce, No. 5:10-CV-04177-JW, 2011 U.S. Dist. LEXIS 69807,
                                      4
                                            at *6-7 (N.D. Cal. June 29, 2011) ............................................................................................ 7
                                      5
                                          Kar Onn Lee v. Holder, 701 F.3d 931, 936 (2d Cir. 2012) ........................................................ 12
                                      6   Kramer v. Trans-Lux Corp., No. 3:11cv1424(SRU), 2012 U.S. Dist. LEXIS 136939, at *9 (D.
                                      7     Conn. Sept. 25, 2012) ............................................................................................................... 9

                                      8   Kuang-Bao Ou-Young v. Potter, No. C 10-0464RS, 2011 U.S. Dist. LEXIS 22, at *15 (N.D.
                                            Cal. January 3, 2011) (Seeborg, J) ......................................................................................... 17
                                      9
                                          Lazy Y Ranch LTD v. Behrens, 546 F.3d 580, 588 (9th Cir. 2008) ............................................. 4
                                     10
                                          Lockheed Martin Corp. v. Administrative Review Board, No. 11-9524 (Petition for Review of
                                     11     an Order From the U.S. Dept. of Labor (1:10-050)) 10th Cir. June 4, 2013) ........................ 14
                                     12   Martinez v. California, No. CV-F-07-996 AWI DLB, 2008 U.S. Dist. LEXIS 81523, *4-5
650-684-1181 Main 650-684-1181 Fax




                                     13
                                           (E.D. Cal. October 4, 2008) ................................................................................................... 24
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                                          McCormick v. Travelers Ins. Co., 86 Cal.App.4th 404, 416 (2001) .......................................... 12
                                     14
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                                          McVeigh v. Recology San Francisco, 213 Cal. App. 4th 443, 472 (App. Ct. 2013) ................. 20
                                     15
                                          Michaelis v. Wells Fargo Bank, No. C 11-00537(JSW), 2011 U.S. Dist. LEXIS 126838 at *4
                                     16
                                            (N.D. Cal. November 2, 2011) ................................................................................................. 4
                                     17   Murray v. UBS Securities, LLC, et al., No. 12 civ 5914(JMF) .................................................... 8
                                     18   Murray, 2013 U.S. Dist. LEXIS 71945 at *14 (S.D. NY May 21, 2013).................................... 9
                                     19   Nollner v. Southern Babptist Convention, et al., 852 F. Supp. 2d 986, 994 (Dist. Tenn. April 2,
                                     20     2012)......................................................................................................................................... 9
                                          Scherz v. South Carolina Insurance Company, 112 F. Supp. 2d 1000, 1010 (C.D. Cal. 2000) 13
                                     21
                                          Skierkiewicz v. Sorema N.A., 534 U.S. 506, 511 (2002) .............................................................. 4
                                     22
                                          Tribble v. Raytheon Co., 414 Fed. Appx. 98, 2011 U.S. App. LEXIS 2895 (9th Cir. 2011) .... 18
                                     23
                                          Turner v. Anheuser-Busch, Inc., 7 Cal.4th 1238 (1994) ............................................................. 18
                                     24
                                          Turner v. City & County of San Francisco, 892 F. Supp. 2d 1188, 1201 (N.D. Cal. Aug. 29,
                                     25     2012)....................................................................................................................................... 20
                                     26   Van Asdale v. Int’l Game Tech, 577 F.3d 989, 996-97 (9th Cir.) .............................................. 15
                                     27   Vargas v. BP America, Inc., No. Civ. S-10-3130(LKK/GGH), 2011 U.S. LEXIS 107762, at
                                            *14 (E.D. Cal. Sept. 21, 2011) ............................................................................................... 18
                                     28
                                                                                                                  v
                                            CASE NO: CV 13-02977 RS                                                                     PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                               Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 6 of 32



                                      1   Waits v. Weller, 653 F.2d 1288, 1290 (9th Cir. 1981) ................................................................. 4
                                      2   Weingand v. Harland Fin. Solutions, Inc., 2012 U.S. Dist. LEXIS 114651, at *21-22 (N.D. Cal.
                                           August 14, 2012) .................................................................................................................... 19
                                      3
                                          Wyshak v. City National Bank, 607 F.2d 824, 826 (9th Cir. 1979) ............................................. 5
                                      4

                                      5   II. STATUTES
                                      6   15 U.S.C § 78u-6(h)(1)(A)(iii) ..................................................................................................... 7
                                      7   15 U.S.C. § 78u-6, §78u-6(h)(1)(B)(i) ......................................................................................... 6
                                      8   15 U.S.C. §78u-6(j) .................................................................................................................... 11

                                      9   15 U.S.C. § 78u-6(a)(6)................................................................................................................ 7

                                     10   15 U.S.C. § 78u-6(h)(1)(A) .......................................................................................................... 7
                                          15 U.S.C. § 78u-6(i) ................................................................................................................... 10
                                     11
                                          15 U.S.C. §78u-6(h)(1)(A) ..................................................................................................... 9, 11
                                     12
650-684-1181 Main 650-684-1181 Fax




                                          15 U.S.C. §78u-6(h)(1)(A)(iii) ..................................................................................................... 9
                                     13
    100 Marine Parkway Suite 310




                                          15 U.S.C. 78a et seq ..................................................................................................................... 6
     Redwood Shores, CA 94065




                                     14
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                                          15 U.S.C. 78f(m)), section 1513(e) .............................................................................................. 7
                                     15
                                          15 U.S.C. 78u-6(h)(1)(A) ........................................................................................................... 10
                                     16
                                          15 USC §78u-6 ........................................................................................................................... 22
                                     17
                                          18 U.S.C. § 1514A ................................................................................................................. 8, 14
                                     18   18 U.S.C. § 1341 ........................................................................................................................ 15
                                     19   18 U.S.C. §§ 1341, 1343, 1344, 1348 ........................................................................................ 15
                                     20   18 U.S.C. 1514A(a)(1)(C) .......................................................................................................... 10
                                     21   18 USC §1514A ......................................................................................................................... 22
                                     22   78u-6(h)(1)(A)(iii)............................................................................................................... passim
                                     23   15 U.S.C. 7201 et seq ................................................................................................................... 6

                                     24   15 U.S.C Section 78u-6(h)(1)(A)(iii) ........................................................................................... 8

                                     25
                                          III. OTHER AUTHORITIES
                                     26   California Labor Code §1102.5 ........................................................................................................ 22

                                     27   H.R. Rep. No. 111-517, at 683 (2010) ......................................................................................... 6

                                     28   Securities and Exchange Commission, Securities Whistleblower Incentives and Protections, 76
                                                                                                              vi
                                            CASE NO: CV 13-02977 RS                                                                 PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                              Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 7 of 32



                                      1      Fed. Reg. 34300-01, at *34304 ..................................................................................................... 10
                                      2   Securities and Exchange Commission, Securities Whistleblower Incentives and Protections, 76
                                            Fed. Reg. 34300-01, at 34303 (2011) ........................................................................................... 13
                                      3

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                                                                                                            vii
                                            CASE NO: CV 13-02977 RS                                                               PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                               Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 8 of 32



                                      1   I.      INTRODUCTION
                                      2           Apple Inc.’s (“Apple”) motion to dismiss seeks to deprive Joshua Banko from seeking his

                                      3   fair day in court. Apple seeks to dismiss Mr. Banko from pursing causes of action in violation of

                                      4   the Dodd-Frank Act, wrongful termination in violation of the public policy, retaliation, breach of

                                      5   employment contract, and breach of implied covenant of good faith and fair dealing. But the

                                      6   justification that Apple offers the court for its extraordinary request is shaky at best since Mr.

                                      7   Banko has adequately met the federal pleading standards for all of its causes of action.

                                      8           Recently enacted, the Dodd-Frank Act (“DFA”) provides protection to employees that blow

                                      9   the whistle on their employers. Mr. Banko pled that he engaged in protected activity when he

                                     10   reported the embezzling conduct of another Apple employee. Apple violated the DFA when it

                                     11   terminated Mr. Banko’s employment. Contrary to Apple’s assertions, Mr. Banko’s DFA cause of

                                     12   action is properly before this court because Mr. Banko was not required to make disclosures to the
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                                     13   Securities and Exchange Commission (“SEC”) or file a complaint with the Department of Labor’s
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                                     14   Occupational Safety and Health Administration (“OSHA”). Thus, Mr. Banko’s cause of action of
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                                     15   violation of the DFA is timely and proper before this court.

                                     16           Indeed, Apple’s next argument to dismiss Mr. Banko’s cause of action for wrongful

                                     17   termination in violation of public policy fairs no better. Despite substantial case law to the

                                     18   contrary, Apple argues that Mr. Banko’s cause of action fails because he did not plead a specific

                                     19   public policy statute. In fact, the case law that Apples offers to support its position instead bolsters

                                     20   Mr. Banko’s argument that he has properly pled a cause of action for wrongful termination in

                                     21   violation of public policy.

                                     22           Equally futile is Apple’s basis for dismissal of Mr. Banko’s retaliation cause of action.

                                     23   Apple recycles its argument that Mr. Banko has not pled sufficient facts under the DFA nor pointed

                                     24   to a specific statute under California Labor Code § 1102.5. However, as thoroughly discussed

                                     25   below, Mr. Banko properly pled a cause of action for violation of the DFA. In addition, courts

                                     26   have stated that a plaintiff need not point to a specific statute to allege violation of California’s

                                     27   Labor Code § 1102.5.

                                     28           Finally, Apple argues that Mr. Banko has not pled sufficient facts to state a claim for breach
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                                           CASE NO: CV 13-02977 RS                                            PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                                Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 9 of 32



                                      1   of contract and breach of the covenant of good faith and fair dealing. Apple’s position on these
                                      2   two causes of action are devoid of substantive arguments and contrary to case law. Further the
                                      3   cases that Apples cites to are clearly inapplicable.
                                      4            Mr. Banko has pled sufficient facts for each of its causes of action. All that the federal
                                      5   rules of civil procedure require of Mr. Banko is that he pleads enough facts to put Apple on notice.
                                      6   Apple may wish that was not so since it cites to various cases at the motion for summary judgment
                                      7   stage, but no more is necessary of Mr. Banko. Thus, Mr. Banko respectfully request that Apple’s
                                      8   motion to dismiss be denied in its entirety.
                                      9   II.      STATEMENT OF FACTS
                                     10            Mr. Banko began his highly successful career at Apple on September 18, 2000. (Dkt. No.
                                     11   1, ¶ 8). He worked on numerous high profile products such as the iPad, iBook, MacBook,
                                     12   MacBook Pro, and MacBook Air. (Dkt. No. ¶ 9). Further, Mr. Banko contributed significantly to
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                                     13   developing more than 22 important Apple patents and received multiple promotions. (Dkt. No. ¶
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                                     14   9). Mr. Banko was never subject to a performance improvement plan nor issued a negative written
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                                     15   review. (Dkt. No. 1, ¶ 11). In fact, his contributions were so valuable that his supervisor, Kate
                                     16   Bergeron, specifically stated that she would “back-up” and “support” Mr. Banko with respect to his
                                     17   employment at Apple. (Dkt. No. 1, ¶ 15).
                                     18            Employee Roe, was an engineer at Apple that reported to Mr. Banko. (Dkt. No. 1, ¶ 23).
                                     19   In or about August 2011, Mr. Banko provided Employee Roe with a pay raise and a stock grant
                                     20   commensurate with her performance. (Dkt. No. 1, ¶ 23). Two months later, the senior human
                                     21   resource director, Stacy Smith unilaterally and with no explanation to Mr. Banko or Ms. Bergeron,
                                     22   increased her bonus by 30% and stock grant by 60%. (Dkt. No. 1, ¶ 24). Less than one year later
                                     23   in March 2012, Mr. Smith awarded Employee Roe with a pay increase of $40,000 and a grant of
                                     24   Restricted Stock Units of seven times the size of the previous grant. (Dkt. No. 1, ¶ 26).
                                     25            In early 2012, Mr. Banko began noticing irregularities on Employee Roe’s expense reports
                                     26   and directed Employee Roe to remove the fraudulent charges. (Dkt. No. 1, ¶ 30). Mr. Banko
                                     27   continued noticing irregular expense reports and in December 2012 asked Employee Roe to
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                                           CASE NO: CV 13-02977 RS                                         PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                             Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 10 of 32



                                      1   remedy the inflated expenses. Employee Roe failed to do so. (Dkt. No. 1, ¶ 31). Because Mr.
                                      2   Banko had a reasonable belief that Employee Roe was violating both Apple policy and the law he
                                      3   reported Employee Roe’s embezzlement despite his superiors’ instructions to ignore the situation.
                                      4   (Dkt. No. 1, ¶¶ 32-35). An internal audit revealed 40 separate occurrences in which Employee Roe
                                      5   either inflated or falsified expenses for which she obtained reimbursement from Apple. (Dkt. No.
                                      6   1, ¶ 36).
                                      7           Mr. Banko recommended Employee Roe’s termination for fraud and embezzlement of
                                      8   company funds. (Dkt. No. 1, ¶ 37). Mr. Banko’s supervisors opposed the termination of
                                      9   Employee Roe. (Dkt. No. 1, ¶ 38). Employee Roe was informed on December 21, 2012 that
                                     10   Apple was terminating her employment effective December 31, 2012. (Dkt. No. 1, ¶ 42).
                                     11           Nine days after Employee Roe’s termination, on or around January 9, 2013, Mr. Banko was
                                     12   called into a meeting with Ms. Bergeron and Mike Ignaffo, a member of Apple’s human resources
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                                     13   department, and told he had to stay home the rest of the week. (Dkt. No. 1, ¶ 47). Without any
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                                     14   justification, Apple terminated Mr. Banko’s employment upon his return on January 14, 2013 after
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                                     15   12 years with the company. (Dkt. No. 1, ¶ 48).
                                     16   III.    ARGUMENT
                                     17           A.      Legal Standard.
                                     18                   1.     Federal Rule of Civil Procedure 12(b)(1).

                                     19           Federal Rule of Civil Procedure 12(b)(1) provides for motions to dismiss for lack of subject

                                     20   matter jurisdiction. The party seeking to invoke the court’s jurisdiction bears the burden

                                     21   establishing subject matter jurisdiction. Jiang v. Lee’s Happy House, Case No. C 07-03606 RS,

                                     22   2007 U.S. Dist. LEXIS 80861 at *2-3 (N.D. Cal. October 23, 2007). A Rule 12(b)(1) motion to

                                     23   dismiss for lack of subject matter jurisdiction may be made on the basis that the complaint fails to

                                     24   allege grounds for federal matter jurisdiction, i.e., that the lack of jurisdiction appears from the

                                     25   “face of the complaint,” or on the basis that the court lacks jurisdiction as a matter of fact, i.e., lack

                                     26   of jurisdiction based on extrinsic evidence apart from the pleadings.” Id.
                                                          2.      Federal Rule of Civil Procedure 12(b)(6).
                                     27
                                                  A motion to dismiss is only proper under Federal Rule of Civil Procedure 12(b)(6) where
                                     28
                                                                                              3
                                           CASE NO: CV 13-02977 RS                                            PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                             Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 11 of 32



                                      1   the pleadings fail to state a claim upon which relief can be granted. “A complaint should not be
                                      2   dismissed unless it appears beyond doubt the plaintiff can prove no set of facts in support of his
                                      3   claim that would entitle him to relief. Clegg v. Cult Awareness Network, 18 F. 3d 752, 754 (9th
                                      4   Cir. 1994). The Court’s “inquiry is limited to the allegations in the complaint, which are accepted
                                      5   as true and construed in the light most favorable to the plaintiff.” Michaelis v. Wells Fargo Bank,
                                      6   No. C 11-00537(JSW), 2011 U.S. Dist. LEXIS 126838 at *4 (N.D. Cal. November 2, 2011) citing
                                      7   Lazy Y Ranch LTD v. Behrens, 546 F.3d 580, 588 (9th Cir. 2008). The court must determine
                                      8   whether “the claimant is entitled to offer evidence to support the claims,” not whether the plaintiff
                                      9   can ultimately prove the facts alleged. Skierkiewicz v. Sorema N.A., 534 U.S. 506, 511 (2002).
                                     10   “Motions to dismiss generally are viewed with disfavor and are to be granted rarely. Fox v. Piche,
                                     11   No. C08-1098RS, 2008 U.S. Dist. LEXIS 79337 at *10 (N.D. Cal. Sept. 22, 2008) (Seeborg, J.)
                                     12   citing Gilligan v. Jamco Dev. Corp., 108 F. 3d 246, 249 (9th Cir. 1997).
650-684-1181 Main 650-684-1181 Fax




                                     13          Furthermore, Rule 8(a) simply requires “a short and plain statement of the claim showing
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                                     14   that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). “[U]nder Rule 8(a) a plaintiff is not
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                                     15   required to allege in its complaint the evidentiary facts in support of its theory of recovery.” Enron
                                     16   Oil Trading & Transp. Co. v. Walbrook Ins. Co., Ltd., 132 F. 3d 526, 529 (9th Cir. 1997). The
                                     17   Rule requires “only enough facts to state a claim to relief that is plausible on its face. Bell Atlantic
                                     18   Corp. v. Twombly, 550 U.S. 544, 570 (2007); see also, Enron Oil Trading & Transp. Co., 132 F.
                                     19   3d at 529. (“we do not require heightened fact pleading of specifics.”). Moreover, “determining
                                     20   whether a complaint states a plausible claim is context-specific, requiring the reviewing court to
                                     21   draw on its experience and common sense.” Ashcroft v. Iqbal, 129 S. Ct. 1937, 1940 (2009).
                                     22   As even a cursory review of the complaint in this action demonstrates, and as fully explained
                                     23   below, the complaint contains a substantial amount of allegations that support each cause of action,
                                     24   and go well beyond the required notice pleading required in federal court.
                                     25                  3.      Leave To Amend Should Be Freely Granted.

                                     26          The decision to grant or deny leave to amend is within the discretion of the trial court.

                                     27   Waits v. Weller, 653 F.2d 1288, 1290 (9th Cir. 1981). In the absence of “undue delay, bad faith or

                                     28   dilatory motive on the part of the movant, repeated failure to cure deficiencies by amendments
                                                                                              4
                                           CASE NO: CV 13-02977 RS                                            PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                            Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 12 of 32



                                      1   previously allowed, undue prejudice to the opposing party by virtue of allowance of the
                                      2   amendment, [or] futility of amendment,” leave to amend should be “freely given.” Foman v. Davis,
                                      3   371 U.S. 178, 182 (1962) also see Wyshak v. City National Bank, 607 F.2d 824, 826 (9th Cir.
                                      4   1979) (“Ordinarily, leave to amend should be freely given in the absence of prejudice to the
                                      5   opposing party.”).
                                      6          Consequently, even if some elements were lacking from any cause of action (which we
                                      7   maintain is not the case), Mr. Banko would respectfully request the right to amend the complaint.
                                      8          B.      Background and Context:The DFA Was Passed Specifically to Allow Actions
                                                         Such as This One.
                                      9
                                             In 2010, Congress passed the Dodd-Frank Wall Street Reform and Consumer Act (“DFA”), in
                                     10
                                          part, to encourage whistleblower participation in the promotion of corporate governance. (Ex. 1) 1;
                                     11
                                          Dodd-Frank Wall Street Reform and Consumer Protection Act, Pub. L. No. 111-203, 124 Stat 1376
                                     12
650-684-1181 Main 650-684-1181 Fax




                                          (2010); see also (Ex. 2) Adele Nicolas, Bounty Hunters: Whistleblower Provisions of the Dodd-
                                     13
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                                          Frank Act Pressure Employers to Improve Compliance, Inside Couns., Oct. 1, 2010, at 28-29
                                     14
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                                          (discussing the intentions behind the DFA’s Whistleblower provisions and predicting if they will
                                     15
                                          succeed). Historically, the number of whistleblowers had been alarmingly low.
                                     16
                                                         1.     Dodd-Frank is Designed to Remedy the Failure of SOX as to
                                     17                         Whistleblowers

                                     18      Prior to the implementation of the DFA’s whistleblower provisions, an individual who

                                     19   suspected violation of security laws would first have to file a complaint with OSHA alleging

                                     20   violation of the Sarbanes-Oxley Act (“SOX”). Complaints filed with OSHA were often dismissed

                                     21   at an alarmingly high rate. (Ex. 3) S. Rep. No. 111-176, at 72-73 (“External auditors, and the SEC

                                     22   exam teams would certainly be considered external auditors, detected a mere 4.1% of uncovered

                                     23   fraud schemes. . . We also note a recent report of the current SEC insider-trading Whistleblower

                                     24   Program by the Office of Inspector General of SEC. Since the inception of the program in 1989,

                                     25   there have been a total of only 7 payouts to five whistleblowers for a meager total of $159, 537.”);

                                     26

                                     27          1
                                                    References herein to “Ex. [X]” refer to an Exhibit to the Declaration of Gary R. Gleason
                                          filed with this Opposition.
                                     28
                                                                                            5
                                           CASE NO: CV 13-02977 RS                                         PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                             Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 13 of 32



                                      1   also see Tracy Coenen, Essentials of Corporate Fraud 196 (2008) (“The initial excitement that
                                      2   SOX's whistleblower provisions generated quickly faded after nearly every case was dismissed or
                                      3   settled.”); (Ex. 4) Michael Hudson, Federal Bureaucracy Dismisses Most Sarbanes-Oxley
                                      4   Whistleblower Claims, Ctr. for Pub. Integrity (July 22, 2010),
                                      5   http://www.publicintegrity.org/articles/entry/2275/ (demonstrating that only twenty-five out of the
                                      6   1066 whistleblower claims brought to the Department of Justice through June 30, 2010 were
                                      7   upheld.).
                                      8                  2.      Congress Passed Dodd-Frank to Increase Access of Whistleblowers Like
                                                                 Mr. Banko to Courts of Law.
                                      9
                                                 Thus, because of SOX’s unsuccessful whistleblower provisions, Congress enacted the DFA
                                     10
                                          whistleblower provisions to elicit further support from whistleblowers. (Ex. 5) H.R. Rep. No. 111-
                                     11
                                          517, at 683 (2010) (“The subtitle further enhances incentives and protections for whistleblowers
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650-684-1181 Main 650-684-1181 Fax




                                          providing information leading to successful SEC enforcement actions.”); (Ex. 3) (“The
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                                          whistleblower Program aims to motivate those with inside knowledge to come forward and assist
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                                          the Government to identify and prosecute persons who have violated securities laws and recover
                                     15
                                          money for victims of financial fraud . . .). One of the key provisions in the DFA is the right to a
                                     16
                                          private cause of action for whistleblowers alleging retaliatory discharge or other discrimination
                                     17
                                          without first having to provide information to the SEC. The DFA provides that any “individual
                                     18
                                          who alleges discharge or other discrimination in violation of subparagraph (A) may bring an action
                                     19
                                          under this subsection in the appropriate district court of the United States for the relief provided in
                                     20
                                          subparagraph (C).” U.S.C. 15 § 78u-6, §78u-6(h)(1)(B)(i).
                                     21                  3.      Courts and Counsel Have Found Dodd-Frank Whistleblower Provisions
                                                                 Unclear.
                                     22
                                                 Unfortunately, the DFA whistleblower provision is not a model of clarity. Section 78u-
                                     23
                                          6(h)(1)(A) and § 78u-6(h)(1)(A) (iii) read “no employer may discharge, demote, suspend, threaten,
                                     24
                                          harass, directly or indirectly, or in any other manner discriminate against a whistleblower in the
                                     25
                                          terms and conditions of employment because of any lawful act done by the whistleblower” . . . “in
                                     26
                                          making disclosures that are required or protected under the Sarbanes-Oxley Act of 2002 (15 U.S.C.
                                     27
                                          7201 et seq.), the Securities Exchange Act of 1934 (15 U.S.C. 78a et seq.), including section
                                     28
                                                                                             6
                                           CASE NO: CV 13-02977 RS                                           PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                             Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 14 of 32



                                      1   10A(m) of such Act (15 U.S.C. 78f(m)), section 1513(e) of title 18 United States Code, and any
                                      2   other law, rule, or regulation subject to the jurisdiction of the Commission.” 15 U.S.C. § 78u-
                                      3   6(h)(1)(A); § 78u-6(h)(1)(A)(iii). However, the definition of whistleblower in the DFA reads,
                                      4   “[t]he term “whistleblower” means any individual who provides, or 2 or more individuals acting
                                      5   jointly who provide, information relating to a violation of the securities laws to the Commission, in
                                      6   a manner established, by rule or regulation, by the Commission.” 15 U.S.C. § 78u-6(a)(6). The
                                      7   crux is whether someone who does not provide information to the SEC would still be defined as a
                                      8   “whistleblower” and fall under the protection of § 78u-6(h)(1)(A)(iii). The answer is yes.
                                      9           Some courts have considered this exact question and held that the whistleblower provisions
                                     10   are ambiguous but nonetheless have extended protection to whistleblowers that do not provide
                                     11   information to the SEC. A minority of courts, and as Apple argues in its motion to dismiss, have
                                     12   held that someone that does not provide information to the SEC is not a whistleblower and cannot
650-684-1181 Main 650-684-1181 Fax




                                     13   avail himself of the protection of § 78u-6(h)(1)(A)(iii). To support its position, Apple cites to
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                                     14   Asadi v. G.E. Energy (U.S.A.), L.L.C., No. 12-20522, 2013 U.S. App. LEXIS 14470 (5th Cir. July
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                                     15   17, 2013), but that case is inapposite.
                                     16                  4.      The Majority of Courts Considering the Issue Have Found Dodd-Frank
                                                                 to Be Ambiguous as to the Term Whistleblower.
                                     17
                                                 As Apple acknowledges, Asadi, is the only appellate court that has ruled on the
                                     18
                                          interpretation between the two provisions but on the assumption that the provisions were not
                                     19
                                          ambiguous. Asadi, 2013 U.S. App. LEXIS 14470, at *10. 2        In fact, the plaintiff in Asadi
                                     20
                                          conceded he was not a “whistleblower” and did not argue that the DFA whistleblower provisions
                                     21
                                          were ambiguous. The court states:
                                     22         Notably, however, Asadi does not maintain that the definition of “whistleblower” in

                                     23
                                                 2
                                                    Federal courts have acknowledged that court decisions from other circuits are not binding
                                     24   on an out of circuit district court and when the authority at issue is only persuasive, the court may
                                          exercise its discretion in deciding an issue. Joe Hand Promotions, Inc. v. Croce, No. 5:10-CV-
                                     25   04177-JW, 2011 U.S. Dist. LEXIS 69807, at *6-7 (N.D. Cal. June 29, 2011) (“the decisions of
                                          fellow district courts, while persuasive, are not binding on this Court. See ATSI Communs., Inc. v.
                                     26   Shaar Fund, Ltd., 547 F.3d 109, 112 (2nd Cir. 2008) (noting that "[d]istrict court decisions . . .
                                          create no rule of law binding on other courts."); see also Allegheny General Hospital v. NLRB, 608
                                     27   F.2d 965, 970 (3d Cir. 1979) (explaining that precedent binds only those cases "arising in the same
                                          court or a lower court in the judicial hierarchy").
                                     28
                                                                                            7
                                           CASE NO: CV 13-02977 RS                                         PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                            Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 15 of 32



                                      1          §78u-6(a)(6) is ambiguous. Similarly, he does not contend that the categories of
                                                 lawful actions by a whistleblower in §78u-6(h)(1)(A) are ambiguous. Nevertheless,
                                      2          he asserts that individuals who take actions that fall within the third category of
                                      3          lawful actions are protected, whether or not they qualify as a “whistleblower” as
                                                 defined in §78u-6(a)(6).
                                      4
                                          Asadi, 2013 U.S. App. LEXIS 14470, at *11 n. 5. The Asadi court’s interpretation of
                                      5
                                          “whistleblower” is the minority view. Indeed, several district courts from other circuits have
                                      6
                                          reasoned that the DFA whistleblower protection provision extends to protect individuals who do
                                      7
                                          not make disclosures to the SEC. 3
                                      8
                                                  In Murray v. UBS Securities, LLC, et al., No. 12 civ 5914(JMF), 2013 U.S. Dist. LEXIS
                                      9
                                          71945 (Dist. NY. May 21, 2013), the plaintiff argued that defendant had violated the
                                     10
                                          whistleblower protection provisions of the DFA because he was terminated after being pressured
                                     11
                                          to produce false and misleading information about defendant’s security products intended to favor
                                     12
650-684-1181 Main 650-684-1181 Fax




                                          defendant’s products and trading positions. Id. The defendant moved to dismiss the complaint
                                     13
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                                          because plaintiff did not allege that he made a report to the SEC and therefore argued that plaintiff
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                                          was not a “whistleblower” under the DFA. The court held that plaintiff had “indisputably alleged
                                     15
                                          that Defandants’ decision to terminate him was motivated, in part, by his making disclosures that
                                     16
                                          are protected by Section 806 of the Sarbanes Oxley Act, 18 U.S.C. § 1514A, he has plausibly
                                     17
                                          stated a claim under Section 78u-6(h)(1)(A)(iii).” Murray, 2013 U.S. Dist. LEXIS 71945 at *21.
                                     18
                                          The court reasoned that “the anti-retaliation whistleblower protection provisions of Dodd-Frank
                                     19
                                          require Plaintiff to show that he either provided information to the SEC or that his disclosures fell
                                     20
                                          under the four categories listed in Section 78u-6(h)(1)(A)(iii).” Id.
                                     21
                                                 In Genberg v. Porter, No. 11-cv-0234-WYD-MEH, 2013 U.S. Dist. LEXIS 41302 (Dist.
                                     22
                                          Col. March 25, 2010) the plaintiff argued that defendant terminated him in violation of the
                                     23
                                          whistleblower protection provisions in the DFA when he disclosed information protected under
                                     24
                                          SOX to upper management. Genberg, 2013 U.S. Dist. LEXIS 41302, at *29 (Dist. Col. March 25,
                                     25
                                          2013). Defendant argued that the plaintiff’s DFA retaliation claim failed because he did not fall
                                     26

                                     27          3
                                                   Apple’s motion neglects to inform this court that the majority of district courts faced with
                                          the issue have held that Dodd-Frank is ambiguous.
                                     28
                                                                                             8
                                           CASE NO: CV 13-02977 RS                                          PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                             Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 16 of 32



                                      1   under the category of persons that the statute defines as whistleblower. Id. at 26. The court,
                                      2   however, held that the plaintiff qualified “as a whistleblower under the DFA because he disclosed
                                      3   alleged federal securities violations to upper level management. Thus, [plaintiff] [could] proceed
                                      4   with his DFA retaliation claim under § 78u-6(h)(1)(A)(iii) even though he ha[d] not provided the
                                      5   SEC with any information regarding alleged federal securities law violations.” Id. at 29.
                                      6           Other courts have similarly held that § 78u-6(h)(1)(A)(iii) does not require disclosures to
                                      7   the SEC because it is an exception to the definition of “whistleblower.” Kramer v. Trans-Lux
                                      8   Corp., No. 3:11cv1424(SRU), 2012 U.S. Dist. LEXIS 136939, at *9 (D. Conn. Sept. 25, 2012) (“I
                                      9   do not believe it is unambiguously clear that the Dodd-Frank Act’s retaliation provision only
                                     10   applies to those individuals who have provided information relating to a securities violation to the
                                     11   Commission, and have done so in a manner established by the Commission.”); Egan v.
                                     12   Tradingscreen, Inc., et al., 10 Civ. 8202(LBS), 2011 U.S. Dist. LEXIS 47713, at *19 (S.D. NY
650-684-1181 Main 650-684-1181 Fax




                                     13   May 4, 2011) (“the anti-retaliation whistleblower protection provisions of the Dodd-Frank Act
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                                     14   require Plaintiff to show that he either provided information to the SEC, or that his disclosures fell
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                                     15   under the four categories listed in 15 U.S.C. §78u-6(h)(1)(A)(iii)”); Nollner v. Southern Babptist
                                     16   Convention, et al., 852 F. Supp. 2d 986, 994 (Dist. Tenn. April 2, 2012) (“both Egan . . . and the
                                     17   SEC have found that category (iii) provides a narrow exception to the definition of a whistleblower
                                     18   as someone who reports only “to the Commission.”).
                                     19           The courts that have reached the decision that §78u-6(h)(1)(A)(iii) is an exception to the
                                     20   definition of whistleblower have done so by first finding that the DFA whistleblower provision is
                                     21   ambiguous. The Asadi court did not analyze the provisions from that starting point. But the
                                     22   provisions cannot be argued to be clear, as Apple attempts to, if attorneys and courts are not
                                     23   applying the provisions consistently. Murray, 2013 U.S. Dist. LEXIS 71945 at *14 (S.D. NY May
                                     24   21, 2013) (“The existence of these “competing, plausible interpretations” of the statutory
                                     25   provisions compels the conclusion that “the statutory text is ambiguous in conveying Congress’
                                     26   intent.”).
                                     27

                                     28
                                                                                             9
                                           CASE NO: CV 13-02977 RS                                          PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                            Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 17 of 32



                                      1                  5.      Because of the Ambiguity of the Act, the SEC Provided Guidance as to
                                                                 the Term Whistleblower.
                                      2
                                                 Indeed, the ambiguity in the DFA’s whistleblower protection provision compelled the SEC
                                      3
                                          to provide guidance in its application. On August 12, 2011, the SEC -- to whom Congress
                                      4
                                          delegated authority to administer the whistleblower provisions of Dodd-Frank, see 15 U.S.C. §
                                      5
                                          78u-6(i) -- promulgated a final rule regarding the relationship between § 78u-6(h)(1)(A), the anti-
                                      6
                                          retaliation provision, and § 78u-6(a)(6), the provision defining "whistleblower." The SEC's rule
                                      7
                                          provides:
                                      8          (a) Definition of a whistleblower. (1) You are a whistleblower if, alone or jointly
                                                 with others, you provide the Commission with information pursuant to the
                                      9          procedures set forth in § 240.21F-9(a) of this chapter, and the information relates to
                                     10          a possible violation of the Federal securities laws (including any rules or regulations
                                                 thereunder) that has occurred, is ongoing, or is about to occur. A whistleblower
                                     11          must be an individual. A company or another entity is not eligible to be a
                                                 whistleblower.
                                     12                                                  * * *
650-684-1181 Main 650-684-1181 Fax




                                     13          (b) Prohibition against retaliation: (1) For purposes of the anti-retaliation protections
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                                                 afforded by Section 21F(h)(1) of the Exchange Act (15 U.S.C. 78u-6(h)(1)), you are
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                                                 a whistleblower if:
                                     15                                                   * * *
                                                     (ii) You provide that information in a manner described in Section
                                     16
                                                     21F(h)(1)(A) of the Exchange Act (15 U.S.C. 78u-6(h)(1)(A)).
                                     17

                                     18   (Ex. 6) 17 CFR 240.21F-2 (Emphasis added).; (Ex. 7) Securities and Exchange Commission,
                                     19   Securities Whistleblower Incentives and Protections, 76 Fed. Reg. 34300-01, at *34304 (June 13,
                                     20   2011) (codified at 17 C.F.R. pts. 240-249) ("[T]he statutory anti-retaliation protections apply to
                                     21   three different categories of whistleblowers, and the third category includes individuals who report
                                     22   to persons or governmental authorities other than the [SEC].") (Emphasis added).
                                     23
                                                 The SEC’s interpretation of § 78u-6(h)(1)(A), reflects the fact that the statutory anti-
                                     24
                                          retaliation protections apply to three different categories of whistleblowers, and the third category
                                     25
                                          includes individuals who report to persons or governmental authorities other than the Commission.
                                     26
                                          Specifically, § 78u-6(h)(1)(A), which incorporates the anti-retaliation protections specified in § 806
                                     27
                                          of the Sarbanes-Oxley Act, 18 U.S.C. 1514A(a)(1)(C)--provides anti-retaliation protections for
                                     28
                                                                                            10
                                           CASE NO: CV 13-02977 RS                                          PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                             Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 18 of 32



                                      1   employees of public companies, subsidiaries whose financial information is included in the
                                      2   consolidated financial statements of public companies, and nationally recognized statistical rating
                                      3   organizations when these employees report to (i) A Federal regulatory or law enforcement agency,
                                      4   (ii) any member of Congress or committee of Congress, or (iii) a person with supervisory authority
                                      5   over the employee or such other person working for the employer who has authority to investigate,
                                      6   discover, or terminate misconduct.
                                      7                    6.      Asadi Improperly Fails to Give the SEC’s Interpretation the Deference
                                                                   it is Due Under Federal Law.
                                      8
                                                    In Asadi, with all due respect to the court, surprisingly and incorrectly dismissed the SEC’s
                                      9
                                          interpretation and rule. The court states that the “regulation instead of using the statute’s
                                     10
                                          definition of “whistleblower,” redefines “whistleblower more broadly by providing that an
                                     11
                                          individual qualifies as a whistleblower even though he never reports any information to the SEC,
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650-684-1181 Main 650-684-1181 Fax




                                          so long as he has undertaken the protected activity listed in 15 U.S.C. §78u-6(h)(1)(A) . . the
                                     13
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                                          SEC’s regulations concerning the Dodd-Frank whistleblower protection provision are
                                     14
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                                          inconsistent.” Asadi, 2013 U.S. App. LEXIS 14470, at *28-29. This is at odds with Congress’
                                     15
                                          intent to enable the SEC with the authority to issue rules and regulations necessary to implement
                                     16
                                          the whistle blower protection provisions in the DFA. 15 U.S. C. §78u-6(j) (“The Commission
                                     17
                                          shall have the authority to issue such rules and regulations as may be necessary or appropriate to
                                     18
                                          implement the provisions of this section consistent with the purposes of this section.”) (Emphasis
                                     19
                                          added).
                                     20

                                     21             Asadi’s holding can only be the result of the court’s failure to apply the two-step inquiry to

                                     22   determine whether the SEC’s interpretation warrants deference under Chevron U.S.A. Inc. v.

                                     23   Natural Resources Defense Counsel, Inc., 467 U.S. 837 (1984). The first step of that inquiry is

                                     24   asking “whether Congress has directly spoken to the precise question at issue. If the intent of

                                     25   Congress is clear, that is the end of the matter; for the court, as well as the agency, must give effect

                                     26   to the unambiguously expressed intent of Congress.” Chevron U.S.A. Inc., 467 U.S. at 842-43. If

                                     27   however, “the statute is silent or ambiguous with respect to the specific issue,” the Court proceeds

                                     28   to step two, asking “whether the agency’s answer is based on a permissible construction of the
                                                                                              11
                                           CASE NO: CV 13-02977 RS                                            PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                             Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 19 of 32



                                      1   statute.” Id. at 843. A court may not defer to an interpretation that is "arbitrary, capricious, or
                                      2   manifestly contrary to the statute." Kar Onn Lee v. Holder, 701 F.3d 931, 936 (2d Cir. 2012)
                                      3   (internal quotation marks omitted). But "[i]f the agency interpretation is reasonable, then [a court]
                                      4   must defer to it." Id. (internal quotation marks omitted). This framework "is rooted in a
                                      5   background presumption of congressional intent" and "provides a stable background rule against
                                      6   which Congress can legislate: Statutory ambiguities will be resolved, within the bounds of
                                      7   reasonable interpretation, not by the courts but by the administering agency." City of Arlington,
                                      8   Tex. v. FCC, No. 11-1545, 2013 U.S. LEXIS 3838, slip op. at 5 (May 20, 2013).
                                      9
                                                 Indeed, the Kramer court concluded that it is "not . . . unambiguously clear that the Dodd-
                                     10
                                          Frank Act's retaliation provision only applies to those individuals who have provided information
                                     11
                                          relating to a securities violation to the Commission, and have done so in a manner established by
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                                          the Commission." Kramer, 2012 U.S. Dist. LEXIS 136939, at *4. (Emphasis added). Similarly,
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                                          the Murray court found that ‘the ambiguity arises from the tension between Section 78u-6, which
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                                     14
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                                          limits the definition of “whistleblower” to one who makes a disclosure to the SEC and Section 78u-
                                     15
                                          6(h)(1)(A)(iii), which contemplates a broader scope of protection.” Murray, 2013 U.S. Dist. LEXIS
                                     16
                                          71945, at *13. The courts went on to step two of the Chevron inquiry and reasoned that the SEC's
                                     17
                                          interpretation was a reasonable one. After all, its rule is consistent with the interpretation of the
                                     18
                                          statutory provisions put forth by Egan, Nollner, and Genberg: that Section 78u-6(h)(1)(A)(iii)
                                     19
                                          provides a narrow exception to Section 78u-6(a)(6)'s definition of a whistleblower as one who
                                     20
                                          reports to the SEC, and protects internal disclosures protected by SOX and the 1934 Act. Murray,
                                     21
                                          2013 U.S. Dist. LEXIS 71945, at *16; Kramer, 2012 U.S. Dist. LEXIS 136393, at *12.
                                     22
                                                 Courts in other contexts have similarly held that deference to agencies interpretation should
                                     23
                                          be given. McCormick v. Travelers Ins. Co., 86 Cal.App.4th 404, 416 (2001) (“As FEMA is the
                                     24
                                          agency charged with administering the NFIP, we must give great weight to its construction of
                                     25
                                          statutes it is charged with implementing and enforcing. Such a construction will be adhered to
                                     26
                                          unless clearly erroneous or unauthorized [citations omitted], that is, unless it was arbitrary,
                                     27
                                          capricious or had no reasonable or rational basis [citation omitted].”); Scherz v. South Carolina
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                                           CASE NO: CV 13-02977 RS                                           PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                            Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 20 of 32



                                      1   Insurance Company, 112 F. Supp. 2d 1000, 1010 (C.D. Cal. 2000) (“Congress has delegated to
                                      2   DOT authority to implement the statute; the subject matter is technical; and the relevant history and
                                      3   background are complex and extensive. The agency is likely to have a thorough understanding of
                                      4   its own regulation and its objectives and is “uniquely qualified” to comprehend the likely impact of
                                      5   state requirement.”).
                                      6          C.      Mr. Banko Has Alleged Enough Facts To State A Claim For Violation Of the
                                                         DFA.
                                      7

                                      8          As demonstrated above, the majority of other courts considering the issue have held that,

                                      9   once analyzed and the ambiguity properly addressed, the only reasonable conclusion is that Dodd-

                                     10   Frank was designed to protect whistleblowers that disclose wrongdoing to others than the SEC.

                                     11   Accordingly, Apple’s argument that Mr. Banko cannot avail himself of the protection of the DFA’s

                                     12   whistleblower provision, because he is allegedly not a whistleblower under the DFA, should be
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                                     13   dismissed. As evidenced by sound reasoning, numerous court holdings and the SEC, the DFA was
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                                     14   intended to allow Mr. Banko’s claims and claims like it.
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                                     15          Apple’s next argument relies on a misinterpretation of the legislative history of the DFA.
                                     16   Apple argues that Congress intentionally chose the more restrictive term of “whistleblower” when
                                     17   drafting the DFA’s anti-retaliation provision. Congress’ debate on the term “whistleblower” was
                                     18   limited to whether the term could encompass non-individuals. Indeed, the SEC considered that
                                     19   same issue when it issued its rules related to the DFA. (Ex. 7); Securities and Exchange
                                     20   Commission, Securities Whistleblower Incentives and Protections, 76 Fed. Reg. 34300-01, at
                                     21   34303 (2011) (“We have decided not to extend the definition of whistleblower beyond natural
                                     22   persons because we believe that this is consistent with the statutory definition, which provides that
                                     23   a whistleblower must be an “individual.” The ordinary meaning of “individual” is “natural
                                     24   person,” and nothing in the statutory text or legislative history suggests a different meaning here.”).
                                     25          Finally, Apple argues that Mr. Banko’s attempt to expand the definition of “whistleblower”
                                     26   would impermissibly render the statute superfluous. However, it is Apple’s preferred reading of
                                     27   the definition of the term “whistleblower” that would effectively invalidate § 78u-6(h)(1)(A)(iii)’s
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                                           CASE NO: CV 13-02977 RS                                          PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                            Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 21 of 32



                                      1   protection of whistleblower disclosures that do not require reporting to the SEC. Murray, 2013
                                      2   U.S. Dist. LEXIS 71945, at *16; Egan, 2011 U.S. Dist. LEXIS 47713, at *4. Moreover, the DFA
                                      3   appeared to have been intended to expand upon the protections of SOX, and thus the claimed
                                      4   problem is no problem at all. Kramer, 2012 U.S. Dist. LEXIS 136939, at *12.
                                      5                   1.      Because Mr. Banko’s SOX Allegations Fall Squarely Within the DFA
                                                                  Whistleblower Protection Provision, His Claims Are Timely.
                                      6
                                                 Apple argues that the court lacks jurisdiction over Banko’s SOX allegation because Mr.
                                      7
                                          Banko did not file a claim with the United States Secretary of Labor within 180 days of his
                                      8
                                          termination. As an initial matter, Mr. Banko was not required to file a complaint with the United
                                      9
                                          States Secretary of Labor since the DFA specifically provides a right to a private cause of action.
                                     10
                                          §78u-6 (h)(B)(i); also see e.g. Murray, 2013 U.S. Dist. LEXIS 71945 (S.D. NY May 21, 2013);
                                     11
                                          Kramer, 2012 U.S. Dist. LEXIS 136939 (Dist. Conn. September 25, 2012). Further, under the
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                                          DFA, the statute of limitations is either 6 years from the date on which the violation occurred or no
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                                          more than 3 years after the date when facts material to the right of action are known or reasonably
                                     14
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                                          should have been known. U.S.C. § 78u-6 (h)(B)(iii). Thus, Apple’s statute of limitation and failure
                                     15
                                          to exhaust administrative remedies argument is nothing more than a red herring.
                                     16
                                                          2.      Mr. Banko’s Communications Are Protected Under SOX and Therefore
                                     17                           the DFA.

                                     18          The regulations implementing § 806 4, as well as the decisions of numerous circuit courts,
                                     19   establish the elements of a prima facie claim for violations of 18 U.S.C. § 1514A. 5 A claimant
                                     20   must show: (1) he engaged in protected activity or conduct; (2) the employer knew of his protected
                                     21   activity; (3) he suffered an unfavorable personnel action; and (4) his protected activity was a
                                     22   contributing factor in the unfavorable personnel action. (Ex. 8) Lockheed Martin Corp. v.
                                     23   Administrative Review Board, No. 11-9524 (Petition for Review of an Order From the U.S. Dept.
                                     24   of Labor (1:10-050)) 10th Cir. June 4, 2013). Moreover, “the proper interpretation of § 1514A(a)
                                     25   gives each phrase distinct meaning and holds a claimant who reports violations of 18 U.S.C. §§
                                     26

                                     27          4
                                                     All references to § 806 refer to § 806 of 18 U.S.C. § 1514A.
                                                 5
                                                     All references to 18 U.S.C. § 1514A will be referred to as SOX unless otherwise stated.
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                                           CASE NO: CV 13-02977 RS                                         PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                            Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 22 of 32



                                      1   1341, 1343, 1344, or 1348 need not establish such violations relate to fraud against shareholders to
                                      2   be protected from retaliation under the Act. Id. at 15.
                                      3
                                                 Mr. Banko has pled sufficient facts to put Apple on notice. Mr. Banko pled that he engaged
                                      4
                                          in activity protected under § 806 when he informed Apple’s officers and/or management of
                                      5
                                          conduct which he reasonably believed to be in violation of federal law relating to fraud against
                                      6
                                          shareholders, namely the embezzlement by employee Roe. (Dkt. No. 1, ¶ 53). Mr. Banko has
                                      7
                                          pled that Apple knew of the protected activity. (Dkt. No. 1, ¶ 54-55). And that Apple terminated
                                      8
                                          Mr. Banko because of the protected activity. (Dkt. No. 1, ¶ 57).
                                      9
                                                 “[P]laintiffs who bring claims under § 806 are not required to demonstrate that defendants
                                     10
                                          actually violated one or more of the federal laws and regulations enumerated in the statute.
                                     11
                                          [citation omitted]. Instead, courts assess the objective reasonableness of a whistleblower’s belief
                                     12
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                                          by determining whether “a reasonable person in [their] position would have believed” the same.”
                                     13
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                                          Ashmore v. CGI Group, Inc., 11 Civ. 8611(LBS), 2012 U.S. Dist. LEXIS 82598, at *16-17 (S.D.
                                     14
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                                          NY June 12, 2012); also see Murray, 2013 U.S. Dist. LEXIS 71945, at *6-7 (S.D. NY May 21,
                                     15
                                          2013) (“And here, Plaintiff alleges that Defendants fired him in retaliation for doing just that – that
                                     16
                                          is, for complaining to his supervisors that he was being pressured to produce false and misleading
                                     17
                                          research reports about UBS’s securities products in violation of the SEC rules or regulations.”).
                                     18

                                     19          Apple’s cites to various cases in an unsuccessful attempt to support its position. For

                                     20   example, in Van Asdale v. Int’l Game Tech, 577 F.3d 989, 996-97 (9th Cir.), the Court was

                                     21   reviewing the district court’s grant of motion for summary judgment of the plaintiffs’ SOX claim.

                                     22   There the plaintiffs had two basis for its SOX claim: fraud on the patent and trademark office and

                                     23   fraud on shareholders. The court considered testimony provided at a deposition and an affidavit

                                     24   and based on the information provided by the plaintiffs held that “taking the facts in the light most

                                     25   favorable to the plaintiffs, their meeting with [in-house counsel] involved disclosures “definitively

                                     26   and specifically” related to shareholder fraud despite defendant’s position that the only potential

                                     27   fraud that was discussed was fraud on the PTO. That was still enough for the court as it raised a

                                     28   genuine issue of material fact. Van Asdale, 577 F.3d at 1000. The court went on to state that
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                                           CASE NO: CV 13-02977 RS                                           PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                             Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 23 of 32



                                      1   “stark factual dispute must be decided by a fact finder and cannot be resolved on summary
                                      2   judgment. . . the district court disregarded the portion of [plaintiff’s] declaration in which he said
                                      3   that he raised concerns of shareholder fraud with [defendant], because the district court viewed this
                                      4   portion of the declaration as contradicting [plaintiff’s] deposition testimony.” Id. at 998. Indeed,
                                      5   the court reasoned that “[t]he legislative history of Sarbanes-Oxley makes it clear that its
                                      6   protections were “intended to include all good faith and reasonable reporting fraud, and [that] there
                                      7   should be no presumption that reporting is otherwise, absent specific evidence.”” Id. at 1002 citing
                                      8   148 Cong. Rec. 57418-01, 57420 (daily Ed. July 26, 2002). Likewise, Mr. Banko’s SOX
                                      9   allegation is in good faith and should not be dismissed because even if this case was at the motion
                                     10   for summary judgment stage (which it is not), Mr. Banko’s SOX claim would still survive under
                                     11   the Van Asdale analysis.
                                     12
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                                                 Apple then argues that Day v. Staples Inc., 555 F.3d 42, 55 (1st Cir. 2009) is on point. In
                                     13
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                                          Day, the plaintiff’s SOX claim failed because the court found that a disagreement with
                                     14
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                                          management about internal tracking systems which did not have to be reported to shareholders is
                                     15
                                          not actionable. Day, 555 F.3d at 56. The court found that plaintiff’s belief was objectively
                                     16
                                          unreasonable because he made no showing that any inaccuracy was material to shareholders. Id. at
                                     17
                                          57. The court went on to state that “[a] company’s explanations given to the employee for the
                                     18
                                          challenged practices are also relevant to the objective reasonableness of an employee’s belief in
                                     19
                                          shareholder fraud. Id. at 58. The defendant in Day had explained to plaintiff the rationales for the
                                     20
                                          returns process, and assured Plaintiff that no fraud was being committed. Id. The facts in Day are
                                     21
                                          in stark contrast to the case at bar where Banko’s supervisors gave no explanation to Banko for the
                                     22
                                          complacency in Employee Roe’s embezzlement.
                                     23

                                     24          Finally, Apple’s reliance on In Riddle v. First Tennessee Bank, No. 11-6277, 497 Fed.

                                     25   Appx. 588 (6th Cir. 2012) 6 is unavailing. The plaintiff in that case brought a SOX claim through a

                                     26
                                                 6
                                                     The Sixth Circuit has not recommended this case for publication and has limited citation
                                     27   to this case to only specific situations. Moreover, Apple did not provide a copy of this case to the
                                          court as required.
                                     28
                                                                                             16
                                           CASE NO: CV 13-02977 RS                                           PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                             Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 24 of 32



                                      1   violation of the Bank Bribery Act. The court found that at its core, the Bank Bribery Act is not a
                                      2   fraud against shareholders and that the plaintiff was unable to show that defendant intended to
                                      3   defraud shareholders. In Riddle, 497 Fed. Appx. 588, 595. In contrast, Mr. Banko has pled that
                                      4   Employee Roe embezzled funds and the conduct violated federal law relating to shareholders.
                                      5   (Dkt. No. 1, ¶ 53). Embezzlement is the type of conduct contemplated by SOX and thus In Riddle
                                      6   is inapposite. Moreover, Apple’s bombastic assertion that a single employee’s embezzlement is
                                      7   not enough to be material to Apple’s overall financial records is nothing short of an affront to the
                                      8   spirit behind the whistleblower protection provisions.
                                      9
                                                 Nevertheless, Apple’s citations to the cases above fail to carry its arguments at the end of
                                     10
                                          the day. The cases offer no support factually as discussed. But equally important is that the cases
                                     11
                                          are all at the motion for summary judgment stage. Thus, Apple’s “argument, in other words,
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650-684-1181 Main 650-684-1181 Fax




                                          would require a weighing of the facts to an extent appropriate only at a later procedural posture
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                                          juncture, such as summary judgment or trial.” Kuang-Bao Ou-Young v. Potter, No. C 10-0464RS,
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                                          2011 U.S. Dist. LEXIS 22, at *15 (N.D. Cal. January 3, 2011) (Seeborg, J). Mr. Banko has pled
                                     15
                                          sufficient facts to state a claim for relief and thus respectfully request Apple’s motion to dismiss
                                     16
                                          Mr. Banko’s first cause of action be denied.
                                     17
                                                 D.      Public Policy Supports Allowing Mr. Banko’s DFA Claim.
                                     18
                                                 The DFA’s recent enactment coupled with the few decisions on the specific issue at bar
                                     19
                                          provide very little guidance on what is expected of plaintiffs. Mr. Banko considered all options
                                     20
                                          and only sought the court’s justice because of what he reasonably believed to be mandated by the
                                     21
                                          DFA. A dismissal of Mr. Banko’s DFA claim will run counter to the DFA’s public policy of
                                     22
                                          encouraging whistleblowers to come forward since the dismissal will prevent Mr. Banko from
                                     23
                                          seeking a remedy in any other forum. Further, Mr. Banko did not sit on his rights. This action
                                     24
                                          was filed expeditiously. Finally, there is no prejudice to Apple if this court considered this case.
                                     25
                                                 Thus, Mr. Banko respectfully requests that it provide him the opportunity to seek its
                                     26
                                          remedies in this forum since policy considerations provide that litigants should have their day in
                                     27
                                          court. General Atomic Co. v. Exxon Nuclear Co., 90 F.R.D. 290, 307 (S.D. Cal. 1981)
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                                                                                            17
                                           CASE NO: CV 13-02977 RS                                           PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                             Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 25 of 32



                                      1   (“Dismissals . . . run counter to the strong public policy of deciding cases on their merits and

                                      2   affording litigants their fair day in court.”).

                                      3           However, should the court find that Mr. Banko’s complaint, or any cause of action, be
                                      4   dismissed, Mr. Banko request an opportunity to amend his complaint.
                                      5           E.      Mr. Banko Has Met the Federal Pleading Requirement To State A Claim For
                                                          Wrongful Termination In Violation of Public Policy
                                      6

                                      7           The complaint in this action speaks to embezzlement and to violations of SOX and the

                                      8   DFA. Since Mr. Banko’s termination is inextricably linked to the violations of these laws, he has

                                      9   met, at the very least for pleading purposes, the elements of alleging a violation of law to support

                                     10   his wrongful termination claim.

                                     11           Moreover, even if he had not plead violation of specific laws (which he did), California
                                     12   courts have considered the issue whether a plaintiff must point to a specific statute to state a claim
650-684-1181 Main 650-684-1181 Fax




                                     13   for wrongful termination in violation of public policy and have answered in the negative. Vargas v.
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                                          BP America, Inc., No. Civ. S-10-3130(LKK/GGH), 2011 U.S. LEXIS 107762, at *14 (E.D. Cal.
                                     15   Sept. 21, 2011) (“this court already held in this case that Plaintiff need not plead specific statute or
                                     16   regulation that was thwarted by his termination.”).
                                     17
                                                  In Vargas, the defendant, like Apple, took the position that plaintiff had not pled sufficient
                                     18
                                          facts to state a claim for wrongful termination in violation of public policy citing to Turner v.
                                     19
                                          Anheuser-Busch, Inc., 7 Cal.4th 1238 (1994), as Apple does in this instant case. But the court in
                                     20
                                          Vargas was not swayed:
                                     21           Defendant’s continued reference to Turner v. Anheuser-Busch, Inc. 7 Cal.4th 1238
                                     22           (1994), is inapposite. There, the California Supreme Court held that the Plaintiff
                                                  could not survive summary judgment because he did not state the specific statutory
                                     23           provisions delineating a public policy. Plaintiff’s “vague charge of ‘Alcohol,
                                                  Tobacco, and Firearms Law’s violations,” the Court held, was “plainly insufficient
                                     24           to create an issue of material fact justifying a trial.” Id. at 1257. The Court’s
                                                  holding on this substantive point of law does not alter the federal pleading
                                     25
                                                  requirements, which apply in this case. See, e.g. Tribble v. Raytheon Co., 414
                                     26           Fed. Appx. 98, 2011 U.S. App. LEXIS 2895 (9th Cir. 2011). Accordingly, the court
                                                  concludes once again that notice pleading does not require Plaintiff to state in his
                                     27           complaint the statutory or regulatory basis of the claimed violation of public policy
                                                  in order to survive a 12(b)(6) motion to dismiss.
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                                           CASE NO: CV 13-02977 RS                                           PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                             Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 26 of 32



                                      1   Vargas, 2011 U.S. LEXIS 107762, at *12-17 (E.D. Cal. Sept. 21, 2011) (Emphasis added).
                                      2   Indeed, other courts have reasoned that a valid claim for wrongful termination is pled despite
                                      3   defendants citation to “authority equating the wrongful termination claim with the underlying
                                      4   statutory causes of action […] other cases with similar facts to the instant case have looked to the
                                      5   public policy evinced by the purpose of various statutes as opposed to a mechanical application of
                                      6   the statutory causes of action on an element-by-element basis.” Weingand v. Harland Fin.
                                      7   Solutions, Inc., 2012 U.S. Dist. LEXIS 114651, at *21-22 (N.D. Cal. August 14, 2012).
                                      8
                                             Further, Apple’s citation to Green v. Ralee Engineering Co., 19 Cal. 4th 83 (1988) is contrary
                                      9
                                          to its position and favors Mr. Banko’s wrongful termination claim. The Green court reversed the
                                     10
                                          grant of summary judgment holding that the plaintiff could assert a Tameny claim based on
                                     11
                                          administrative regulations because those regulations were tethered to a statutory provision and
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650-684-1181 Main 650-684-1181 Fax




                                          implicated a fundamental public policy of airline safety. The court reasoned , “[t]he critical
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                                          distinction between the facts here and those at issue in Foley, [citation omitted], is that there the
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                                          violations of internal practices affected only the employer's interest, while here defendant's alleged
                                     15
                                          misconduct potentially jeopardized airline passenger safety. Protecting airline passengers,
                                     16
                                          therefore, is the relevant fundamental public policy at issue. Promoting airline safety--the subject
                                     17
                                          of the federal regulations--constitutes a policy of sufficient public importance. . . Thus, the public
                                     18
                                          policy that is the foundation for plaintiff's case not only satisfies Foley's requirement for a "public"
                                     19
                                          interest, but also Tameny's requirement for a "fundamental" policy interest.” Green, 19 Cal. 4th
                                     20
                                          83, 85 (1988). The court further held that the plaintiff need not plead a specific statute because the
                                     21
                                          statutes were identified at the summary judgment stage:
                                     22          The court considered defendant's claim that plaintiff failed to produce the
                                     23          appropriate statutes or regulations to support his action at the summary judgment
                                                 stage, but concluded that plaintiff had adequately identified several relevant FAA
                                     24          regulations as part of his opposition to summary judgment. Thus, the Court of
                                                 Appeal properly held that plaintiff had met his burden to provide the specific
                                     25          statutes and regulations on which he based his claim.
                                     26   Green, 19 Cal. 4th at 84.

                                     27          Similarly, Mr. Banko has pled enough facts to show that he was wrongfully terminated in

                                     28   violation of public policy. He was encouraged not to report the embezzlement of Employee Roe
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                                           CASE NO: CV 13-02977 RS                                           PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                             Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 27 of 32



                                      1   and when he did, he was terminated. Mr. Banko has pled facts showing that the embezzlement of a
                                      2   publically traded corporation’s funds harms the public because it impacts its shareholders. Indeed,
                                      3   embezzlement has been recognized as harm against the public and as such has been codified in
                                      4   state and federal statutes. Apple’s argument, thus fails since there is no requirement that Mr.
                                      5   Banko plead a specific statute to support his wrongful termination claim.
                                      6          F.      Mr. Banko Has Pled Enough Facts to State A Claim For Retaliation
                                      7           “Fundamental public policy prohibits the retaliatory discharge of employees for whistle
                                      8   blowing in the public interest.” McVeigh v. Recology San Francisco, 213 Cal. App. 4th 443, 472
                                      9   (App. Ct. 2013). And as discussed above, Mr. Banko has pled sufficient facts to show that he
                                     10   engaged in protected activity under the DFA’s whistleblower protection provision and that Apple
                                     11   retaliated against him ultimately terminating his employment.
                                     12          Mr. Banko’s retaliation claim is also based on California’s Labor Code § 1102.5. “This
650-684-1181 Main 650-684-1181 Fax




                                     13   provision reflects the broad public policy interest in encouraging workplace whistle-blowers to
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                                     14   report unlawful acts without fearing retaliation.” McVeigh, 213Cal. App. 4th at 468. Apple argues
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                                     15   that Mr. Banko’s claim under § 1102.5 fails because Mr. Banko (1) did not plead that he
                                     16   complained to a government or law enforcement agency about any state or federal violation; (2)
                                     17   instead reported the alleged violations to his employer; and (3) did not cite to a specific statute.
                                     18   Apple’s arguments have no merit.
                                     19          As to Apple’s first argument, California’s Labor Code § 98.7 addresses the complaint
                                     20   process for an employee who alleges he has been the subject of a California Labor Code violation,
                                     21   including § 1102.5. Dowell v. Contra Costa County, Case No. 3:12-cv-05743-JCS, 2013 U.S. Dist.
                                     22   LEXIS 28526, at *31 (N.D. Cal. March 1, 2013). Courts have held that plaintiffs need not file a
                                     23   complaint with a government or law enforcement agency under § 1102.5 because the language in §
                                     24   98.7 of the Labor Code is permissive rather than mandatory. Dowell, 2013 U.S. Dist. LEXIS
                                     25   28526, at *35; also see Turner v. City & County of San Francisco, 892 F. Supp. 2d 1188, 1201
                                     26   (N.D. Cal. Aug. 29, 2012) (Court is unaware of any California state court decision that has required
                                     27   exhaustion under § 98.7); Creighton v. City of Livingston, No. 08-1507, 2009 U.S. Dist. LEXIS
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                                                                                             20
                                           CASE NO: CV 13-02977 RS                                           PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                            Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 28 of 32



                                      1   93720, at *31 (E.D. Cal. Oct. 7, 2009) (“No California decision requires as a prerequisite to suit for
                                      2   statutory violation of the Labor Code exhaustion of administrative remedies before the Labor
                                      3   Commissioner.”).
                                      4          Next Apple argues that Mr. Banko has failed to meet the requisite elements of §1102.5
                                      5   because he reported the alleged violations to his employer and not a government or law
                                      6   enforcement agency. California courts have held that public policy mandates that §1102.5 be
                                      7   construed to cover reports to supervisors as well. Collier v. Superior Court, 228 Cal. App. 3d 1117
                                      8   (Cal. App. 2d Dist. 1991). In Collier, the court held that an employee terminated in retaliation for
                                      9   reporting to his or her employer the reasonably suspected illegal conduct by other employees that
                                     10   harms the public, as well as the employer, has a cause of action for wrongful discharge. Collier,
                                     11   228 Cal. App. 3d at 1122-1123 ("If public policy were strictly circumscribed by this statute to
                                     12   provide protection from retaliation only where employees report their reasonable suspicions
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                                     13   directly to a public agency, a very practical interest in self-preservation could deter employees
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                                     14   from taking any action regarding reasonably founded suspicions of criminal conduct by
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                                     15   coworkers.") This decision has been followed in other employment contexts. For example, in
                                     16   Holmes v. General Dynamics Corp., 17 Cal. App. 4th 1418 (Cal. App. 4th Dist. 1993), the
                                     17   plaintiff, like Mr. Banko, had been an outstanding employee for his 13 years with the company.
                                     18   And, also like Mr. Banko the employer suddenly terminated Plaintiff after he reported illegal
                                     19   activities to management. Holmes, 17 Cal. App. 4th at 1435.
                                     20          In contrast, Apple cites to Green v. Raleigh Engineering Co., 19 Cal. App. 4th 66 (1998)
                                     21   for the proposition that § 1102.5 does not protect plaintiffs who report suspicions of illegal activity
                                     22   directly to their employer. But in Green the court held in favor of plaintiff after he reported the
                                     23   statutory violations to his employer. Indeed, the court noted that §1102.5 shows “the Legislature’s
                                     24   interest in encouraging employees to report workplace activity that may violate important public
                                     25   policies.” Green, 19 Cal. App. 4th at 77 (1998). And in holding in favor of the plaintiff, the court
                                     26   reasoned that “[b]y informing defendant that he believed it was shipping defective parts for use in
                                     27   passenger aircraft, plaintiff gave defendant adequate notice that his concern involved potentially
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                                           CASE NO: CV 13-02977 RS                                          PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                             Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 29 of 32



                                      1   significant public policy matters because the FAA requires manufacturers to establish quality
                                      2   control procedures for the component parts they produce. Green, 19 Cal. App. 4th at 85 (1998).
                                      3   The court further reasoned that, “unlike some cases in which an employer’s violations of its own
                                      4   internal procedures does not implicate public policy [citation omitted], the internal quality control
                                      5   procedures at issue in this case are part of a statutory and regulatory scheme established by
                                      6   Congress and the FAA, designed to ensure the manufacture of safe aircraft.” Id. Similarly to the
                                      7   plaintiff in Green, Mr. Banko reported to his employer violations of both internal policies as well
                                      8   as violations of public policies reflected in federal and statutory laws.
                                      9          Lastly, Apple argues that Mr. Banko failed to cite to a specific statute in his complaint. As
                                     10   an initial matter, Mr. Banko has pled that Employee Roe had embezzled funds and that Apple’s
                                     11   violations were brought pursuant to “15 USC §78u-6, 18 USC §1514A and California Labor Code
                                     12   §1102.5. Mr. Banko clearly pled the specific federal statutes violated by Apple. (Dkt. No. 1, ¶
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                                     13   71).
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                                     14          Apple also argues that Edgerly v. City of Oakland, 211 Cal.App. 4th 1191 (2012) is
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                                     15   analogous to Mr. Banko’s § 1102.5 claim but Edgerly is clearly distinguishable. The issue in
                                     16   Edgerly was whether § 1102.5 applies to local laws. Edgerly, 211 Cal.App. 4th at 1194. The
                                     17   plaintiff in that case was a former city administrator of the City of Oakland. She sued the city
                                     18   alleging that then Mayor Ron Dellums wrongfully terminated her in retaliation for her refusal to
                                     19   violate the City’s charter, municipal code and civil service rules and resolutions. Id. The court
                                     20   held that the violations of local laws are not deemed violations of state law for purposes of §
                                     21   1102.5. Id. In contrast, Mr. Banko has alleged violations of federal and state laws which is clearly
                                     22   within the purview of § 1102.5.
                                     23      Mr. Banko has sufficiently pled facts to support his cause of action for retaliation and thus
                                     24   Apple’s motion to dismiss should be denied.
                                     25          G.      Mr. Banko Has Sufficiently Pled A Claim For Breach of Contract
                                     26          Mr. Banko pled that Apple had made representations that it would not terminate Mr.
                                     27   Banko’s employment without good cause so long as his performance was satisfactory and that he
                                     28
                                                                                             22
                                           CASE NO: CV 13-02977 RS                                           PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                             Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 30 of 32



                                      1   would have an opportunity to participate in a performance improvement plan. (Dkt. No. 1, ¶ 83-
                                      2   84). Apple violated the contract when without good cause and without notice or opportunity to
                                      3   participate in an improvement plan, it terminated Mr. Banko’s employment. (Dkt. No. 1, ¶86).
                                      4          Apple argues that Guz v. Bechtel National, Inc., 24 Cal. 4th 317 (2000) is controlling.
                                      5   However, the Guz court was considering a wrongful discharge on an employer’s motion for
                                      6   summary judgment; thus the heightened showing referenced by Apple – “substantial evidence” is
                                      7   not the same as the pleading standard. Guz, 24 Cal. 4th at 3325 (“This case presents questions
                                      8   about the law governing claims of wrongful discharge from employment as it applies to an
                                      9   employer’s motion for summary judgment.”).
                                     10           Nevertheless, the Guz case is inapposite because the court there did discuss that under
                                     11   certain circumstances (similar to the case at bar), in an implied contract can arise. The court stated
                                     12   that, “long and successful service is not necessarily irrelevant to the existence of such a contract.
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                                     13   Over the period of an employee’s tenure, the employer can certainly communicate, by its written
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                                     14   and unwritten policies and practices, or by informal assurances, that seniority and longevity do
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                                     15   create rights against termination at will. The issue is whether the employer’s words or conduct, on
                                     16   which an employee reasonably relied, gave rise to that specific understanding.” Guz, 24 Cal. 4th at
                                     17   342. Mr. Banko reasonably relied that he would not be terminated without good cause. He had
                                     18   been employed with Apple for over 12 years, was involved in many of Apple’s commercially
                                     19   successful products, was a supervisor over several engineers, and always received great
                                     20   performance reviews; yet without explanation Mr. Banko was terminated.
                                     21          Nonetheless, Apple argues that the assurances given to Mr. Banko was not enough to alter
                                     22   the at-will employment nature and cites to various inapplicable cases for support. First, Burt v.
                                     23   Irvine, 237 Cal. App. 2d 828, 849 (1965) is inapplicable because Apple’s citation is in reference to
                                     24   the standard for pleading fraud. Burt v. Irvine, 237 Cal. App. 2d 828, 849 (1965) citing Faulkner v.
                                     25   California Toll Bridge Authority, 40 Cal. 2d 317, 329 (1953) (“In a case of this kind, general
                                     26   charges of fraud, conspiracy and bad faith on the part of corporate directors are insufficient in the
                                     27

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                                           CASE NO: CV 13-02977 RS                                           PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                            Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 31 of 32



                                      1   absence of allegations of specific facts adequate to show the basis for the general charges.”). 7
                                      2   Next, the court in Allen v. City of Beverly Hills considered allegations with respect to deprivation
                                      3   of plaintiff’s property without due process of law when the City terminated plaintiff’s civil service
                                      4   employment. The plaintiff based his claim on constitutional grounds. Thus, the court reasoned
                                      5   that “where “the only substantive restriction imposed upon the [decisionmaker’s] exercise of
                                      6   authority is the requirement that the basis for its decision be reasonable[,]” any claim to a protected
                                      7   property interest created by the state is negated.” Allen v. Beverly Hills, 911 F. 2d 367, 371 (9th
                                      8   Cir. 1990). The plaintiff had failed to allege in his complaint any source of a constitutionally
                                      9   protected right in continued employment, and since the existence of a property right is essential to
                                     10   that claim, his action was dismissed. Allen, 911 F. 2d at 373. Thus, these cases factually are
                                     11   distinguishable because none of the case law Apple cites to speak to pleading a cause of action for
                                     12   breach of an employment contract.
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                                     13          Indeed, Apple’s arguments muddle the federal notice pleading standard with the evidentiary
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                                     14   standard in motions for summary judgment. As courts have noted:
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                                     15
                                                 A court may dismiss a complaint only if it is clear that no relief could be granted
                                     16          under any set of facts that could be proved consistent with the allegations. [citations
                                                 omitted] Discovery and summary judgment motions – not motions to dismiss –
                                     17          “define disputed facts” and “dispose of unmeritorious claims. [citations omitted].
                                                 The issue is not whether a plaintiff will ultimately prevail but whether the claimant
                                     18          is entitled to offer evidence to support the claims. Indeed it may appear on the face
                                                 of the pleadings that a recovery is very remote and unlikely but that is not the test.
                                     19
                                                 [citations omitted].
                                     20   Martinez v. California, No. CV-F-07-996 AWI DLB, 2008 U.S. Dist. LEXIS 81523, *4-5 (E.D.
                                     21   Cal. October 4, 2008).
                                     22          Thus, Mr. Banko has pled enough facts to state a cause of action for breach of the
                                     23   employment contract and Apple’s motion to dismiss this cause of action should be denied.
                                     24

                                     25

                                     26          7
                                                    In addition, the language highlighted by Apple are words that describe the nature of the
                                          actions taken by the employer (e.g., “arbitrary”). In contrast, even Apple’s statements demonstrate
                                     27   that the complaint alleges facts that show what acts were taken by the employer (Motion at p.
                                          19:13-15).
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                                           CASE NO: CV 13-02977 RS                                          PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
                                            Case 3:13-cv-02977-VC Document 18 Filed 08/26/13 Page 32 of 32



                                      1          H.      Mr. Banko Has Properly Pled Breach Of The Covenant Of Good Faith And
                                                         Fair Dealing
                                      2
                                                 As Apple acknowledges the court in Guz did recognize that a plaintiff may assert a cause of
                                      3
                                          action for breach of the covenant of good faith and fair dealing. The court stated that it did not
                                      4
                                          “suggest the covenant of good faith and fair dealing has no function whatever in the interpretation
                                      5
                                          and enforcement of employment contracts. As indicated above, the covenant prevents a party from
                                      6
                                          acting in bad faith to frustrate the contract’s actual benefits. Thus, for example, the covenant might
                                      7
                                          be violated if termination of an at-will employee was a mere pretext to cheat the worker out of
                                      8
                                          another contract benefit to which the employee was clearly entitled, such as compensation already
                                      9
                                          earned.” Guz, 24 Cal. 4th at 353 n. 18.
                                     10
                                                 In his complaint, Mr. Banko pleads that he was unable to receive the benefits of his
                                     11
                                          employment relationship that flowed from the contract with Apple. (Dkt. No., ¶95). Further,
                                     12
650-684-1181 Main 650-684-1181 Fax




                                          Apple’s motives were retaliatory in nature and extraneous to the employment relationship and were
                                     13
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                                          intended to deprive Mr. Banko of the benefits thereof. (Dkt. No., ¶95). Thus, Mr. Banko has pled
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                                     14
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                                          enough facts to support its cause of action for breach of the covenant of good faith and fair dealing.
                                     15
                                          IV.    CONCLUSION
                                     16
                                                 Mr. Banko has pled enough facts to state a claim for violation of the Dodd-Frank Act,
                                     17
                                          wrongful termination in violation of public policy, retaliation, breach of employment contract, and
                                     18
                                          breach of implied covenant of good faith and fair dealing. Thus, for all the foregoing reasons, Mr.
                                     19
                                          Banko respectfully request Apple’s motion to dismiss be denied in its entirety.
                                     20

                                     21

                                     22
                                          DATED: August 26, 2013                                 MICLEAN GLEASON LLP
                                     23

                                     24                                                 By __ _______________________
                                                                                              David J. Miclean
                                     25                                                       Gary R. Gleason
                                                                                              Attorneys for Plaintiff Joshua Banko
                                     26

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                                           CASE NO: CV 13-02977 RS                                          PLTF’S BRIEF IN OPP TO MOTION TO DISMISS
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         Banko v Apple (2013), Apple’s Reply for Apple’s 1st Motion to Dismiss
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     PLAINTIFF’S CONDITIONAL NON-OPPPSOTION TO DEFFENDANT’S      APRIL 23 2024
     REQUEST FOR JUDICIAL NOTICE | 3:23-CV-04597-EMC
                                   Case 3:13-cv-02977-VC Document 22 Filed 09/09/13 Page 1 of 21


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                      7
                       8                                     UNITED STATES DISTRICT COURT
                      9                                    NORTHERN DISTRICT OF CALIFORNIA
                    10                                           SAN FRANCISCO DIVISION
                    11
                    12       JOSHUA BANKO,                                      Case No. CV13-02977 RS
                    13                        Plaintiff,                        DEFENDANT APPLE INC.'S REPLY
                                                                                MEMORANDUM OF POINTS AND
                    14              v.                                          AUTHORITIES IN SUPPORT OF ITS
                                                                                MOTION TO DISMISS PLAINTIFF'S
                    15       APPLE INC., and DOES 1-50,                         COMPLAINT PURSUANT TO
                                                                                FED.R.CIV.P. 12(B)(1) AND 12(B)(6)
                    16                        Defendants.
                                                                                Date:      Thursday, September 26, 2013
                    17                                                          Time:      1:30 p.m.
                                                                                Judge:     Hon. Richard Seeborg
                    18                                                          Courtroom: 3 (17th Floor)
                    19                                                          Trial Date: Not Set
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LITTLER MENDaSON, P.C.
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       408.998.4150


                                                           DEFT'S REPLY TO PLTF'S OPP TO MOTION TO DISMISS
                                       Case 3:13-cv-02977-VC Document 22 Filed 09/09/13 Page 2 of 21


                         1                                        TABLE OF CONTENTS
                         2                                                                                                  PAGE
                         3      I.     INTRODUCTION                                                                             1

                         4      II.    LEGAL ARGUMENT                                                                           1
                         5             A.    Plaintiffs Opposition Fails To Present Any Legal Authority Or Viable
                                             Argument Rebutting The Undisputed Authority Apple Cited In Its Moving
                         6                   Papers Demonstrating He Has Not Alleged Facts Establishing His First Claim
                                             For Relief For An Alleged Violation Of The Dodd-Frank Act (15 U.S.C. §
                         7                   78u-6)                                                                             1

                         8                   1.     Dodd-Frank Is Unambiguous In Its Definition Of A Whistleblower              1

                         9                   2.     SEC Guidance Directly Contradicts The Statute's Plain Language And
                                                    Therefore Does Not Warrant Deference                                        3
                      10
                                             3.     Plaintiff Did Not Engage In Protected Activity Under SOX Because
                      11                            He Did Not Report Material Shareholder Fraud                                5

                      12               B.    Plaintiffs Opposition Fails To Establish He Has Alleged Sufficient Facts To
                                             State His Second Claim For Relief For Wrongful Termination In Violation Of
                      13                     A Fundamental Public Policy                                                        6

                      14               C.    Plaintiffs Opposition Fails To Establish He Has Alleged Sufficient Facts To
                                             State His Third Claim For Relief For Retaliation In Violation Of 15 U.S.C.
                      15                     Section 78u-6 And/Or California Labor Code Section 1102.5                          9

                      16                     1.     Plaintiff Has Not Alleged Facts Establishing Apple Engaged In Any
                                                    Unlawful Retaliation Under 15 U.S.C. Section 78u-6                          9
                      17
                                             2.     Plaintiff Has Not Alleged Facts Establishing Apple Unlawfully
                      18                            Terminated His Employment In Violation Of Labor Code Section
                                                    1102.5                                                                      9
                      19
                                       D.    Plaintiff Has Not Alleged Facts Establishing This Fourth Claim For Breach Of
                      20                     Contract                                                                          13

                      21               E.    Plaintiff Has Not Alleged Facts Establishing His Fifth Claim For Breach Of
                                             The Implied Covenant Of Good Faith And Fair Dealing                              14
                      22
                                III.   CONCLUSION                                                                              15
                      23
                      24
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                     26
                     27
                     28
LITTLER MENDELSON, P.C.
0 W. San Fernando, 15th Floor
 San Joss, CA 95113.2303                                                    i.                           Case No. CV13-02977 (RS)
       408.998.4150


                                                                       TABLE OF CONTENTS
                                     Case 3:13-cv-02977-VC Document 22 Filed 09/09/13 Page 3 of 21


                         1                                        TABLE OF AUTHORITIES
                         2                                                                                                PAGE
                         3     CASES
                        4      Abelleira v. District Court of Appeal,
                                  17Cal.2d280(1941)                                                                       10
                         5
                        6      Acosta v. As tor,
                                  120 Cal.App.4th 596 (2004)                                                              15
                        7
                               Amalgamated Transit Union Local 1309 v. Laidlaw Transit Servs., Inc.,
                        8        448 F.3d 1092 (9th Cir. 2006)                                                             4
                        9      Asadi v. G.E. Energy,
                                  2013 U.S. App. LEXIS 14470 (5th Cir. July 17, 2013)                                   3, 4
                      10
                               Bd. of Governors of Federal Reserve System, v. Dimension Fin. Corp.,
                      11
                                   474 U.S. 361(1986)                                                                      4
                      12
                               Bedroc Ltd. v. United States,
                      13          541 U.S. 176 (2004)                                                                     .1

                      14       Bionghi v. Metro Water Dist.,
                                  70 Cal.App.4th 1358 (1999)                                                             15
                      15
                               California v. Montrose Chemical Corp.,
                      16           104 F.3d 1507 (9th Cir. 1997)                                                           2
                      17
                               Campbell v. Regents of University of California,
                      18          35 Cal.4th 311(2005)                                                                   10

                      19       Chevron U.S.A., Inc. v. Natural Res. Def. Council, Inc.,
                                  467 U.S. 837(1984)                                                                       4
                      20
                               Collier v. Superior Court,
                      21          228Cal.App.3dlll7(1991)                                                                13
                     22        Conn. Nat 'I Bank v. Germain,
                     23           503 U.S. 249(1992)                                                                       2

                     24        Creighton v. City of Livingston,
                                  628 F. Supp. 2d 1199 (E.D. Cal. 2009)                                                  10
                     25
                               Dolis v. Bluem USA, Inc.
                     26           2011 U.S. Dist. LEXIS 110575 (N.D. Cal. 2011)                                           11
                     27        Drzewiecki v. H&R Block, Inc.,
                     28           24Cal.App.3d695(1972)                                                                  14
LITTLER MENDELSON, P.C.
0 W.San Fernando, 1591 Floor
 San Jose, CA 95113.2303                                                      11.                      Case No. CV13-02977 (RS)
       408.998.4150


                                                                        TABLE opftWrHORrriES
                                      Case 3:13-cv-02977-VC Document 22 Filed 09/09/13 Page 4 of 21


                          1                                        TABLE OF AUTHORITIES
                                                                         (CONTINUED)
                          2                                                                                    PAGE
                          3     Edgerly v. City of Oakland,
                                   211 Cal.App.4th 1191 (2012)                                               11, 12
                         4
                                Egan v. TradingScreen, Inc.,
                         5
                                   2011 U.S. Dist. LEXIS 47713 (S.D.N.Y. May 4, 2011)                           3
                         6
                                Ferretti v. Pfizer, Inc.
                         7         855 F.Supp.2d 1017 (N.D. Cal. 2012)                                          10

                         8      Foley v. Interactive Data Corp.,
                                   47 Cal.3d 654 (1988)                                                     6, 13
                         9
                                Gant v. Sentry Insurance,
                       10          1 Cal.4th 1083 (1992)                                                         7
                       11
                                Genberg v. Porter,
                       12          2013 U.S. Dist. LEXIS 41302 (Dist. Colo. Mar. 25,2013)                        3

                       13       Godfrey v. Union Pac. R.R. Co.,
                                   ARE Case No. 08-088, at 4 (July 30, 2009)                                    5
                       14
                                Green v. Ralee Engineering Co.,
                       15          19 Cal.4th 66 (1988)                                                   passim
                       16       Guzv. Bechtel National, Inc.,
                       17          24Cal.4th317                                                            13,15

                       18       Halvorsen v. Aramark Uniform Services, Inc.,
                                   65 Cal.App.4th 1383 (1998)                                                  14
                       19
                                Holmes v. General Dynamics Corp.,
                      20           17 Cal.App.4th 1418 (1993)                                                   13
                      21        Hunter v. Up-Right, Inc.,
                      22           6Cal.4thll74(1993)                                                          15

                      23        Jenning v. Marralle,
                                   8 Cal.4th 121 (1994)                                                         8
                      24
                                Jeske v. Maxim Healthcare Services, Inc.,
                      25            2012 U.S. Dist. LEXIS 2963 (E.D. Cal. 2012)                                  8
                      26        Livingston v. Wyeth, Inc.,
                                    520 F.3d 344 (4th Cir. 2008)                                                5
                      27
                      28
LITTLER MENDaSON, P.O.
0 W. San Fernando, 15tn Floor
 San Jose, CA 95113.2303                                                       m.            Case No. CV13-02977 (RS)
       408.998.4150


                                                                      TABLE OF AUTHORITIES
                                     Case 3:13-cv-02977-VC Document 22 Filed 09/09/13 Page 5 of 21


                         1                                          TABLE OF AUTHORITIES
                                                                         (CONTINUED)
                        2
                                                                                                                          PAGE
                         3     MacDonald v. State of California,
                                  2013 Cal. App. LEXIS 683 (3rd App. Dist, August 27, 2013)                               11
                        4
                               Microsoft Corp. v. C.I.R.,
                        5
                                  311 F.3d 1178 (9th Cir. 2002)                                                            4
                        6
                               Morelewicz v. Government Employees Insurance Company,
                        7         207 Fed. Appx. 823 (9th Cir. 2006)                                                       6

                        8      N.L.R.B. v. Hotel and Restaurant Employees and Bartenders' Union Local 531,
                                  623 F.2d 61 (9th Cir. 1980)                                                            13
                        9
                               Newfield v. Insurance Co. of the West,
                      10          156 Cal.App.3d 440 (1984)                                                              13
                      11
                               Nollner v. Southern Baptist Convention,
                      12           852 F. Supp. 2d 986 (Dist. Term. April 2, 2012)                                         3

                      13       Passantino v. Johnson & Johnson Consumer Prods.,
                                  212 F.3d 493 (9th Cir. 2000)                                                         9, 11
                      14
                               People v. Gilbert
                      15          lCal.3d 475,482 (1969)                                                                 13
                      16       Sanders v. Arneson Products, Inc.,
                      17          91 F.3d 1351 (9th Cir. 1996)                                                             8

                      18       Seattle-First Nat. Bank v. Conaway,
                                  98 F.3d 1195 (9th Cir. 1996)                                                             2
                      19
                               Soukup v. Law Office of Herbert Hafif,
                     20           39 Cal.4th 260 (2006)                                                                    9
                     21        Stevens v. Superior Court,
                     22            16Cal.4th880(1997)                                                                      6

                     23        Turner v. Anheuser-Busch, Inc.,
                                  7Cal.4thl238(1994)                                                                       6
                     24
                               United States v. Vogel Fertilizer Co.,
                     25           455 U.S. 16(1982)                                                                        4
                     26        Vargas v. BP America, Inc.,
                                  2011 U.S. Dist. LEXIS 107762 (E.D. Cal. 2011)                                         7, 8
                     27
                     28
LITTLER MENDELSON, P.O.
0 W.San Fernando, 15lh Floor
 San Jose, CA 95113.2303                                                      IV.                      Case No. CV13-02977 (RS)
       408.998.4150


                                                                        TABLE OF AUTHORITIES
                                     Case 3:13-cv-02977-VC Document 22 Filed 09/09/13 Page 6 of 21


                         1                                       TABLE OF AUTHORITIES
                                                                           (CONTINUED)
                         2
                                                                                                               PAGE
                         3     Vargas v. BP America, Inc.,
                                  2011 U.S. Dist. LEXIS 49193 (E.D. Cal. 2011)                                 14
                        4
                               Wagner v. Bank of America Corp.,
                         5
                                 2013 U.S. Dist. LEXIS 101297                                                 3, 4
                        6
                               Weingandv. HarlandFin. Solutions, Inc.,
                        7        2012 U.S. Dist. LEXIS 114651 (N.D. Cal. 2012)                                7, 8

                        8      Williams v. Housing Authority of Los Angeles,
                                   121 Cal.App.4th 708 (2004)                                                  10
                        9
                               STATUTES
                      10
                               15 U.S.C. § 78u-6(a)(6)                                                        2, 4
                      11
                      12       15U.S.C. § 78u-6(h)(l)(A)                                                        1

                      13       15 U.S.C. § 78u-6(h)(l)(A)(iii)                                                  3

                      14       15 U.S.C. § 78u-6(h)(l)(A), § 78u-6(a)(6)                                        2

                      15       Cal. Lab. Code § 98                                                       9,10,11

                      16       Cal. Lab. Code § 1102.5                                                     11, 12
                      17       OTHER AUTHORITIES
                      18       17 C.F.R. §240.21F-2                                                             4
                      19
                               7 (ARE Jan. 10, 2010)                                                            5
                     20
                               Fed.R.Civ.P. 8                                                                 6,8
                     21
                               S. Rep. No. 111-176                                                              2
                     22
                     23
                     24
                     25
                     26
                     27
                     28
LITTLER MENDELSON, P.C.
0 W.San Fernando, 15th Floor
 San Jose, CA 95113.2303                                                       v.            Case No. CV13-02977 (RS)
       408.998.4150


                                                                      TABLE OF AUTHORITIES
                                      Case 3:13-cv-02977-VC Document 22 Filed 09/09/13 Page 7 of 21


                         1      I.     INTRODUCTION
                         2                     Plaintiffs Opposition to Apple Inc.'s ("Apple") motion to dismiss fails to address or
                         3      respond to the undisputable authority that demonstrates he cannot establish the essential elements of
                         4      his five claims for relief as a matter of law. Rather, Plaintiff clings to the incorrect and legally

                         5      unsupported assertion that he may assert claims under Dodd-Frank, the Sarbanes-Oxley Act

                         6      ("SOX"), and the California Labor Code without first having reported his complaint to the Securities

                         7      and Exchange Commission or exhausting his administrative remedies, and as a result, all claims

                         8      brought under these statutory schemes fail as a matter of law. Similarly, Plaintiff has failed to

                         9      identify the public policy underlying his wrongful termination claim, and fails to overcome the

                      10        statutory presumption that his employment with Apple was "at-will." Moreover, because Plaintiff

                      11        has not identified how he could amend his pleading to correct the deficiencies, Apple's motion

                      12        should be granted without leave to amend in its entirety.

                      13        II.    LEGAL ARGUMENT
                      14               A.      Plaintiffs Opposition Fails To Present Any Legal Authority Or Viable
                                               Argument Rebutting The Undisputed Authority Apple Cited In Its Moving
                      15                       Papers Demonstrating He Has Not Alleged Facts Establishing His First Claim
                                               For Relief For An Alleged Violation Of The Dodd-Frank Act (15 U.S.C. § 78u-6).
                      16
                                               1.     Dodd-Frank Is Unambiguous In Its Definition Of A Whistleblower.
                      17
                      18                       To circumvent the procedural mechanisms Congress established under SOX, Plaintiff

                      19        contravenes "[t]he preeminent canon of statutory interpretation [that] requires us to 'presume that

                      20        [the] legislature says in a statute what it means and means in a statute what it says there.'" Bedroc

                      21        Ltd. v. United States, 541 U.S. 176, 183 (2004). The plain language of Dodd-Frank could not be

                      22        clearer: the anti-retaliation provision prohibits actions taken against "whistleblowers," 15 U.S.C. §

                      23        78u-6(h)(l)(A), and a "whistleblower" is defined as "any individual who provides, or 2 or more

                      24        individuals acting jointly who provide, information relating to a violation of the securities laws to

                      25        the Commission . . . ." Id. § 78u-6(a)(6) (emphasis added). While Plaintiff goes to great lengths to

                      26        characterize this clear language as ambiguous, the Court's analysis is quite simple. The Court need

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                                                            DEFT'S REPLY TO PLTF'S OPP TO MOTION TO DISMISS
                                        Case 3:13-cv-02977-VC Document 22 Filed 09/09/13 Page 8 of 21


                          1     not, as Plaintiff purports, analyze irrelevant sections of Dodd-Frank.1 Nor is it required to examine
                         2      the legislators' motives when they passed the law.2 Rather, the United States Supreme Court and the
                         3      Ninth Circuit have both consistently held that "if the language of a statute is clear and there is no
                         4      ambiguity, then there is no need to 'interpret' the language by resorting to the legislative history or
                         5      other extrinsic aids." California v. Montrose Chemical Corp., 104 F.3d 1507, 1513 (9th Cir. 1997);
                         6      Seattle-First Nat. Bank v. Conaway, 98 F.3d 1195, 1197 (9th Cir. 1996) ("[c]anons of statutory
                         7      construction dictate that if the language of a statute is clear, we look no further than that language in
                         8      determining the statute's meaning."); Conn. Nat'I Bank v. Germain, 503 U.S. 249, 254 (1992)
                         9      ("[w]hen the words of a statute are unambiguous, then, this first canon is also the last: 'judicial
                       10       inquiry is complete.'").
                       11                        Indeed, Plaintiff attempts to lead this Court into a legal quagmire.                        Asserting
                       12       Congress intended Dodd-Frank to expand whistleblower protections, Plaintiff cites to a single
                       13       sentence from a Senate Committee report stating whistleblower programs motivate people to "come
                       14       forward and assist the Government to identify and prosecute persons who have violated securities
                       15       laws." S. Rep. No. 111-176, at 72-73 (emphasis added). Assisting "the Government," however,
                       16       strongly supports the argument that Dodd-Frank requires whistleblowers to report securities fraud to
                       17       the Securities and Exchange Commission ("SEC"), and not, as Plaintiff has done here, to merely file
                       18       a private civil right of action. Yet the Court need not parse out these individual phrases within a
                       19       Congressional debate.           Instead, "the statutory language is normally the best evidence of
                      20        Congressional intent." California, 104 F.3d at 1513 n. 2. Congress unambiguously not only chose
                      21        the word "whistleblower"            in Dodd-Frank's anti-retaliation provision, but also defined a
                      22        "whistleblower" as an individual who reports information "to the Commission." 15 U.S.C. § 78u-
                      23        6(h)(l)(A), § 78u-6(a)(6). That ends the judicial inquiry.
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                                1
                                          Plaintiff cites to § 78u-6(h)(l)(B)(i) of Dodd-Frank for the position that an "individual" may bring a
                      25        discrimination claim before a United States District Court. This quote, however, is taken out of context. Read in its
                                entirety, the section states that such a private right of action is available only for a "violation of subparagraph (A),"
                      26        which, as cited above, applies only to those who meet the law's definition of a "whistleblower."
                                2
                                          Plaintiffs reliance on Congressional debates related to the number of SOX claims dismissed before the
                      27        Occupational Safety and Health Administration ("OSHA") is irrelevant. If Congress intended to expand whistleblower
                                protection outside of administrative agency oversight it would not have defined a "whistleblower" under Dodd-Frank as
                      28        an individual who reports information "to the Commission ...." 15 U.S.C. § 78u-6(a)(6).
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                                                                 DEFT'S REPLY TO PLTF'S OPP TO MOTION TO DISMISS
                                          Case 3:13-cv-02977-VC Document 22 Filed 09/09/13 Page 9 of 21


                         1                       Plaintiffs reliance on selective district court opinions is equally unavailing. The
                         2      highest court to consider this issue, Asadi v. G.E. Energy, 2013 U.S. App. LEXIS 14470*27 (5th
                         3      Cir. July 17, 2013), unequivocally rejected Plaintiffs contention that he need not follow the
                         4      prescribed administrative procedures of his SOX claim. Unlike Defendant, Plaintiff has not cited,
                         5      and cannot cite, a single appellate decision to support his position. As a Circuit Court of Appeals
                         6      decision, Asadi provides a detailed analysis of the federal whistleblower statutory scheme and is
                         7      highly persuasive authority.         Asadi considered, and rejected, the same district court decisions
                         8      Plaintiff relies on before this Court. Much of the language Plaintiff cites are statements made in
                         9      dicta.3    Moreover, courts outside the Fifth Circuit have already adopted Asadi's reasoning. The
                      10        United States District Court of Colorado has changed its position from Genberg, a case upon which
                      11        Plaintiff relies, and now holds that a "whistleblower" must report information to the SEC in order to
                      12        proceed under Dodd-Frank. See Wagner v. Bank of America Corp., 2013 U.S. Dist. LEXIS 101297,
                      13        at ** 15-17 (D. Colo. July 19, 2013) ("if subsection (iii) were interpreted to permit a non-
                      14        whistleblower to sue under Dodd-Frank, then Sarbanes-Oxley's anti-retaliation provisions would be
                      15        moot... ").
                      16                         2.       SEC Guidance Directly Contradicts The Statute's Plain Language And
                                                          Therefore Does Not Warrant Deference.
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                      18                         The Court need not decipher how SEC regulations define a "whistleblower" because
                      19        Congress has already provided a clear and unambiguous definition of the term in the text of Dodd-
                      20        Frank. As illustrated by the Supreme Court's recent decision in University, of Texas Southwestern
                      21        Medical Center, v. Nassar, courts will not defer to agency guidance when the statutory language is
                      22        unambiguous. 186 L. Ed. 2d 503, 523-24 (2013). Just as Plaintiff attempts here, the plaintiff in
                      23        Nasser argued the Court should defer to guidance from the Equal Employment Opportunity
                      24
                      25        3
                                          In Genberg v. Porter, 2013 U.S. Dist. LEXIS 41302 (Dist. Colo. Mar. 25, 2013) the court dismissed the Dodd-
                                Frank claim because the alleged retaliatory action was actually compelled by the Bankruptcy Code, and thus could not
                      26        constitute actionable retaliation. In Nollner v. Southern Baptist Convention, 852 F. Supp. 2d 986 (Dist. Tenn. April 2,
                                2012) the court dismissed the plaintiffs complaint on the grounds his reporting Foreign Corrupt Practices Act is not
                      27        protected acidity under Dodd-Frank. The Egan v. TradingScreen, Inc., 2011 U.S. Dist. LEXIS 47713, at *19 (S.D.N.Y.
                                May 4, 2011) language is also dicta because the court ultimately held the plaintiff had failed to allege that he had
                      28        engaged in any of the protected activities enumerated in 15 U.S.C. § 78u-6(h)(l)(A)(iii).
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                                                                 DEFT'S REPLY TO PLTF'S OPP TO MOTION TO DISMISS
                                       Case 3:13-cv-02977-VC Document 22 Filed 09/09/13 Page 10 of 21


                          1     Commission ("EEOC") when interpreting the expansiveness of Title VIFs anti-retaliation provision.
                         2      The Court, however, refused to adopt the EEOC's expansive reading of the law, because such a
                         3      reading would impermissibly go against the "plain textual meaning" of the statute. Id. Likewise, the
                         4      Ninth Circuit has observed that when "the statute clearly expresses Congress's intent, we do not
                         5      defer to the conflicting regulation." Microsoft Corp. v. C.I.R., 311 F.3d 1178, 1189 (9th Cir. 2002);
                         6      Amalgamated Transit Union Local 1309 v. Laidlaw Transit Servs., Inc., 448 F.3d 1092, 1096 (9th
                         7      Cir. 2006) ("[wjhere [a statute's] language is plain and admits of no more than one meaning the duty
                         8      of interpretation does not arise, and the rules which are to aid doubtful meanings need no
                         9      discussion.") (internal citation omitted); see also Chevron U.S.A., Inc. v. Natural Res. Def. Council,
                       10       Inc., 467 U.S. 837, 842-43 (1984) ("[i]f the intent of Congress is clear, that is the end of the matter;
                       11       for the court, as well as the agency, must give effect to the unambiguously expressed intent of
                       12       Congress.").      Congress defined a "whistleblower" under Dodd-Frank as "any individual who
                       13       provides, or 2 or more individuals acting jointly who provide, information relating to a violation of
                       14       the securities to the Commission . . . ." 15 U.S.C. § 78u-6(a)(6). The SEC regulations, as Plaintiff
                       15       concedes, directly contradict this language by defining a whistleblower as one who reports
                       16       information to individuals other than the SEC. See 17 C.F.R. 240.21F-2. The regulation is therefore
                       17       invalid. Microsoft Corp., 311 F.3d at 1189; see also Bd. of Governors of Federal Reserve System, v.
                       18       Dimension Fin. Corp., 474 U.S. 361, 368 (1986) ("[t]he traditional deference courts pay to agency
                       19       interpretation is not to be applied to alter the clearly expressed intent of Congress."); United States v.
                      20        Vogel Fertilizer Co., 455 U.S. 16, 24-26 (1982).4
                      21
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                                4
                                          Even if the Court considered the SEC regulations, the inconsistencies in the rules remove any need for
                      25        deference. The Court in Nassar also refused to defer to an agency when the guidance is incomplete and inconsistent.
                                See Nassar, 186 L. Ed. 2d 503 at 523-24. Here, "[w]hile 17 C.F.R. § 240.2lF-2(b)(l) appears to adopt a broader
                      26        definition of 'whistleblower,' . . . 17 C.F.R. § 240.21F-9, which governs the procedures for submitting original
                                information to the SEC, explicitly requires that an individual submit information about a possible securities law violation
                      27        to the SEC . . . The SEC's inconsistency in defining the term 'whistleblower' for purposes of the Dodd-Frank
                                whistleblower-protection provision does not strengthen [plaintiffs] position that the SEC's interpretation 'reasonably
                      28        effectuate[s] Congress's intent.'" Asadi, 2013 U.S. App. LEXIS 14470, at **29-30.
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                                       Case 3:13-cv-02977-VC Document 22 Filed 09/09/13 Page 11 of 21


                          1                       3.       Plaintiff Did Not Engage In Protected Activity Under SOX Because He
                                                           Did Not Report Material Shareholder Fraud.
                         2
                         3                        Even if this Court ignored the clear definition of a whistleblower that Dodd-Frank
                         4      provides, Plaintiff cannot, as a matter of law, establish that his reports relating to a co-worker's

                         5      expense reports involved material shareholder fraud so as to constitute protected activity.5 Plaintiff

                         6      does not dispute that he had to complain about material fraud against shareholders to show he

                         7      engaged in protected activity under SOX. See, e.g., Livingston v. Wyeth, Inc., 2006 U.S. Dist.

                         8      LEXIS 52978, *30 (M.D.N.C. July 28, 2006) aff d 520 F.3d 344 (4th Cir. 2008); Godfrey v. Union

                         9      Pac. R.R. Co., ARB Case No. 08-088, at 4 (July 30, 2009) ("employee must ordinarily complain

                       10       about a material misstatement of fact (or omission) concerning a corporation's financial condition on

                       11       which an investor would reasonably rely"). As explained in Riddle v. First Tennessee Bank,

                       12       reporting a co-employee's inaccurate expense reports is not, as a matter of law, "an objectively

                       13       reasonable belief that shareholders have been or were likely to be defrauded." 2012 U.S. App.

                       14       LEXIS 18684, * 19-21 (6th Cir. Aug. 31, 2012). Plaintiff attempts to argue this case is inapposite

                       15       because it involved the Bank Bribery Act, but that is erroneous. The decision turned on whether

                       16       reporting expense report errors by a single employee constituted protected activity under SOX. To

                       17       rescue his complaint from dismissal, Plaintiff then asserts that embezzlement "is the type of conduct

                       18       contemplated by SOX." This is not the legal standard: courts and administrative agencies

                       19       consistently hold that protected activity must concern material fraud related to shareholders. See

                      20        Livingston v. Wyeth, Inc., 520 F.3d 344, 355 (4th Cir. 2008); Godfrey, ARB Case No. 08-088, at 4;

                      21        Robinson v. Morgan Stanley, 2010 DOLSOX LEXIS 7 (ARB Jan. 10, 2010). A report is material

                      22        when it relates to a corporation's financial condition on which an investor would reasonably rely.

                      23        See Livingston, 520 F.3d at 355. Contrary to Plaintiffs claims, Apple's argument that a single

                      24        employee's expense reports cannot impact its overall financial records is not a "bombastic assertion"

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                      26
                                5
                                         Plaintiff also contends that his failure to file his SOX charge with OSHA within 180 days should not be fatal to
                      27        his claim for public policy reasons. Plaintiff, while represented by counsel, deliberately chose not to file his SOX charge
                                with OSHA and instead filed it directly with this Court. His strategic decision to ignore statutory language and Circuit
                      28        Court precedent is not a matter of public concern.
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                                                                  DEFT'S REPLY TO PLTF'S OPP TO MOTION TO DISMISS
                                    Case 3:13-cv-02977-VC Document 22 Filed 09/09/13 Page 12 of 21


                         1     against the "spirit" of SOX, but instead the standard courts and administrative agencies apply to
                        2      determine whether conduct rises to the level of protected activity.
                        3             B.      Plaintiffs Opposition Fails To Establish He Has Alleged Sufficient Facts To
                                              State His Second Claim For Relief For Wrongful Termination In Violation Of A
                        4                     Fundamental Public Policy.
                        5                     Apple established in its moving papers that Plaintiffs Complaint fails to allege facts
                        6      sufficient to meet Fed.R.Civ.P. 8's minimum pleading standards to state a claim for wrongful
                        7      termination in violation of public policy. Plaintiffs Complaint does nothing more than allege, in
                        8      completely conclusory terms, that his termination violated some unidentified "Apple policy and the
                        9      law." California's Supreme Court has conclusively held that wrongful termination in violation of
                      10       public policy claims cannot be predicated on an alleged violation of an employer's own internal
                      11       policies because they do not inure to the benefit of the public. Turner v. Anheuser-Busch, Inc., 1
                      12       Cal.4th 1238 (1994).     Plaintiffs other conclusory allegation that Apple violated "the law" is
                      13       similarly deficient under even the authorities Plaintiff cites because it fails to identify or reference
                      14       any public policy that inures to the public's benefit sufficient to establish this claim. Stevens v.

                      15       Superior Court, 16 Cal.4th 880, 901-902 (1997). Apple's motion to dismiss should therefore be

                      16       granted.

                      17                      Plaintiff concedes that a violation of Apple's own internal policies cannot support a

                      18       wrongful termination cause of action. In fact, Plaintiffs Opposition is completely devoid of any

                      19       authority or argument holding otherwise.       Plaintiff has included no such argument because he
                     20        cannot. It is well established that a wrongful termination in violation of public policy claim must be
                     21        tethered to some violation of a recognized constitutional, statutory or regulatory provision that
                     22        '"inures to the benefit of the public' rather than serving merely the interests of the individual."
                     23        Stevens, 16 Cal.4th at 901. Allegations that an employer's alleged conduct violated the employer's
                     24        own policies cannot meet this pleading requirement because such policies inure only to the benefit of
                     25        the employer or employee and not the public. Turner, 1 Cal.4th at 1257; Foley v. Interactive Data
                     26        Corp., 47 Cal.3d 654, 669-671 (1988); Morelewicz v. Government Employees Insurance Company,
                     27        207 Fed. Appx. 823, 826 (9th Cir. 2006) (holding an employee's allegation that the defendant
                     28        violated its internal policies cannot support a wrongful termination claim because they "do not
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       408.998.4150


                                                            DEFT'S REPLY TO PLTF'S OPP TO MOTION TO DISMISS
                                    Case 3:13-cv-02977-VC Document 22 Filed 09/09/13 Page 13 of 21


                        1     implicate fundamental public policies embodied in a statute"). For the same reasons, Plaintiffs
                       2      allegations that Apple allegedly wrongfully terminated his employment in violation of "Apple
                        3     policies" likewise cannot establish his second claim for relief as a matter of law.
                       4                     Plaintiffs contention that he is not required to cite a pertinent statutory or regulatory
                        5     provision sufficient to support this claim, and/or that he has done so, are also without merit. As an
                       6      initial matter, a simple review of Plaintiffs second claim for relief shows he has identified no
                       7      constitutional, statutory, or regulatory provision, either by identifying the statute or by reference to
                        8     any statutory scheme. This is an essential element of this claim and his failure to do so is fatal.
                       9                     California's Supreme Court stated on this point:
                     10                      [I]t is generally agreed that 'public policy' as a concept is notoriously
                                             resistant to precise definition, and that courts should venture into this area,
                     11                      if at all, with great care and due deference to the judgment of the
                                             legislative branch, "lest they mistake their own predilections for public
                     12                      policy which deserves recognition at law." [citation omitted]. Indeed, one
                                             of the most frequently cited decisions favoring a broad interpretation,
                     13                      Parnar v. Americana Hotels, Inc., supra, 652 P.2d 625, observed that
                                             courts "should proceed cautiously" if called upon to declare public policy
                     14                      absent some prior legislative expression on the subject.
                     15       Gantv. Sentry Insurance, 1 Cal.4th 1083, 1095 (1992).
                     16                      By failing to identify "the law" he contends Apple violated in terminating his
                     17       employment either by specifically identifying a constitutional, statutory or regulatory provision, or
                     18       by generally identifying a statutory scheme, Plaintiff is impermissibly asking this Court to either
                     19       state what it believes is a public policy that deserves recognition at law or equally impermissibly
                     20       "guess at the nature of the public policies involved, if any." Green v. Ralee Engineering Co., 19
                     21       Cal.4th 66, 83 (1988).      Either way, Plaintiffs failure to cite or, at minimum reference, any
                     22       constitutional, statutory or regulatory provision that Apple allegedly violated in terminating his
                     23       employment is fatal to this claim for relief. Id Plaintiffs citation to Vargas v. BP America, Inc.,
                     24       2011 U.S. Dist. LEXIS 107762 (E.D. Cal. 2011) and Weingandv. HarlandFin. Solutions, Inc., 2012
                     25       U.S. Dist. LEXIS 114651 (N.D. Cal. 2012) do not support Plaintiffs contentions otherwise.
                     26                      Neither the Vargas nor the Weingand, Court held a plaintiffs conclusory allegation
                     27       that the defendant violated "the law" was sufficient to establish a wrongful termination in violation
                     28       of public policy cause of action. Rather, they hold just the opposite. The plaintiff in Vargas alleged
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       408.998.4160


                                                           DEFT'S REPLY TO PLTF'S OPP TO MOTION TO DISMISS
                                      Case 3:13-cv-02977-VC Document 22 Filed 09/09/13 Page 14 of 21


                         1      his employment was terminated in retaliation for his reporting violations of the "Federal Motor
                         2      Carrier Act, the California Vehicle Code, the California Labor Code, and Cal OSHA." Vargas, 2011
                         3      U.S. Dist. LEXIS 107762,*2.          The plaintiff in Weingand, alleged his employer wrongfully
                        4       terminated his employment in retaliation for his alleged complaints that the defendant's pay
                         5      practices violated California's wage and hour laws. Weingand, 2012 U.S. Dist. LEXIS 114651,*22-
                        6       24. The plaintiffs in both cases identified, at minimum, a statutory scheme which evidenced a
                        7       fundamental public policy that the defendants allegedly violated in terminating their employment as
                         8      required by both California law and Fed.R.Civ.P. 8's pleading requirements. Green, 19 Cal.4th at
                        9       83. They did not rely on a vague conclusory allegation that the defendants violated "the law" as
                      10        Plaintiff suggests. Plaintiffs failure to likewise tether his public policy claim to a recognized statute
                      11        or statutory scheme is fatal to this claim. Jeske v. Maxim Healthcare Services, Inc., 2012 U.S. Dist.
                      12        LEXIS 2963,*25-28 (E.D. Cal. 2012) (granting the defendant's motion to dismiss the plaintiffs
                      13        wrongful termination claim because the plaintiff failed to identify any statutorily based public policy
                      14        that the defendant allegedly violated).
                      15                        Finally, even if this Court finds that Plaintiff identified the Dodd-Frank Act as the
                      16        predicate statute for his wrongful termination claim as he contends in his Opposition, his failure to
                      17        allege facts sufficient to establish his first claim for relief is fatal to this claim. As established above,
                      18        Plaintiff has not and cannot allege facts establishing his first claim for relief as a matter of law. This
                      19        is fatal to his claim for wrongful termination in violation of public policy. Sanders v. Arneson
                      20        Products, Inc., 91 F.3d 1351, 1354 (9th Cir. 1996) (holding a plaintiffs wrongful termination in
                      21        violation of public policy claim fails where the plaintiff cannot establish the defendant violated the
                      22        law on which it is based); Jeske, 2012 U.S. Dist. LEXIS 2963,*25-28 (finding the plaintiffs failure
                      23        to allege facts establishing the defendant violated California's wage and hour laws was fatal to her
                      24        wrongful termination claim based on these statutes); Jenning v. Marralle, 8 Cal.4th 121, 135-136
                      25        (1994) (no wrongful termination in violation of public policy claim will lie where the defendant is
                      26        not shown to have violated a predicate law). Apple's motion should therefore be granted.
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                                                              DEFT'S REPLY TO PLTF'S OPP TO MOTION TO DISMISS
                                     Case 3:13-cv-02977-VC Document 22 Filed 09/09/13 Page 15 of 21


                         1             C.      Plaintiffs Opposition Fails To Establish He Has Alleged Sufficient Facts To
                                               State His Third Claim For Relief For Retaliation In Violation Of 15 U.S.C.
                         2                     Section 78u-6 And/Or California Labor Code Section 1102.5.
                         3                     As established in Apple's moving papers, Plaintiffs third claim for relief fails as a

                         4     matter of law because he has not alleged Apple violated either Dodd-Frank or Section 1102.5 in

                         5     terminating his employment. Plaintiffs Opposition does not establish otherwise.

                         6                     1.     Plaintiff Has Not Alleged Facts Establishing Apple Engaged In Any
                                                      Unlawful Retaliation Under 15 U.S.C. Section 78u-6.
                         7
                         8                     Plaintiff admits his third claim for relief for retaliation in violation of 15 U.S.C.

                        9      section 78u-6 is based on the exact same factual allegations has his first claim for relief. As Plaintiff

                      10       has alleged no facts establishing he engaged in any protected activity under the Dodd-Frank Act, his

                      11       third claim for retaliation fails also. Passantino v. Johnson & Johnson Consumer Prods., 212 F.3d

                      12       493, 506 (9th Cir. 2000) (stating the elements for prima facie case of retaliation), citing     Yartzoffv.

                      13       Thomas, 809 F.2d 1371, 1375 (9th Cir. 2987).

                      14                       2.     Plaintiff Has Not Alleged Facts Establishing Apple Unlawfully
                                                      Terminated His Employment In Violation Of Labor Code Section 1102.5.
                      15
                      16                       As established in Apple's moving papers, Plaintiff has not and cannot allege facts

                      17       sufficient to establish his claim that Apple terminated his employment in violation of Labor Code

                      18       section 1102.5. Plaintiff has not and cannot establish otherwise.

                      19                              a.     Plaintiff Admits He Has Not Properly Exhausted The Required
                                                             Administrative Remedies To State A Claim Based On Labor Code
                      20                                     Section 1102.5.
                      21                       Plaintiffs contention that he was not required to exhaust his necessary and

                      22       jurisdictional administrative remedies prior to bringing his claim under Labor Code Section 1102.5,

                      23       is without merit. It is well established that "Labor Code section 1102.5 is a whistleblower statute,

                      24       the purpose of which is to 'encourage workplace whistle-blowers to report unlawful acts without

                     25        fearing retaliation.'" Soukup v. Law Office of Herbert Hafif, 39 Cal.4th 260, 287 (2006), quoting

                      26       Green v. Ralee Engineering Co., 19 Cal.4th 66, 77 (1998). Labor Code section 1102.5 is within the

                     27        jurisdiction of California's Labor Commissioner. Cal. Lab. Code § 98.6(a). Section 98.6(a) states,

                     28        in pertinent part:
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                                                            DEFT'S REPLY TO PLTF'S OPP TO MOTION TO DISMISS
                                    Case 3:13-cv-02977-VC Document 22 Filed 09/09/13 Page 16 of 21


                         1
                                              No person shall discharge an employee or in any manner discriminate
                        2                     against any employee or applicant for employment because the employee
                                              or applicant engaged in any conduct delineated in ... [Labor Code]
                        3                     Chapter 5 (commencing with Section 1101 of Part 3 of Division 2.
                        4
                               Cal. Lab. Code § 98.6(a). Because Labor Code section 1102.5 is delineated in Labor Code Chapter
                        5
                               5 and therefore falls under the jurisdiction of the Labor Commissioner, Plaintiff must exhaust his
                        6
                               administrative remedies with the Labor Commissioner before he can assert this claim in civil court.
                        7
                               Cal. Labor Code § 98.7. Section 98.7 provides: "[a]ny person who believes that he or she has been
                        8
                               discharged or otherwise discriminated against in violation of any law under the jurisdiction of the
                        9
                               Labor Commissioner may file a complaint with the division within six months after the occurrence
                      10
                               of the violation." Cal. Lab. Code § 98.7(a).
                      11
                                              The rule of exhaustion of administrative remedies is well established in California
                      12
                               law. "In brief, the rule is that where an administrative remedy is provided by statute, relief must be
                      13
                               sought from the administrative body and this remedy exhausted before the courts will act."
                      14
                               Campbell v. Regents of University of California, 35 Cal.4th 311, 321 (2005); see also Abelleira v.
                      15
                               District Court of Appeal, 17 Cal.2d 280, 292 (1941). The doctrine of exhaustion of administrative
                      16
                               remedies "is not a matter of judicial discretion, but is a fundamental rule of procedure . . . binding
                      17
                               upon all courts." Creighton v. City of Livingston, 628 F. Supp. 2d 1199, 1220 (E.D. Cal. 2009)
                      18
                               (citing Abelleira, supra, 17 Cal.2d at 293). This is true even where the administrative remedy is
                      19
                               couched in permissive, as opposed to mandatory, language. Williams v. Housing Authority of Los
                     20
                               Angeles, 121 Cal.App.4th 708, 734 (2004) (emphasis added).
                     21
                                              "To properly allege exhaustion of administrative proceedings, a plaintiff must
                     22
                               articulate facts supporting his or her allegation that the relevant administrative remedies have been
                     23
                               exhausted." Creighton, 628 F.Supp.2d at 1220. A Complaint that fails to include these necessary
                     24
                               allegations is properly subject to a motion to dismiss. Id. at 1221 (granting motion for judgment on
                     25
                               the pleadings to the plaintiffs claim for alleged violation of California Labor Code section 98.6
                     26
                               because the Complaint failed to allege facts establishing the plaintiff exhausted her administrative
                     27
                               remedies); see also See Ferretti v. Pfizer, Inc. 855 F.Supp.2d 1017, 1023-1024 (N.D. Cal. 2012)
                     28
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0 W.San Fernando, 15lh Floor
 San Jose, CA 95113.2303                                                      10.                            Case No. CV13-02977 (RS)
       408.998.4150


                                                           DEFT'S REPLY TO PLTF'S OPP TO MOTION TO DISMISS
                                      Case 3:13-cv-02977-VC Document 22 Filed 09/09/13 Page 17 of 21


                          1     (holding that a plaintiff must exhaust the administrative remedies provided by Labor Code section
                         2      98.7 prior to filing a lawsuit); Dolis v. Bluem USA, Inc. 2011 U.S. Dist. LEXIS 110575, *4-6 (N.D.
                         3      Cal. 2011) (a plaintiffs failure to exhaust the administrative remedies precludes them from bringing
                         4      a claim under Section 1102.5.).
                         5                     Plaintiffs contention that no California decision requires a plaintiff to exhaust their
                         6      administrative remedies is incorrect. Indeed, in the recent case ofMacDonald v. State of California,
                         7      2013 Cal. App. LEXIS 683 (3rd App. Dist., August 27, 2013), the Court held the exhaustion of
                         8      administrative remedies was required. Id. at * 15-16. In this action, Plaintiff has failed to allege any
                         9      facts establishing he exhausted his administrative remedies regarding his claim that Apple allegedly
                       10       violated Section 1102.5. Indeed, his Complaint is completely silent on this important jurisdictional
                       11       issue. As a result, he has not alleged facts establishing the essential elements of this claim as a
                       12       matter of law and Apple's motion must be granted.
                       13                              b.      Alternatively, Plaintiff Has Failed To Allege Any Facts
                                                               Establishing The Essential Elements Of This Third Claim For
                       14                                      Relief For An Alleged Violation Of Labor Code Section 1102.5.
                       15                      Additionally, Plaintiff does not identify whether his third claim for relief is based on
                       16       Labor Code section 1102.5(b) or Section 1102.5(c). As established in Apple's moving papers and
                       17       below however, he has not alleged facts sufficient to establish a viable claim for relief under either.
                       18                      As to Section 1102.5(b), Plaintiff admits, as he must, that he made no report to any
                       19       governmental or law enforcement agency. He therefore cannot establish Apple violated Labor Code
                      20        section 1102.5(b). See Green, 19 Cal.4th at 77 (stating Labor Code section 1102.5(b) "does not
                      21        protect plaintiff, who reported his suspicions [of illegal activity] directly to his employer").
                      22                       To establish aprimafacie claim of retaliation under Section 1102.5(c), Plaintiff must
                      23        allege facts establishing, inter alia, that he engaged in a protected activity. Passantino, 212 F.3d at
                      24        506. Protected activity for purposes of Section 1102.5(c) is the "refus[al] to participate in an activity
                      25        that would result in a violation of [a] state or federal statute, or a violation or noncompliance with a
                      26        state or federal rule or regulation." Cal. Lab. Code § 1102.5(c); Edgerly v. City of Oakland, 211
                      27        Cal.App.4th 1191,1199 (2012). Plaintiff has not alleged facts establishing either.
                      28
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       408.998.4150


                                                              DEFT'S REPLY TO PLTF'S OPP TO MOTION TO DISMISS
                                       Case 3:13-cv-02977-VC Document 22 Filed 09/09/13 Page 18 of 21


                           1                     The only alleged protected activity Plaintiff alleges he engaged in was reporting
                          2      employee Roe's alleged improper actions to Apple. (Compl., f|32, 34.) Although Plaintiff contends
                          3      this report "show[s] that he engaged in protected activity under the [Dodd-Frank Act's]
                          4      whistleblower protection provision" (Opp., p. 20:9-11), he cannot establish Apple violated Section
                          5      1102.5(c) as he has alleged no facts establishing employee Roe's actions violated the Dodd-Frank
                          6      Act or any other state or federal statute. Cal. Lab. Code § 1102.5(c); Edgerly, 211 Cal.App.4th at
                          7      1200. The only thing Plaintiff alleges employee Roe violated was Apple's own internal policies.
                          8      Violating an employer's own internal policies does not constitute a violation of a state or federal law
                          9      and reporting the alleged violation does not constitute protected activity under Section 1102.5(c).
                        10       Edgerly, 211 Cal.App.4th at 1200-1201.
                        11                       Moreover, Plaintiffs assertion that he can establish a violation of Section 1102.5(c)
                        12       by reporting a violation of Section 1102.5(c) to management is improperly circular. (Opp., p. 22:19-
                        13       22.) Section 1102.5(c) provides a remedy to an employee who was retaliated against for reporting a
                       14        violation of another statute. Indeed, Section 1102.5(c) cannot be clearer on this point when it states,
                       15        to establish a violation of this Section, a plaintiff must allege he "refusfed] to participate in an
                        16       activity that would result in a violation of [or noncompliance with] a state or federal statute." There
                        17       is simply no such claim as a violation of Section 1102.5(c) for reporting a violation of Section
                        18       1102.5(c). Thus, Plaintiffs failure to allege facts establishing he refused to participate in an activity
                        19       that would result in a violation or noncompliance with any other state or federal statute or regulation,
                       20        his third claim for relief fails as a matter of law.
                       21                        Plaintiffs contention that the Green court held in favor of a plaintiff after he reported
                       22        violations of other statutes to his employer does not save his third claim for relief from dismissal. In
                       23        the portion of the Green decision cited by Plaintiff, the Court was considering whether Section
                       24        1102.5 constituted a fundamental public policy protecting employees from retaliation for reporting
                       25        violations of other statutory provisions directly to their employer in the context of a wrongful
                       26        termination in violation of public policy claim. Green, 19 Cal.4th at 77. Thus, in the proper context,
                       27        a plaintiff may be able to allege a wrongful termination cause of action if they can establish they
                       28        reported a violation of some constitutional, statutory, or regulatory provision to their employer. Id.
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0 W. San Fernando, 15tti Floor
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       408.998.4160


                                                               DEFT'S REPLY TO PLTF'S OPP TO MOTION TO DISMISS
                                      Case 3:13-cv-02977-VC Document 22 Filed 09/09/13 Page 19 of 21


                          1     Because Plaintiff has not alleged facts establishing he was retaliated against for reporting the
                         2      violation of any state or federal statute to Apple, the portion of the Green decision on which Plaintiff
                         3      relies is not relevant or applicable.
                         4                      Additionally, Plaintiffs reliance on Holmes v. General Dynamics Corp., 17
                         5      Cal.App.4th 1418 (1993) and Collier v. Superior Court, 228 Cal.App.3d 1117 (1991) is also
                         6      misplaced. Both cases involve wrongful termination in violation of public policy claims and not
                         7      claims for a violation of either 15 U.S.C. Section 78u-6 and/or California Labor Code Section
                         8      1102.5. Holmes, 17 Cal.App.4th at 1423; Collier, 228 Cal.App.3d at 1119. The Courts in these
                         9      cases did not consider the pleading requirements to state a cause of action under either 15 U.S.C.
                       10       Section 78u-6 and/or California Labor Code Section 1102.5. N.L.R.B. v. Hotel and Restaurant
                       11       Employees and Bartenders' Union Local 531, 623 F.2d 61, 68 (9th Cir. 1980); People v. Gilbert 1
                       12       Cal.3d 475,482, fn. 7 (1969), ("[i]t is axiomatic that cases are not authority for propositions not
                       13       considered.") They are therefore inapposite to the instant action.
                       14              D.       Plaintiff Has Not Alleged Facts Establishing This Fourth Claim For Breach Of
                                                Contract.
                       15
                       16                       Plaintiffs Opposition fails to establish that he was employed by Apple on other than
                       17       an "at-will" basis. Plaintiff must overcome the presumption that his employment at Apple was on
                       18       any basis other than "at-will." Foley v. Interactive Data Corp., 47 Cal.3d 654, 682 (1988). Plaintiff
                       19       has not done so.      Rather, Plaintiff alleges that based on some unidentified policy of putting
                      20        employees on performance improvement plans and some unidentified alleged oral representations,
                      21        promises, and/or conduct of Apple and/or other Defendants, that he had an employment contract
                      22        with Apple stating that he would be employed by Apple so long as his performance was satisfactory
                      23        and would not be discharged without good or just cause. (Compl., ^82-83.) Such allegations
                      24        cannot alter the presumption that his employment at Apple was on an "at-will" basis as a matter of
                      25        law. Guz v. Bechtel National, Inc., 24 Cal.4th 317, 345; see also Newfield v. Insurance Co. of the
                      26        West, 156 Cal.App.3d 440, 444 (1984) (finding the plaintiff could not show an implied contract
                      27        based on a promise that he would have "a permanent career"; "this type of promise has been
                      28        considered by the courts in California and has been found to create only a contract terminable at-
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       408.998.4160


                                                              DEFT'S REPLY TO PLTF'S OPP TO MOTION TO DISMISS
                                     Case 3:13-cv-02977-VC Document 22 Filed 09/09/13 Page 20 of 21


                         1     will." (emphasis in original)); Drzewiecki v. H&R Block, Inc., 24 Cal.App.3d 695, 702, 704-705
                        2      (1972).
                        3                     Vague and conclusory allegations that an employer's alleged representations that an
                        4      employee would only be terminated for "good cause," are insufficient to overtime the presumption
                        5      of "at-will" employment as a matter of law. Halvorsen v. Aramark Uniform Services, Inc., 65
                        6      Cal.App.4th 1383, 1389 (1998) (affirming that the plaintiff did not overcome the presumption of at
                        7      will employment by vague assurances of continued employment; "an alleged oral contract with
                        8      vague and uncertain terms is not binding'); Vargas v. BP America, Inc., 2011 U.S. Dist. LEXIS
                        9      49193, *13 (E.D. Cal. 2011) (the "plaintiffs bare assertion that an implied agreement [to terminate
                      10       only for good cause] existed is conclusory and insufficient" to overcome the presumption of "at-
                      11       will" employment as a matter of law).
                      12                      Rather, to overcome the presumption of "at-will" employment, Plaintiff is required, at
                      13       a minimum, to identify the "person or persons who entered into the alleged agreement with him,"
                      14       that the person had the authority to enter into the agreement or identify the specific policies,
                      15       practices, or other conduct which might plausibly give rise to an implied promise not the terminate
                      16       without cause. Vargas, 2011 U.S. Dist. LEXIS 49193, *13. Plaintiff has not done so and his failure
                      17       is fatal to this claim. As Plaintiff has presented no argument or authority to the contrary, Apple's
                      18       motion should be granted.
                      19                 E.   Plaintiff Has Not Alleged Facts Establishing His Fifth Claim For Breach Of The
                                              Implied Covenant Of Good Faith And Fair Dealing.
                      20
                      21                      Plaintiffs Opposition fails to present any argument or authority to support his
                     22        contention that he can assert a separate cause of action for a violation of the implied covenant of
                      23       good faith and fair dealing based solely on his breach of contract claim. California's Supreme Court
                      24       was clear on this point when it stated:
                     25                       [W]here breach of an actual [contract] term is alleged, a separate implied
                                              covenant claim, based on the same breach is superfluous. On the other
                     26                       hand, where an implied covenant claim alleges a breach of obligations
                                              beyond the agreement's actual terms, it is invalid.
                      27
                     28
LITTLER MENDELSON, P.O.
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       408.998.4150


                                                            DEFT'S REPLY TO PLTF'S OPP TO MOTION TO DISMISS
                                       Case 3:13-cv-02977-VC Document 22 Filed 09/09/13 Page 21 of 21


                         1     Guz, 24 Cal.4th at 327; see also Hunter v. Up-Right, Inc., 6 Cal.4th 1174, 1180-1183 (1993)
                        2      (reiterating that tort remedies for breach of the implied covenant of good faith and fair dealing are
                        3      not available in the employment context); Acosta v. Astor, 120 Cal.App.4th 596, 573 (2004).
                        4      Plaintiffs fifth claim for breach of the implied covenant of good faith and fair dealing is based on
                        5      the same alleged facts as his fourth claim for breach of contract. (Compl., |Tf81-96.) It therefore
                        6      impermissibly duplicates his breach of contract cause of action and must be dismissed. Guz, 24
                        7      Cal.4th at 352; Bionghi v. Metro Water Dist., 70 Cal.App.4th 1358, 1370 (1999).
                        8                         Plaintiffs reliance on the Guz Court's dicta that an implied covenant claim may lie
                        9      where an employer discharges an employee "to cheat the worker out of another contract benefit to
                      10       which the employee was clearly entitled, such as compensation already earned" is misplaced. Guz,
                      11       24 Cal.4th at 353, fn. 18. Plaintiff has alleged no facts even intimating Apple terminated his
                      12       employment to avoid providing him any vested benefits. Rather, Plaintiff only alleges that Apple
                      13       terminated his "at-will" employment without good cause and without following its alleged practice
                      14       of putting employees on a performance improvement plan before terminating them, the exact same
                      15       allegations underlying his breach of contract claim. (Compl., ||82-84, 86, 95-96.) As a result, his

                      16       fifth claim for relief must be dismissed.
                      17       III.      CONCLUSION
                      18                          For the reasons stated in Apple's moving papers and above, Apple respectfully
                      19       requests the Court issue an order dismissing Plaintiffs Complaint in its entirety without leave to
                     20        amend.
                     21        Dated: September 9, 2013
                     22
                                                                                            i/s//Todd K. Bover
                     23                                                                     TODD K. BOYER
                                                                                            LITTLER MENDELSON, P.C.
                     24                                                                     Attorneys for Defendant
                                                                                            APPLE INC.
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       408.998.4160


                                                                   DEFT'S REPLY TO PLTF'S OPP TO MOTION TO DISMISS
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 8                          EXHIBIT D
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10              Banko v. Apple Inc., 20 F. Supp. 3d 749 (N.D. Cal. 2013)
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     PLAINTIFF’S CONDITIONAL NON-OPPPSOTION TO DEFFENDANT’S       APRIL 23 2024
     REQUEST FOR JUDICIAL NOTICE | 3:23-CV-04597-EMC
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                                                                          7                             IN THE UNITED STATES DISTRICT COURT
                                                                          8                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          9                                      SAN FRANCISCO DIVISION
                                                                         10
                                                                              JOSHUA BANKO,                                            No. CV 13-02977 RS
United States District Court




                                                                         11
                                                                                                Plaintiffs,                            ORDER DENYING IN PART AND
                               For the Northern District of California




                                                                         12                                                            GRANTING IN PART
                                                                                  v.                                                   DEFENDANT’S MOTION TO
                                                                         13                                                            DISMISS
                                                                         14   APPLE INC., and DOES 1 through 50,
                                                                         15
                                                                                           Defendants.
                                                                         16   ____________________________________/
                                                                         17
                                                                         18
                                                                         19                                    I.      INTRODUCTION
                                                                         20            This matter arises from the decision by defendant Apple, Inc. (“Apple”) to fire plaintiff
                                                                         21   Joshua Banko (“Banko”). The complaint asserts five claims for relief. Defendant Apple moves
                                                                         22   to dismiss all five claims for failure to state a claim upon which relief may be granted. For the
                                                                         23   following reasons, defendant’s motion to dismiss is granted in part and denied in part, with leave
                                                                         24   to amend. This matter is suitable for disposition without oral argument pursuant to Civil Local
                                                                         25   Rule 7-1(b).
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                                                                                                                                                               NO. 13-CV-02977 RS
                                                                                                                                       ORDER PARTIALLY GRANTING MOTION TO DISMISS
                                                                                       Case 3:13-cv-02977-VC Document 29 Filed 09/27/13 Page 2 of 14




                                                                          1                                   II.    BACKGROUND1
                                                                          2          Plaintiff Joshua Banko was employed by defendant Apple for 12 years. During this time,
                                                                          3   Banko worked as an engineer on multiple projects and supervised other engineers. Banko began
                                                                          4   his employment on an “at-will” basis. During his 12 year career at Apple, Banko received
                                                                          5   favorable performance reviews, was told he was a valuable employee, and was awarded multiple
                                                                          6   discretionary bonuses. He did not receive any negative performance reviews and was never put
                                                                          7   on a performance improvement plan.
                                                                          8          In 2012, Banko learned one of the engineers he supervised (“Roe”) had received a
                                                                          9   $40,000 pay increase and a grant of 1500 Restricted Stock Units, purportedly to prevent Roe
                                                                         10   from moving to Facebook. Shortly thereafter, Banko noticed Roe had been submitting expense
United States District Court




                                                                         11   reports which included personal and other expenses that were not properly documented. When
                               For the Northern District of California




                                                                         12   Banko directed Roe to remove these inappropriate expenses, she refused.
                                                                         13          Upon Roe’s failure to remedy her inaccurate expense reports, Banko came to believe Roe
                                                                         14   was violating both Apple policy and applicable law. Banko feared this embezzlement might
                                                                         15   amount to a fraud against shareholders as well as the public by leading Apple to file inaccurate
                                                                         16   taxes but he was dissuaded from making any report by his supervisors. Ignoring those
                                                                         17   instructions, Banko reported Roe to Apple’s upper management. Apple then conducted an
                                                                         18   internal audit to determine if Roe had misrepresented expenses on her expense reports. This audit
                                                                         19   uncovered over forty instances of inflated or falsified expenses for which Roe received
                                                                         20   reimbursement from Apple. When Banko recommended Apple upper management terminate
                                                                         21   Roe for fraud and embezzlement of company funds, his supervisors told him not to pursue the
                                                                         22   matter. Believing he was obligated by law and Apple policy to terminate Roe, Banko approached
                                                                         23   Victor Cousins of Apple’s human resources department. In a subsequent meeting not attended by
                                                                         24   Banko, the decision was taken to terminate Roe. Nonetheless, several individuals in Apple
                                                                         25   management, including those who instructed Banko not to pursue the termination of Roe, were
                                                                         26   upset Banko had reported Roe to Cousins.
                                                                         27
                                                                              1
                                                                                The facts are taken from the complaint and assumed to be true for the purposes of this motion
                                                                         28   to dismiss.
                                                                                                                                                             NO. 13-CV-02977 RS
                                                                                                                                     ORDER PARTIALLY GRANTING MOTION TO DISMISS
                                                                                                                              2
                                                                                         Case 3:13-cv-02977-VC Document 29 Filed 09/27/13 Page 3 of 14




                                                                          1           Banko continued his duties at Apple and received praise for the completion of a prototype
                                                                          2   ahead of schedule before holiday break. Upon returning, Banko received a significant
                                                                          3   discretionary bonus for his work on the prototype. On January 14, 2013, less than two weeks
                                                                          4   later, Banko’s employment was terminated. Banko filed this lawsuit on June 27, 2013. He
                                                                          5   advances five claims for relief: (1) violation of the Dodd-Frank Act; (2) wrongful termination in
                                                                          6   violation of public policy; (3) violation of Section 1102.5 of the California Labor Code; (4)
                                                                          7   breach of employment contract; and (5) breach of implied covenant of good faith and fair
                                                                          8   dealing.
                                                                          9                                   III.    LEGAL STANDARD
                                                                         10           A complaint must contain “a short and plain statement of the claim showing that the
United States District Court




                                                                         11   pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). “Pleadings must be so construed so as to do
                               For the Northern District of California




                                                                         12   justice.” Fed. R. Civ. P. 8(e). While “detailed factual allegations are not required,” a complaint
                                                                         13   must have sufficient factual allegations to “state a claim to relief that is plausible on its face.”
                                                                         14   Ashcroft v. Iqbal, 566 U.S. 652, 678 (2009) (citing Bell Atlantic v. Twombly, 550 U.S. 544, 570
                                                                         15   (2007)). A claim is facially plausible “when the pleaded factual content allows the court to draw
                                                                         16   the reasonable inference that the defendant is liable for the misconduct alleged.” Id. This
                                                                         17   standard asks for “more than a sheer possibility that a defendant acted unlawfully.” Id. This
                                                                         18   determination is a context-specific task requiring the court “to draw in its judicial experience and
                                                                         19   common sense.” Id. at 1950.
                                                                         20           A motion to dismiss a complaint under Rule 12(b)(6) of the Federal Rules of Civil
                                                                         21   Procedure tests the legal sufficiency of the claims alleged in the complaint. See Parks Sch. of
                                                                         22   Bus., Inc. v. Symington, 51 F.3d 1480, 1484 (9th Cir. 1995). Dismissal under Rule 12(b)(6) may
                                                                         23   be based on either the “lack of a cognizable legal theory” or on “the absence of sufficient facts
                                                                         24   alleged under a cognizable legal theory.” Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699
                                                                         25   (9th Cir. 1990). When evaluating such a motion, the court must accept all material allegations in
                                                                         26   the complaint as true, even if doubtful, and construe them in the light most favorable to the non-
                                                                         27   moving party. Twombly, 550 U.S. at 570. “[C]onclusory allegations of law and unwarranted
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                                                                                                                                                                NO. 13-CV-02977 RS
                                                                                                                                        ORDER PARTIALLY GRANTING MOTION TO DISMISS
                                                                                                                                 3
                                                                                        Case 3:13-cv-02977-VC Document 29 Filed 09/27/13 Page 4 of 14




                                                                          1   inferences,” however, “are insufficient to defeat a motion to dismiss for failure to state a claim.”
                                                                          2   Epstein v. Wash. Energy Co., 83 F.3d 1136, 1140 (9th Cir. 1996); see also Twombly, 550 U.S. at
                                                                          3   555 (“threadbare recitals of the elements of the claim for relief, supported by mere conclusory
                                                                          4   statements,” are not taken as true).
                                                                          5          In dismissing a complaint, leave to amend must be granted unless it is clear that the
                                                                          6   complaint’s deficiencies cannot be cured by amendment. Lucas v. Dep’t of Corporations, 66
                                                                          7   F.3d 245, 248 (9th Cir. 1995). When amendment would be futile, however, dismissal may be
                                                                          8   ordered with prejudice. Dumas v. Kipp, 90 F.3d 386, 393 (9th Cir. 1996).
                                                                          9                                      IV.     DISCUSSION
                                                                         10      A. Retaliation
United States District Court




                                                                         11          Banko’s first and third claims for relief both allege Apple violated the law by firing
                               For the Northern District of California




                                                                         12   Banko for engaging in legally protected actions. The first claim for relief, under the Dodd-Frank
                                                                         13   Act 15 U.S.C. § 78u-6, is premised on Banko’s reporting what he believed to be securities fraud
                                                                         14   to Apple management. That Act allows for a private claim for relief for violations of Section
                                                                         15   1514A of Sarbanes-Oxley. 15 U.S.C. § 78u-6(h)(1)(A)(iii). The third claim arises not only from
                                                                         16   Banko’s reporting to Apple management, but also from his refusal to cover up or engage in the
                                                                         17   alleged embezzlement. This third claim is brought pursuant to Section 1102.5 of the California
                                                                         18   Labor Code, which makes it illegal for an employer to retaliate against an employee for refusing
                                                                         19   to participate in an activity that would result in a violation of state or federal law. Banko
                                                                         20   contends his firing violates both the public policy of the Dodd-Frank Act and the Sarbanes-Oxley
                                                                         21   Act. Apple moves to dismiss both of these claims on three grounds: (1) the statute of limitations
                                                                         22   for a suit under Sarbanes-Oxley has expired; (2) Banko’s actions are not protected under the
                                                                         23   Sarbanes-Oxley Act; and (3) not having filed a report with the Securities and Exchange
                                                                         24   Commission (“SEC”), but only with Apple management, Banko is not a “whistleblower” under
                                                                         25   Dodd-Frank.
                                                                         26
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                                                                                                                                                               NO. 13-CV-02977 RS
                                                                                                                                       ORDER PARTIALLY GRANTING MOTION TO DISMISS
                                                                                                                                4
                                                                                        Case 3:13-cv-02977-VC Document 29 Filed 09/27/13 Page 5 of 14




                                                                          1                      i. Statute of Limitations
                                                                          2          The Dodd-Frank Act and the Sarbanes-Oxley Act each have their own statutes of
                                                                          3   limitation. Individuals who bring a Sarbanes-Oxley anti-retaliation claim must first file a
                                                                          4   complaint with the Secretary of Labor within 180 days of the alleged violation, and are only
                                                                          5   permitted to sue in federal court if the Secretary has not issued a final order within 210 days. 18
                                                                          6   U.S.C. § 1514A(b)(2)(D); 29 C.F.R. § 1980.103(d); 12 U.S.C. § 5567(c)(4)(D). The Dodd-Frank
                                                                          7   Act provides for a six-year statute of limitations. 15 U.S.C. 78u-6(h)(B)(iii). Apple contends
                                                                          8   Banko has failed to satisfy the requisite Sarbanes-Oxley limitations period and administrative
                                                                          9   adjudication requirements. While Banko has not met the requirements of Sarbanes-Oxley, he is
                                                                         10   well-within the six-year limitations period provided by Dodd-Frank. Id. Although the first and
United States District Court




                                                                         11   third claims involve Sarbanes-Oxley, they are brought under different statutes. The first claim for
                               For the Northern District of California




                                                                         12   relief is brought under Dodd-Frank, which creates a private right of action for violations of
                                                                         13   Sarbanes-Oxley. 15 U.S.C. § 78u-6(h)(1)(A)(iii). Therefore, it is timely. The third claim for
                                                                         14   relief is brought under the California Labor Code. This third claim is also timely. Therefore,
                                                                         15   Apple’s motion to dismiss the third claim for relief is denied.
                                                                         16                      ii. Protected Actions Under Sarbanes-Oxley
                                                                         17          Banko’s claims under the Dodd-Frank Act require that Banko’s reporting and refusing to
                                                                         18   participate in or cover up the alleged embezzlement require that those actions fall within the
                                                                         19   protections of Sarbanes-Oxley. 15 U.S.C. § 78u-6(h)(1)(A)(iii). Apple contends Banko’s actions
                                                                         20   are not protected because, according to Apple, reports regarding another employee’s expense
                                                                         21   reports, even if accurate, do not sufficiently involve shareholder fraud within the meaning of
                                                                         22   Sarbanes-Oxley.
                                                                         23          Sarbanes-Oxley protects those who provide information that they reasonably believe
                                                                         24   relates to fraud or securities violations as defined in 18 U.S.C. § 1514A(a)(1). Van Asdale v. Int’l
                                                                         25   Game Tech., 577 F.3d 989, 996-97 (9th Cir. 2009). Here, Banko alleges he reasonably believed
                                                                         26   Roe’s alleged embezzlement constituted fraud against shareholders. In response, Apple contends
                                                                         27   Roe’s alleged behavior only amounted to a violation of an internal policy and did not rise to the
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                                                                                                                                                              NO. 13-CV-02977 RS
                                                                                                                                      ORDER PARTIALLY GRANTING MOTION TO DISMISS
                                                                                                                               5
                                                                                        Case 3:13-cv-02977-VC Document 29 Filed 09/27/13 Page 6 of 14




                                                                          1   level of fraud against shareholders as required under Section 1514(A). At this juncture, Banko
                                                                          2   need only plead facts sufficient to state a claim that relates to one of the listed categories under
                                                                          3   Section 1514A. Thus, while Banko’s belief might not be sufficiently reasonable to prevail, he
                                                                          4   has pled sufficient facts to state a claim for relief. Fed. R. Civ. P. 12(b)(6).
                                                                          5                      iii. The Availability of Dodd-Frank’s “Whistleblower Protection”
                                                                          6           Apple argues that Banko is not a “whistleblower” because he did not file a report with the
                                                                          7   Securities and Exchange Commission (“SEC”). Implicated by that question is the relationship
                                                                          8   between Dodd-Frank’s definition of “whistleblower” and the private claim for relief for
                                                                          9   violations of Sarbanes-Oxley. As discussed above, this claim for relief is brought under the
                                                                         10   Dodd-Frank Act, which authorizes a private right of action for violations of Sarbanes-Oxley. 15
United States District Court




                                                                         11   U.S.C. § 78u-6(h)(1)(A)(iii). The issue here is whether that right of action is available to an
                               For the Northern District of California




                                                                         12   individual who does not meet the Dodd-Frank Act’s definition of “whistleblower.” Apple argues
                                                                         13   an individual must actually make a complaint to the SEC pursuant to Section 78u-6(a), which
                                                                         14   defines “whistleblower” as “any individual who provides, or 2 or more individuals acting jointly
                                                                         15   who provide, information relating to a violation of the securities laws to the Commission, in a
                                                                         16   manner established, by rule or regulation, by the Commission.” Banko argues Section 78u-
                                                                         17   6(h)(1)(A)(iii) allows individuals to bring a private claim for violation of Sarbanes-Oxley even if
                                                                         18   that individual does not meet Section 78u-6(a)’s definition of “whistleblower” because Section
                                                                         19   78u-6(h)(1)(A)(iii) is an exception to Dodd Frank’s definition of “whistleblower.” This is a
                                                                         20   matter of first impression in the Ninth Circuit.
                                                                         21           The first step in determining whether or not reporting to upper management is sufficient
                                                                         22   to entitle one to “whistleblower protection” under 78u-6(h) is to decide whether or not the statute
                                                                         23   is ambiguous. “When faced with questions of statutory construction, ‘we must first determine
                                                                         24   whether the statutory text is plain and unambiguous’ and, ‘[i]f it is, we must apply the statute
                                                                         25   according to its terms.”’ Asadi v. G.E. Energy (USA), L.L.C., 720 F.3d 620, 622 (5th Cir. 2013)
                                                                         26   (citing to Carcieri v. Salazar, 555 U.S. 379, 387 (2009)). “The plainness or ambiguity of
                                                                         27   statutory language is determined by reference to the language itself, the specific context in which
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                                                                                                                                                                NO. 13-CV-02977 RS
                                                                                                                                        ORDER PARTIALLY GRANTING MOTION TO DISMISS
                                                                                                                                 6
                                                                                        Case 3:13-cv-02977-VC Document 29 Filed 09/27/13 Page 7 of 14




                                                                          1   that language is used, and the broader context of the statute as a whole.” Robinson v. Shell Oil
                                                                          2   Co., 519 U.S. 337 (1997). “The inquiry must cease if the statutory language is unambiguous and
                                                                          3   the statutory scheme is coherent and consistent.” Id. at 340. If the statutory text is unambiguous,
                                                                          4   the inquiry begins and ends with the text. BedRoc Ltd. V. United States, 541 U.S. 176, 183
                                                                          5   (2004). However, if the statute is ambiguous, courts look to administrative regulations for
                                                                          6   clarification. Chevron U.S.A. Inc. v. Natural Resources Defense Counsel, Inc., 467 U.S. 837,
                                                                          7   842-43 (1984).
                                                                          8          Very few courts have considered this issue. All four district courts that have done so have
                                                                          9   found the statute to be ambiguous in this regard. See Nollner v. S. Baptist Convention, Inc., 852
                                                                         10   F. Supp. 2d 986, 988 (M.D. Tenn. 2012); Murray v. UBS Sec., LLC, 12 CIV. 5914 JMF, 2013
United States District Court




                                                                         11   WL 2190084 (S.D.N.Y. May 21, 2013); Kramer v. Trans-Lux Corp., 3:11 CIV. 1424 SRU, 2012
                               For the Northern District of California




                                                                         12   WL 4444820 (D. Conn. Sept. 25, 2012); Egan v. TradingScreen, Inc., 10 CIV. 8202 LBS, 2011
                                                                         13   WL 1672066 (S.D.N.Y. May 4, 2011). These courts premise their holding on three grounds: (1)
                                                                         14   the purpose of the Dodd-Frank Act was to “improve the accountability and transparency of the
                                                                         15   financial system,” and create “new incentives and protections for whistleblowers;” (2) extending
                                                                         16   the “whistleblower protection” provision only to individuals who meet the Dodd-Frank
                                                                         17   definition of “whistleblower” would violate a tenant of statutory interpretation by making
                                                                         18   Section 78u-6(h)(1)(A)(iii) superfluous; and (3) the SEC issued regulation 34300-01 stating 78u-
                                                                         19   6(h)(1)(A)(iii) protection is available to some individuals who do not report violations consistent
                                                                         20   with 78u-6(a)(6).
                                                                         21          Meanwhile, the only appellate decision to address this issue found the statute
                                                                         22   unambiguous and held an individual must first meet the definition of “whistleblower” to qualify
                                                                         23   for “whistleblower protection.” In Asadi v. G.E. Energy (USA), L.L.C., the Fifth Circuit held the
                                                                         24   statute is unambiguous for three reasons: (1) Section 78u-6(h)(1)(A) limits “whistleblower
                                                                         25   protection” to “whistleblowers”; (2) “Section 78u–6(h)(1)(A)(i) protects whistleblowers from
                                                                         26   employer retaliation for the action that made the individual a whistleblower in the first instance,
                                                                         27   i.e., providing information relating to a securities law violation to the SEC”; and (3) limiting
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                                                                                                                                                              NO. 13-CV-02977 RS
                                                                                                                                      ORDER PARTIALLY GRANTING MOTION TO DISMISS
                                                                                                                               7
                                                                                        Case 3:13-cv-02977-VC Document 29 Filed 09/27/13 Page 8 of 14




                                                                          1   “whistleblower protection” to individuals who are “whistleblowers” under Section 78u-6(a) does
                                                                          2   not make 78u-6(h)(1)(A)(iii) superfluous because it would still protect individuals who filed a
                                                                          3   complaint with the SEC but were retaliated against for another reason. Asadi v. G.E. Energy
                                                                          4   (USA), L.L.C., 720 3.d 620 (2013).
                                                                          5          Applying the rules of statutory interpretation set forth above, the statute is not
                                                                          6   ambiguous; the “whistleblower protection” provided by Section 78u-6(h) is only available to
                                                                          7   individuals who meet the Dodd-Frank definition of “whistleblower” found in Section 78u-6(a).
                                                                          8   To conclude to the contrary, one would have to ignore several canons of statutory interpretation.
                                                                          9   First, allowing individuals who did not report to the SEC to be designated a “whistleblower”
                                                                         10   under 78u-6(a) would ignore the plain language of that statute. As the Court held in Chevron, the
United States District Court




                                                                         11   first step of statutory interpretation is asking “whether Congress has directly spoken to the
                               For the Northern District of California




                                                                         12   precise question at issue. If the intent of Congress is clear, that is the end of the matter.” 467 U.S.
                                                                         13   at 842-43. Section 78u-6(h)(1)(A) states “[n]o employer may discharge, demote, suspend,
                                                                         14   threaten, harass, directly or indirectly, or in any other manner discriminate against, a
                                                                         15   whistleblower in the terms and conditions of employment because of any lawful act done by the
                                                                         16   whistleblower.” (emphasis added). Thus, the statute specifies that an employer may not take the
                                                                         17   above actions against a whistleblower. It is not until after this clause that Congress adds
                                                                         18   protection for reports that are protected by Sarbanes-Oxley, indicating that the latter is
                                                                         19   subordinate to the former. When read together, 78u-6(h)(1)(A) and 78u-6(h)(1)(A)(iii) state
                                                                         20   “[n]o employer may discharge, demote, suspend, threaten, harass, directly or indirectly, or in any
                                                                         21   other manner discriminate against, a whistleblower in the terms and conditions of employment
                                                                         22   because of any lawful act done by the whistleblower in making disclosures that are required or
                                                                         23   protected under the Sarbanes-Oxley Act of 2002.” (emphasis added). Congress could have used a
                                                                         24   word other than “whistleblower” but chose not to. Asadi v. G.E. Energy (USA), L.L.C., 720 F.3d
                                                                         25   620, 626 (5th Cir. 2013).
                                                                         26          Second, as the Fifth Circuit noted in Asadi, interpreting Section 78u-6(h)(1)(A)(iii) to be
                                                                         27   an exception to the Section 78u-6(a) definition of “whistleblower” would render the words “to
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                                                                                                                                                                NO. 13-CV-02977 RS
                                                                                                                                        ORDER PARTIALLY GRANTING MOTION TO DISMISS
                                                                                                                                8
                                                                                        Case 3:13-cv-02977-VC Document 29 Filed 09/27/13 Page 9 of 14




                                                                          1   the Commission” superfluous. 720 F.3d at 625. Construing the statute in this manner would
                                                                          2   violate the surplusage canon that every word is to be given effect. See, e.g., TRW Inc. v.
                                                                          3   Andrews, 534 U.S. 19, 31 (2001) (“It is a cardinal principle of statutory construction that a
                                                                          4   statute ought, upon the whole, to be so construed that, if it can be prevented, no clause, sentence,
                                                                          5   or word shall be superfluous, void, or insignificant.”)
                                                                          6          Third, allowing individuals who do not satisfy the Dodd-Frank definition of
                                                                          7   “whistleblower” to bring a claim under Section 78u-6(h) would contradict that section’s title.
                                                                          8   Section 78u-6(h) is titled “whistleblower protection.” While a heading cannot limit the plain
                                                                          9   meaning of the text, it lends support to the conclusion that Section 78u-6(h) applies only to those
                                                                         10   individuals who qualify as “whistleblowers” as defined in § 78u–6(a)(6). See Fla. Dep't of
United States District Court




                                                                         11   Revenue v. Piccadilly Cafeterias, Inc., 554 U.S. 33, 47 (2008) (“To be sure, a ... heading cannot
                               For the Northern District of California




                                                                         12   substitute for the operative text of the statute. Nonetheless, statutory titles and section headings
                                                                         13   are tools available for the resolution of a doubt about the meaning of a statute.” (citations and
                                                                         14   internal quotation marks omitted)).
                                                                         15          Fourth, the SEC’s regulation should only be granted deference if the statute is ambiguous
                                                                         16   on its face. The SEC has promulgated a regulation providing an individual may be a
                                                                         17   whistleblower if he or she reports to persons or authorities other than the SEC. Securities and
                                                                         18   Exchange Commission, Securities Whistleblower Incentives and Protections, 76 Fed. Reg.
                                                                         19   34300-01, at*34304 (June 13, 2011). The plaintiff, and some district courts, point to the SEC’s
                                                                         20   issuance of this regulation as support for the argument that the statute is ambiguous. Deference,
                                                                         21   however, is only warranted if the statute is ambiguous on its face. “[I]f the intent of Congress is
                                                                         22   clear, that is the end of the matter; for the court, as well as the agency, must give effect to the
                                                                         23   unambiguously expressed intent of Congress.” Chevron, 467 U.S. at 842-43. Furthermore, the
                                                                         24   SEC might have reason for issuing this regulation other than statutory ambiguity. Indeed, neither
                                                                         25   the district court opinions noted above, nor plaintiff’s papers, invoke any authority suggesting
                                                                         26   the SEC issued this regulation because of ambiguity in the statute.
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                                                                                                                                                                NO. 13-CV-02977 RS
                                                                                                                                        ORDER PARTIALLY GRANTING MOTION TO DISMISS
                                                                                                                                 9
                                                                                       Case 3:13-cv-02977-VC Document 29 Filed 09/27/13 Page 10 of 14




                                                                          1          Finally, while the district court opinions are correct that the purpose of the Dodd-Frank
                                                                          2   Act is to “improve the accountability and transparency of the financial system,” and create “new
                                                                          3   incentives and protections for whistleblowers,” it is not the only protection available to
                                                                          4   individuals who believe they are being retaliated against for revealing securities fraud. These
                                                                          5   plaintiffs have other options. Here, the plaintiff could have filed a complaint with the Secretary
                                                                          6   of Labor under Sarbanes-Oxley within 180 days of the purported violation. 18 U.S.C. §
                                                                          7   1514A(b)(2)(D). Indeed, as discussed above, Dodd-Frank doubled the amount of time an
                                                                          8   individual has available within which to file such a complaint. The plaintiff chose not to do so.
                                                                          9   While this forfeiture may sometimes lead to unfortunate results where individuals who take
                                                                         10   socially-desirous actions fail to be granted protection, this conclusion comes as the result of that
United States District Court




                                                                         11   individual’s own delay and does not bear upon the availability of Section 78u-6(h) relief.
                               For the Northern District of California




                                                                         12          Because plaintiff did not file a complaint to the SEC, he is not a “whistleblower” under
                                                                         13   the Dodd-Frank Act. 15 U.S.C. 78u-6(a)(6). For the reasons discussed above, Section 78u-6(h)
                                                                         14   only extends “whistleblower protection” to individuals who qualify as “whistleblowers” under
                                                                         15   Dodd-Frank. Plaintiff’s first claim for relief is therefore dismissed. Likewise, the Dodd-Frank
                                                                         16   and Sarbanes-Oxley bases for plaintiff’s third claim are also dismissed.
                                                                         17      B. Wrongful Termination in Violation of Public Policy
                                                                         18          Banko’s second claim for relief contends he was wrongfully terminated in violation of
                                                                         19   public policy. According to Banko, he was fired in response to his report of Roe’s
                                                                         20   embezzlement. This retaliatory firing, according to Banko, violates the public policies against
                                                                         21   embezzlement, illegitimate corporate tax deductions, and encouragement of whistleblowing.
                                                                         22   Apple moves to dismiss, arguing the complaint fails to state a claim because it omits reference to
                                                                         23   specific public policy and avers only a violation of non-actionable Apple policy.
                                                                         24          In the complaint, Banko specifically avers that his termination violates the policy behind
                                                                         25   both the Sarbanes-Oxley and Dodd-Frank Acts. Apple’s suggestion that an action cannot be
                                                                         26   against both public policy and company policy is unpersuasive. To hold otherwise would grant
                                                                         27   companies license to nullify wrongful termination for violation of public policy suits simply by
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                                                                                                                                                               NO. 13-CV-02977 RS
                                                                                                                                       ORDER PARTIALLY GRANTING MOTION TO DISMISS
                                                                                                                               10
                                                                                       Case 3:13-cv-02977-VC Document 29 Filed 09/27/13 Page 11 of 14




                                                                          1   enacting corresponding internal prohibitions. The authority to which Apple points extends only
                                                                          2   to the proposition that alleged violations of internal policies do not, by themselves, suffice to
                                                                          3   support a claim for wrongful termination in violation of public policy. See e.g., Turner v.
                                                                          4   Anheuser-Busch, Inc., 7 Cal. 4th 1238, 1257 (1994). Defendant’s motion to dismiss plaintiff’s
                                                                          5   second claim for relief therefore must be denied.
                                                                                 C. Breach of Employment Contract and Breach of Implied Covenant of Good Faith and Fair
                                                                          6          Dealing
                                                                          7          Plaintiff’s fourth and fifth claims sound in contract and aver that Apple violated an
                                                                          8   employment agreement between the parties as well as the implied covenant of good faith and fair
                                                                          9   dealing contained in that purported contract. According to Banko, he was given multiple
                                                                         10   assurances of continued employment at Apple, thereby transforming his employment beyond “at-
United States District Court




                                                                         11   will.” Those assurances include: positive performance reviews, merit-based pay-raises,
                               For the Northern District of California




                                                                         12   assurances that he would not be terminated arbitrarily, oral representations from his supervisor
                                                                         13   that she would back him up with respect to continued employment, and representations by Apple
                                                                         14   management that he would be employed by Apple so long as his performance was satisfactory
                                                                         15   and only terminated for cause. According to Banko, these assurances, along with Apple’s policy
                                                                         16   of putting employees on performance improvement plans prior to terminating them, constituted a
                                                                         17   contract and an implied promise to terminate his employment only for good cause. He avers that
                                                                         18   Apple failed to fulfill its obligation to adhere to this purported employment contract in good
                                                                         19   faith. Apple moves to dismiss for failure to state a claim, arguing: (1) the complaint fails to
                                                                         20   allege facts establishing Banko was not an “at-will” employee; (2) Banko has not alleged any
                                                                         21   facts establishing under what circumstances Apple could terminate his employment; (3) there
                                                                         22   was no implied covenant of good faith and fair dealing as the parties did not have an operative
                                                                         23   employment contract; and (4) Banko’s fifth claim does not present facts in addition to those upon
                                                                         24   which his fourth claim is predicated.
                                                                         25          In California, employment having no specified term is presumed to be on an “at-will”
                                                                         26   basis. Cal. Labor Code § 2922. The parties do not dispute that Banko’s employment was never
                                                                         27   for a specified term and began as an “at-will” employment. Banko’s contention, and the
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                                                                                                                                                               NO. 13-CV-02977 RS
                                                                                                                                       ORDER PARTIALLY GRANTING MOTION TO DISMISS
                                                                                                                               11
                                                                                         Case 3:13-cv-02977-VC Document 29 Filed 09/27/13 Page 12 of 14




                                                                          1   dispositive issue for defendant’s motion to dismiss the fourth claim, is whether Apple’s
                                                                          2   assurances to Banko during his 12-year employment were sufficient to shift Banko’s
                                                                          3   employment from “at-will.” The presumption to that effect can be altered or limited by oral
                                                                          4   agreement between an employer and employee. Guz v. Bechtel Nat. Inc., 24 Cal. 4th 317, 336
                                                                          5   (2000).
                                                                          6             One such potential alteration arises when an employer makes a guarantee to the employee
                                                                          7   that he will only be fired for good cause. Foley v. Interactive Data Corp., 47 Cal. 3d 654, 677
                                                                          8   (1988). The contractual understanding need not be express, but may be implied in fact, arising
                                                                          9   from the parties' conduct evidencing their actual mutual intent to create such enforceable
                                                                         10   limitations. Guz, 24 Cal. 4th at 336. In California, courts consider whether an employment
United States District Court




                                                                         11   contract is more than “at-will” by looking to “the personnel policies or practices of the employer,
                               For the Northern District of California




                                                                         12   the employee's longevity of service, actions or communications by the employer reflecting
                                                                         13   assurances of continued employment, and the practices of the industry in which the employee is
                                                                         14   engaged.” Foley, 47 Cal. 3d at 680. As the California Supreme Court explained in Foley,
                                                                         15   “[w]hen the parties have enforceable expectations concerning either the term of employment or
                                                                         16   the grounds or manner of termination, Labor Code section 2922 does not diminish the force of
                                                                         17   such contractual or legal obligations.” Id.
                                                                         18             Neither Banko nor Apple address the Foley factors in their papers, but the application of
                                                                         19   these factors in Foley is instructive here. Like the plaintiff in Foley, Banko avers his employment
                                                                         20   agreement evolved to where he could only be fired for cause. Many of the facts that the Foley
                                                                         21   court found adequate to create a triable issue of fact as to whether or not the parties agreed to fire
                                                                         22   the plaintiff only for good cause are mirrored in the relationship between Banko and Apple. First,
                                                                         23   the Court found six years and nine months to be sufficient elapsed time for a trier of fact to find
                                                                         24   that an implied contract had developed. Id. at 681. Here, Banko was employed for 12 years,
                                                                         25   nearly twice as long as the plaintiff in Foley. Second, as in that case, Banko avers repeated oral
                                                                         26   assurances of job security and consistent promotions, salary increases and bonuses during the
                                                                         27   term of his employment that contributed to his reasonable expectation of discharge only for good
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                                                                                                                                                               NO. 13-CV-02977 RS
                                                                                                                                       ORDER PARTIALLY GRANTING MOTION TO DISMISS
                                                                                                                                12
                                                                                       Case 3:13-cv-02977-VC Document 29 Filed 09/27/13 Page 13 of 14




                                                                          1   cause. Id. Third, just as the defendant in Foley had self-imposed written termination guidelines,
                                                                          2   Banko alleges Apple had a common practice of placing struggling employees on a performance
                                                                          3   improvement plan, which, as in Foley, did not occur here. Id. The presence of these facts in the
                                                                          4   pleadings is sufficient to state a claim for relief for breach of a contract in violation of Banko’s
                                                                          5   evolved right to be subject to termination only for good cause.
                                                                          6          Apple next argues that plaintiff’s complaint fails to state a claim for breach of
                                                                          7   employment contract because it does not specify under what circumstances such a contract could
                                                                          8   be terminated. Apple fails to point to any authority, however, suggesting that such a contention is
                                                                          9   required to show an employment contract is not “at-will” or to state a claim for breach of an
                                                                         10   employment contract. In any event, Apple’s contention ignores the fact that the complaint plainly
United States District Court




                                                                         11   acknowledges Apple could terminate the employment agreement for good cause.
                               For the Northern District of California




                                                                         12          In addition to a contract’s express terms, every contract imposes upon each party a duty
                                                                         13   of good faith and fair dealing in its performance and its enforcement. Foley, 47 Cal. 3d at 765.
                                                                         14   Banko alleges Apple violated the implied covenant in his employment contract by firing him in
                                                                         15   retaliation for his refusal to participate in the cover up of Roe’s embezzlement. This averment,
                                                                         16   coupled with the alleged existence of a contract, is sufficient to state a claim for violation of the
                                                                         17   covenant of good faith and fair dealing.
                                                                         18          Finally, Apple argues Banko’s claim for violation of the covenant of good faith and fair
                                                                         19   dealing should be dismissed because it does not present a factual basis independent from
                                                                         20   Banko’s claim for breach of the employment contract. When an employer’s behavior is
                                                                         21   actionable under breach of contract, a claim for violation of the covenant of good faith and fair
                                                                         22   dealing is only available if the plaintiff alleges the employer took actions beyond the breach of
                                                                         23   contract itself. Guz, 24 Cal. 4th at 352. Here, plaintiff’s claimed violation of the covenant of good
                                                                         24   faith and fair dealing adds nothing to the claim for breach of the employment contract.
                                                                         25          The covenant of good faith and fair dealing, implied by law in every contract, exists
                                                                         26   merely to prevent one contracting party from unfairly frustrating the other party's right to receive
                                                                         27   the benefits of the agreement actually made. Id. at 349. The complaint fails to plead any facts to
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                                                                                                                                                               NO. 13-CV-02977 RS
                                                                                                                                       ORDER PARTIALLY GRANTING MOTION TO DISMISS
                                                                                                                                13
                                                                                       Case 3:13-cv-02977-VC Document 29 Filed 09/27/13 Page 14 of 14




                                                                          1   support Apple acted to frustrate Banko’s ability to fulfill his end of the bargain other than by
                                                                          2   firing him, behavior which is actionable under his breach of contract claim. Had Apple taken
                                                                          3   steps to undermine Banko’s performance of his obligations under the employment agreement,
                                                                          4   Banko might have the basis for a claim based on violation of the covenant of good faith and fair
                                                                          5   dealing. For example, if Apple agreed to fire Banko only for cause, but then frustrated Banko’s
                                                                          6   ability to perform his contractual obligations, a claim based on the covenant of good faith and
                                                                          7   fair dealing might arise. No evidence of such behavior, however, is present here. To the contrary,
                                                                          8   Banko’s complaint avers he continued to garner favorable performance reviews up until the time
                                                                          9   he was fired. That is to say that the very conduct Banko relies upon to bring his other claims for
                                                                         10   relief is the reason he likely cannot plead facts to support a claim for violation of the covenant of
United States District Court




                                                                         11   good faith and fair dealing. Defendant’s motion to dismiss plaintiff’s fifth claim for relief is
                               For the Northern District of California




                                                                         12   therefore granted.
                                                                         13                                           V.      CONCLUSION
                                                                         14           For the reasons explained above, defendant’s motion to dismiss his first claim for relief
                                                                         15   based on retaliation and the fifth claim, for breach of the implied covenant of good faith and fair
                                                                         16   dealing, is granted with leave to amend. Defendant’s motion to dismiss the wrongful termination
                                                                         17   and breach of employment contract claims is denied. Defendant’s motion to dismiss the
                                                                         18   California Labor Code claim is denied. Plaintiff must file any amended complaint within 30 days
                                                                         19   of the date of this order.
                                                                         20
                                                                         21           IT IS SO ORDERED.
                                                                         22   Dated: 9/26/13
                                                                                                                             RICHARD SEEBORG
                                                                         23                                                  UNITED STATES DISTRICT JUDGE
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                                                                                                                                                               NO. 13-CV-02977 RS
                                                                                                                                       ORDER PARTIALLY GRANTING MOTION TO DISMISS
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     PLAINTIFF’S CONDITIONAL NON-OPPPSOTION TO DEFFENDANT’S   APRIL 23 2024
     REQUEST FOR JUDICIAL NOTICE | 3:23-CV-04597-EMC
                                             Case 3:13-cv-02977-VC Document 30 Filed 10/25/13 Page 1 of 15



                                      1   DAVID J. MICLEAN (SB# 115098)
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                                      6

                                      7   Attorneys for Plaintiff
                                          JOSHUA BANKO
                                      8

                                      9
                                                                       UNITED STATES DISTRICT COURT
                                     10                              NORTHERN DISTRICT OF CALIFORNIA

                                     11
                                          JOSHUA BANKO,                                 Case No. CV 13-02977 RS
                                     12
650-684-1181 Main 650-684-1182 Fax




                                                            Plaintiff(s),
                                     13                                                 FIRST AMENDED COMPLAINT FOR
    100 Marine Parkway Suite 310




                                             v.
     Redwood Shores, CA 94065




                                                                                        DAMAGES FOR:
                                     14
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                                          APPLE, INC., DOES 1-50                           1. VIOLATION OF DODD-FRANK
                                     15                                                       ACT
                                                            Defendant(s).
                                     16                                                    2. WRONGFUL TERMINATION IN
                                                                                              VIOLATION OF PUBLIC
                                     17                                                       POLICY
                                     18                                                    3. RETALIATION
                                     19                                                    4. BREACH OF EMPLOYMENT
                                                                                              CONTRACT
                                     20
                                                                                           5. BREACH OF IMPLIED
                                     21                                                       COVENANT OF GOOD FAITH
                                                                                              AND FAIR DEALING
                                     22

                                     23                                                   JURY TRIAL REQUESTED
                                     24

                                     25

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                                           CASE NO: CV 13-02977 RS                              FIRST AMENDED COMPLAINT FOR DAMAGES
                                                Case 3:13-cv-02977-VC Document 30 Filed 10/25/13 Page 2 of 15



                                      1   I.              PARTIES
                                      2   1.       Plaintiff JOSHUA BANKO (“Mr. Banko”) is an individual and at all times relevant to this

                                      3   action was a resident of Palo Alto located in Santa Clara County.

                                      4   2.       Defendant APPLE, INC. (“Apple”) is a corporation incorporated in the State of California

                                      5   whose principal place of business is within Santa Clara County. Defendant’s entity address is 1

                                      6   Infinite Loop, Cupertino, CA 95014.

                                      7   3.       DOES 1-50 are unknown at this time but are believed to have contributed to the injury

                                      8   sustained by Mr. Banko. DOES 1-50 were at all times relevant to this action employees, agents,

                                      9   and/or members of the Board of Directors of Apple. Mr. Banko is unaware of the true names and

                                     10   capacities of Defendants sued herein as DOES 1-50, inclusive, and therefore sues these Defendants

                                     11   by such fictitious names. Mr. Banko will pray leave of this court to amend this complaint to allege

                                     12   the true names and capacities when ascertained.
650-684-1181 Main 650-684-1182 Fax




                                     13   4.       Mr. Banko is informed and believes, and thereon alleges, that each of the Defendants herein
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                                     14   was, at all times relevant to this action, the agent, employee, representing partner, or joint venturer
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                                     15   of the remaining Defendants and was acting within the course and scope of that relationship. Mr.

                                     16   Banko is further informed and believes, and thereon alleges, that each of the Defendants herein

                                     17   gave consent to, ratified, and authorized the acts alleged herein to each of the remaining

                                     18   Defendants.

                                     19

                                     20   II.      JURISDICTION & VENUE
                                     21   5.       Jurisdiction is proper in the U.S. District Court, Northern District of California pursuant to

                                     22   28 U.S.C. §1331, because the claims asserted herein arise under 15 U.S.C. §78u-6 and 18 U.S.C.

                                     23   §1514A.

                                     24   6.       Venue is proper in the Northern District Court of California pursuant to 28 U.S.C. §1391

                                     25   because both Apple’s location and the location of the wrongful termination are in Santa Clara

                                     26   County, which is located within the geographic region presided over by the Northern District of

                                     27   California.

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                                           CASE NO: CV 13-02977 RS                                         FIRST AMENDED COMPLAINT FOR DAMAGES
                                                 Case 3:13-cv-02977-VC Document 30 Filed 10/25/13 Page 3 of 15



                                      1   III.      GENERAL ALLEGATIONS
                                      2   7.        This whistleblower action, which arises pursuant to, among other statutes, the Dodd-Frank
                                      3   act (15 U.S.C. §78u-6) and Title VIII of the Sarbanes-Oaxley Act of 2002 (18 U.S.C. §1514A), is
                                      4   brought to recover damages sustained by Mr. Banko when Apple, retaliated against him because of
                                      5   his complaints about, and objection to, Employee Roe’s embezzlement of publicly traded
                                      6   corporation’s funds which Mr. Banko reasonably believed to be unlawful and against public policy.
                                      7

                                      8             A.     MR. BANKO’S HIGHLY SUCCESSFUL CAREER AT APPLE.
                                      9   8.        Defendant Apple, a publicly traded corporation, first hired Mr. Banko on or about
                                     10   September 18, 2000.
                                     11   9.        Mr. Banko worked exclusively for Apple from September, 2000 until his termination over
                                     12   12 years later. During his tenure with Apple, Mr. Banko received multiple promotions, led
650-684-1181 Main 650-684-1182 Fax




                                     13   numerous projects and even finished a graduate degree during his employment. Mr. Banko
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                                     14   participated in the development and/or engineering management of numerous high profile products
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                                     15   such as the iPad, iBook, MacBook, MacBook Pro, and MacBook Air. Moreover, in Mr. Banko’s
                                     16   over 12 years with the company, he was a significant contributor in developing more than 22
                                     17   important Apple patents.
                                     18   10.       Mr. Banko’s importance to the company was exemplified by many outstanding
                                     19   performance reviews. These include Apple’s award to Mr. Banko of large discretionary bonuses
                                     20   and raises, all related to his strong performance as an Apple employee.
                                     21   11.       During his tenure at Apple, Mr. Banko’s performance never necessitated any performance
                                     22   improvement plan, nor did Apple ever issue any negative written reviews.
                                     23   12.       Mr. Banko was also assigned the lead on numerous projects and told that he was an
                                     24   extremely valuable member of the company by his supervisor, Ms. Bergeron.
                                     25   13.       Among other projects, Mr. Banko led, designed and managed the engineering development
                                     26   of the iPad. Largely because of Mr. Banko’s efforts, the iPad became one of Apple’s most
                                     27   successful product launches.
                                     28   14.       Following the launch of the iPad, Mr. Banko received a significant bonus, and an e-mail

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                                           CASE NO: CV 13-02977 RS                                        FIRST AMENDED COMPLAINT FOR DAMAGES
                                                Case 3:13-cv-02977-VC Document 30 Filed 10/25/13 Page 4 of 15



                                      1   accompanying the bonus that acknowledged his work on the project. It was communicated to Mr.
                                      2   Banko that he was being awarded a $12,000 bonus for January 02, 2010 because of his persistence
                                      3   and drive to finish his project on the iPad. It was also communicated that Apple was looking
                                      4   forward to Mr. Banko accomplishing great things that year.
                                      5   15.      During his tenure at Apple, Mr. Banko’s supervisor, Ms. Bergeron specifically stated that
                                      6   she would “back-up” and “support” Mr. Banko with respect to his employment at Apple because
                                      7   he was such a valuable employee to Apple.
                                      8

                                      9            B.     MR. BANKO’S ASSIGNMENT TO, AND SUCCESSFUL LEADERSHIP OF,
                                                          ANOTHER HIGH LEVEL APPLE PROJECT.
                                     10

                                     11   16.      In March of 2012 Apple promoted Mr. Banko to the position of “Engineering Manager II”,
                                     12   and assigned him to oversee the engineering of one of the most important and politically sensitive
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                                     13   Apple development projects taking place at that time (the “Project”). The assignment to Mr.
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                                     14   Banko of such a crucial project was yet another acknowledgement by Apple of the high regard it
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                                     15   had for Mr. Banko’s abilities and for his outstanding performance with respect to the previous
                                     16   responsibilities assigned to him over the years.
                                     17   17.      As the Engineering Manager in charge of the Project, Mr. Banko continued to meet design
                                     18   and project deadlines.
                                     19   18.      In or about November, 2012 Mr. Banko’s efforts led to the completion of a successful build
                                     20   of a prototype for the Project within the Project deadline for the build.
                                     21   19.      On December 18, 2012 a meeting was held regarding the Project and its status. No
                                     22   complaints were lodged with respect to any aspect on the Project. In fact, the Project was going so
                                     23   well that on December 21, 2012 Apple congratulated the Project team on completing a prototype
                                     24   system build before the holidays. (Mr. Banko’s superiors did not think it would be possible to
                                     25   complete the system build prototype that soon.) Apple communicated to Mr. Banko that the team
                                     26   had done excellent work and pulled off a successful Pre-Proto system build in time for the holidays
                                     27   which many thought would not be possible before the holiday.
                                     28   20.      On that same day, a physical prototype arrived at Apple. It was enthusiastically received by

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                                           CASE NO: CV 13-02977 RS                                        FIRST AMENDED COMPLAINT FOR DAMAGES
                                                Case 3:13-cv-02977-VC Document 30 Filed 10/25/13 Page 5 of 15



                                      1   key personnel at Apple in the Industrial Design Department.
                                      2   21.      Apple subsequently shut down for its customary holiday break from December 22, 2012 to
                                      3   January 2, 2013.
                                      4   22.      Within a day after returning to work after the holidays, Mr. Banko learned he had been
                                      5   given a significant discretionary bonus in relation to his work on the Project.
                                      6
                                                   C.       BACKGROUND OF EMPLOYEE ROE, A DIRECT REPORT TO MR.
                                      7                     BANKO.
                                      8   23.      One of the Apple employees that reported directly to Mr. Banko during his tenure at Apple
                                      9   was Employee Roe1, another engineer. In or about August, 2011, Mr. Banko promoted Employee
                                     10   Roe, and provided her with a pay raise and a stock grant. The raise and grant were of the level
                                     11   commensurate with Employee Roe’s performance and promotion.
                                     12   24.      Two months later, in or about October, 2011, Stacey Smith, the senior human resources
650-684-1181 Main 650-684-1182 Fax




                                     13   director at Apple Inc., unilaterally altered the raise recommended by Mr. Banko, and increased
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                                     14   Employee Roe’s bonus by 30% (from $13,500 to $17,500) and her stock grant by 66% (from 300
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                                     15   to 500 shares). He did this without prior notice to either Mr. Banko or Mr. Banko’s supervisor,
                                     16   Kate Bergeron. Moreover, there was no explanation provided to justify this action.
                                     17   25.      Ms. Bergeron made no effort to correct or protest this unilateral action of Mr. Smith.
                                     18   26.      In or about March of 2012, Mr. Smith again provided Employee Roe with favored
                                     19   treatment by unilaterally awarding her a pay increase of $40,000 and a grant of 1500 Restricted
                                     20   Stock Units (over seven times the size of the additional amount he had unilaterally given her in
                                     21   August of 2011). These substantial increases in Employee Roe’s compensation took place without
                                     22   the knowledge of either Mr. Banko or his supervisor Ms. Bergeron.
                                     23   27.      Once again, Ms. Bergeron made no effort to correct or protest this unilateral action of Mr.
                                     24   Smith.
                                     25   28.      Mr. Banko was later told that the justification for the March, 2012 increase was Employee
                                     26   Roe’s claim that she was leaving Apple for a job at Facebook, and receiving a substantial increase
                                     27

                                     28            1
                                                       The term Employee Roe is used to protect the individual’s privacy.
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                                           CASE NO: CV 13-02977 RS                                        FIRST AMENDED COMPLAINT FOR DAMAGES
                                                Case 3:13-cv-02977-VC Document 30 Filed 10/25/13 Page 6 of 15



                                      1   in compensation in connection with her new position. The increased compensation Mr. Smith gave
                                      2   to Employee Roe was supposedly to entice Employee Roe to stay at Apple. However, to Mr.
                                      3   Banko’s knowledge, Employee Roe never provided anyone at Apple with any proof that she had
                                      4   ever received an actual offer from Facebook, including Mr. Smith.
                                      5
                                                   D.     MR. BANKO’S DISCOVERY AND REPORTING OF EMBEZZLEMENT BY
                                      6                   EMPLOYEE ROE.
                                      7   29.      Unbeknownst to Mr. Banko, Employee Roe had been submitting expense reports which
                                      8   included charges that consisted of either personal expenses, and/or expenses that could not be
                                      9   documented.
                                     10   30.      In early 2012, Mr. Banko began to notice the irregularities on Employee Roe’s expense
                                     11   reports. In or about January, 2012, Mr. Banko met with and directed Employee Roe to remove
                                     12   fraudulent charges off her expense report. Yet, even though Employee Roe inflated her expenses,
650-684-1181 Main 650-684-1182 Fax




                                     13   she was awarded a bonus in or around February 2012.
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                                     14   31.      In or about December, 2012, Mr. Banko again discovered inconsistencies in another of
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                                     15   Employee Roe’s expense reports in which she inflated her expenses. When Mr. Banko highlighted
                                     16   these issues and asked Employee Roe to remedy them, Employee Roe failed to fix them.
                                     17   32.      Upon Employee Roe’s refusal to remedy her expense reports, Mr. Banko had a reasonable
                                     18   belief that Employee Roe was violating both Apple policy and the law and that he was required to
                                     19   report her.
                                     20   33.      Mr. Banko’s supervisors instructed Mr. Banko not to report Employee Roe, in essence
                                     21   asking him to cover up and be complicit in the embezzlement of Employee Roe.
                                     22   34.      Notwithstanding his superiors’ instructions to ignore the situation, Mr. Banko reported the
                                     23   embezzlement.
                                     24   35.      As a result of Mr. Banko’s reporting of Employee Roe, Apple conducted an internal audit
                                     25   in order to determine if Employee Roe had misrepresented expenses on her expense reports and, if
                                     26   so, the extent of Employee Roe’s falsified expense reports.
                                     27   36.      Apple’s internal audit resulted in the discovery of over 40 instances of fraudulent expense
                                     28   reports in which Employee Roe either inflated or falsified expenses for which she obtained

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                                           CASE NO: CV 13-02977 RS                                        FIRST AMENDED COMPLAINT FOR DAMAGES
                                                Case 3:13-cv-02977-VC Document 30 Filed 10/25/13 Page 7 of 15



                                      1   reimbursement from Apple.
                                      2   37.      Based on Apple’s policies, and Mr. Banko’s reasonable belief that Employee Roe’s actions
                                      3   represented embezzlement from Apple, Mr. Banko recommended Employee Roe’s immediate
                                      4   termination for fraud and embezzlement of company funds.
                                      5   38.      To Mr. Banko’s surprise both his supervisor (Ms. Bergeron) and Ms. Bergeron’s supervisor
                                      6   (Doug Field) informed Mr. Banko that he should not pursue the termination of Employee Roe,
                                      7   stating she was a valuable employee (apparently even with her lack of loyalty to Apple and her
                                      8   embezzlement).
                                      9   39.      Because of the legal implications of Employee Roe’s actions, and the fact he reasonably
                                     10   believed he was obligated by law and Apple policy to terminate Employee Roe, Mr. Banko
                                     11   approached Mr. Victor Cousins of Apple’s Human Resources department.
                                     12   40.      Following his review of the facts, Mr. Cousins wrote a report recommending termination of
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                                     13   Employee Roe on or around December 21, 2012.
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     Redwood Shores, CA 94065




                                     14   41.      Thereafter a meeting was held that involved, at a minimum, Ms. Bergeron and Mr. Field
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                                     15   regarding Employee Roe. Mr. Banko was not invited to participate in the meeting, even though
                                     16   Employee Roe was his direct report and he was typically included in such meetings.
                                     17   42.      On December 21, 2012, Ms. Bergeron informed Employee Roe that Apple was terminating
                                     18   her employment, effective December 31, 2012.
                                     19   43.      Ms. Bergeron and Mr. Field, as well as Mr. Smith and others were upset that Mr. Banko
                                     20   had reported Employee Roe and had recommended her termination against their wishes.
                                     21   44.      Notwithstanding the turmoil Mr. Banko had to navigate during late 2012 regarding
                                     22   Employee Roe, he successfully continued to complete his duties overseeing the engineering of the
                                     23   Project.
                                     24

                                     25            E.     MR. BANKO’S TERMINATION FOLLOWING THE TERMINATION OF
                                     26                   EMPLOYEE ROE.

                                     27   45.      Apple was shut down for the holidays from December 22, 2012 through January 2, 2013.
                                     28   Mr. Banko received no indication that there were any complaints or concerns regarding the Project

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                                           CASE NO: CV 13-02977 RS                                      FIRST AMENDED COMPLAINT FOR DAMAGES
                                                Case 3:13-cv-02977-VC Document 30 Filed 10/25/13 Page 8 of 15



                                      1   during that time. In fact, he had received praise and congratulations for successfully completing a
                                      2   prototype on schedule before the holiday break.
                                      3   46.      Immediately after his return from the holidays, Mr. Banko received a significant
                                      4   discretionary bonus in relation to his work on the Project. Thus, by all indications everything in
                                      5   relation to the Project was not only going well, but Mr. Banko was being rewarded for how well he
                                      6   was doing with respect to leading the Project.
                                      7   47.      Suddenly and without warning, on or around January 9, 2013, nine days after Employee
                                      8   Roe’s termination date, Mr. Banko was called into a meeting with Ms. Bergeron and Mike Ignaffo,
                                      9   a member of Apple’s human resources department. During this meeting, Mr. Banko was pulled off
                                     10   the Project and told to stay home the rest of the week and return on Monday, January 14, 2013. Mr.
                                     11   Banko was shocked as he recognized such action as that typical of terminations.
                                     12   48.      During the meeting Mr. Banko asked the reason for the action. Neither Ms. Bergeron nor
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                                     13   Mr. Ignaffo was able to provide a justification for the action. Although asked directly, there was
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     Redwood Shores, CA 94065




                                     14   no mention of poor performance on the part of Mr. Banko.
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                                     15   Upon his return on January 14, 2013, Mr. Banko was terminated from his position at Apple after
                                     16   over 12 years with the company.
                                     17
                                                                           FIRST CAUSE OF ACTION
                                     18                                 VIOLATION OF DODD-FRANK ACT
                                     19   49.      Paragraphs 1-48 are incorporated herein by reference.
                                     20   50.      15 U.S.C. §78u-6 states no employer may discharge or in any other manner discriminate
                                     21   against, a whistleblower in the terms and conditions of employment because of any lawful act done
                                     22   by the whistleblower in providing information that is required or protected under the Sarbanes-
                                     23   Oxley Act, the Securities Exchange Act of 1934, and any other law, rule, or regulation subject to
                                     24   the jurisdiction of the Commission. (15 U.S.C. §78u-6 (h) (1) (A) (iii)).
                                     25   51.      Apple has violated 15 U.S.C. §78u-6(h)(1) because the decision to terminate Mr. Banko’s
                                     26   employment was motivated by Mr. Banko’s disclosures which are protected by Section 806 of the
                                     27   Sarbanes-Oxley Act (18 U.S.C. §1514A).
                                     28   52.      Apple is governed by the Sarbanes-Oxley Act because, upon information and belief, it (a)

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                                           CASE NO: CV 13-02977 RS                                         FIRST AMENDED COMPLAINT FOR DAMAGES
                                                Case 3:13-cv-02977-VC Document 30 Filed 10/25/13 Page 9 of 15



                                      1   has a “class of securities registered under section 12 of the Securities Exchange Act of 1934 (15
                                      2   U.S.C. §781), and (b) it is required to file reports under section 15(d) of the Securities Exchange
                                      3   Act of 1934 (15 U.S.C. §78o (d)). (18 U.S.C. §1514A (a)).
                                      4   53.      Mr. Banko engaged in activity that is protected by Section 806 of the Sarbanes Oxley Act
                                      5   (18 U.S.C. §1514A) when he informed Apple’s officers and/or management of conduct which he
                                      6   reasonably believed to be in violation of federal law relating to fraud against shareholders.
                                      7   54.      In or about December, 2012, Apple’s officers and/or management advised Mr. Banko not to
                                      8   report the embezzlement of Employee Roe. Having a reasonable belief that the theft had occurred
                                      9   and that he was obligated to report it, Mr. Banko did so.
                                     10   55.      In or about December, 2012, Apple’s officers and/or management advised Mr. Banko not to
                                     11   pursue the termination of Employee Roe after she had been found to have embezzled funds on 40
                                     12   separate occasions in violation of Apple policy and the law.
650-684-1181 Main 650-684-1182 Fax




                                     13   56.      Mr. Banko recommended her termination to his supervisors, and then terminated her,
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                                     14   against the wishes of his supervisors.
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                                     15   57.      As a proximate result of Mr. Banko’s conduct as described in Paragraph 29-48 above,
                                     16   Apple terminated him within 14 days of Employee Roe’s termination.
                                     17   58.      As a proximate result of Apple’s conduct, Mr. Banko has suffered harm, including lost
                                     18   earnings and other employment benefits, humiliation, embarrassment, and mental anguish, and
                                     19   other special and general damages, all to his damage in an amount to be established at trial.
                                     20   59.      Mr. Banko is informed and believes and thereupon alleges that the fictitious Defendants
                                     21   named as DOES 1 through 50, inclusive, aided, abetted, incited, compelled, coerced or conspired
                                     22   to commit one or more of the acts alleged herein.
                                     23   60.      In committing the acts set forth above, Apple and the other Defendants knew that the
                                     24   conduct that they would have required of Mr. Banko was unlawful, and required Mr. Banko to
                                     25   choose between violating the law and/or Apple policy and losing his job. Notwithstanding this
                                     26   knowledge, Apple subjected Mr. Banko to cruel and unjust hardship in conscious disregard of Mr.
                                     27   Banko’s rights by resisting Mr. Banko’s efforts to report and subsequently terminate the
                                     28   embezzling Employee Roe and then terminating Mr. Banko’s employment when he acted in

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                                           CASE NO: CV 13-02977 RS                                       FIRST AMENDED COMPLAINT FOR DAMAGES
                                            Case 3:13-cv-02977-VC Document 30 Filed 10/25/13 Page 10 of 15



                                      1   accordance with Apple policy and the law. Apple’s conduct warrants the assessment of punitive
                                      2   damages.
                                      3   61.    WHEREFORE, Mr. Banko requests relief as hereinafter provided.
                                      4
                                                                 SECOND CAUSE OF ACTION
                                      5              WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY
                                      6   62.    Paragraphs 1-61 are incorporated herein by reference.
                                      7   63.    In or about December, 2012, Apple’s officers and/or management advised Mr. Banko not to
                                      8   pursue the investigation and/or termination of Employee Roe who had been found to embezzle
                                      9   funds on 40 separate occasions in violation of Apple policy and the law. Having a reasonable
                                     10   belief that the theft had occurred and that he was obligated to report it, Mr. Banko did so.
                                     11   64.    Employee Roe’s embezzlement of a publicly traded corporation’s funds harms the general
                                     12   public by impacting the millions of Apple shareholders, and by creating tax irregularities
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                                     13   (deduction of illegitimate expenses as business expenses) which in turn could harm Apple and its
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     Redwood Shores, CA 94065




                                     14   millions of shareholders. Enforcing laws and policies with respect to illegal acts by employees
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                                     15   increases the value of the company and thereby benefits the public who owns Apple and increases
                                     16   taxable revenue of the company.
                                     17   65.      As a proximate result of Mr. Banko’s conduct as described in Paragraph 63, above, and in
                                     18   violation of public policy as set forth in Paragraph 64 above, Apple terminated Mr. Banko’s
                                     19   employment.
                                     20   66.     As a proximate result of Apple’s conduct, Mr. Banko has suffered harm, including lost
                                     21   earnings and other employment benefits, humiliation, embarrassment, and mental anguish, and
                                     22   other special and general damages, all to his damage in an amount to be established at trial.
                                     23   67.    Mr. Banko is informed and believes and thereupon alleges that the fictitious Defendants
                                     24   named as DOES 1 through 50, inclusive, aided, abetted, incited, compelled, coerced or conspired
                                     25   to commit one or more of the acts alleged herein.
                                     26   68.    In committing the acts set forth above, Apple and the other Defendants knew that the
                                     27   conduct that they would have required of Mr. Banko was unlawful, and required Mr. Banko to
                                     28   choose between violating the law and/or Apple policy and losing his job. Notwithstanding this

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                                           CASE NO: CV 13-02977 RS                                        FIRST AMENDED COMPLAINT FOR DAMAGES
                                             Case 3:13-cv-02977-VC Document 30 Filed 10/25/13 Page 11 of 15



                                      1   knowledge, Apple subjected Mr. Banko to cruel and unjust hardship in conscious disregard of Mr.
                                      2   Banko’s rights by resisting Mr. Banko’s efforts to report and subsequently terminate the
                                      3   embezzling Employee Roe and then terminating Mr. Banko’s employment when he acted in
                                      4   accordance with Apple policy and the law. Apple’s conduct warrants the assessment of punitive
                                      5   damages.
                                      6   69.     WHEREFORE, Mr. Banko requests relief as hereinafter provided.
                                      7                                   THIRD CAUSE OF ACTION
                                                                               RETALIATION
                                      8                (15 USC §78u-6, 18 USC §1514A and California Labor Code §1102.5)
                                      9   70.     Paragraphs 1-69 are incorporated herein by reference.
                                     10   71.     This cause of action is brought pursuant to 15 USC §78u-6, 18 USC §1514A and California
                                     11   Labor Code §1102.5
                                     12   72.     Because Mr. Banko engaged in protected activities, such as not covering up embezzlement,
650-684-1181 Main 650-684-1182 Fax




                                     13   not becoming complicit in the embezzlement, and reporting the embezzlement within a publicly
    100 Marine Parkway Suite 310
     Redwood Shores, CA 94065




                                     14
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                                          traded company, as alleged above, Mr. Banko was subjected to adverse actions.
                                     15   73.     Apple and/or the other Defendants and each of them acting in the course and scope of their
                                     16   employment and as representatives of Apple retaliated against Mr. Banko by the acts and conduct
                                     17   described above, which materially affected Mr. Banko’s terms of employment.
                                     18   74.     15 USC §78u-6 and 18 USC §1514A makes it illegal for an employer to retaliate against an
                                     19   employee who reports embezzlement.
                                     20   75.     California Labor Code makes it illegal for an employer to retaliate against an employee for
                                     21   refusing to participate in an activity that would result in a violation of state or federal statute, or a
                                     22   violation or noncompliance with a state or federal rule or regulation.
                                     23   76.     As a proximate result of Apple’s conduct, Mr. Banko has suffered harm, including lost
                                     24   earnings and other employment benefits, humiliation, embarrassment, and mental anguish, and
                                     25   other special and general damages, all to his damage in an amount to be established at trial.
                                     26   77.     Mr. Banko is informed and believes and thereupon alleges that the fictitious Defendants
                                     27   named as DOES 1 through 50, inclusive, aided, abetted, incited, compelled, coerced or conspired
                                     28   to commit one or more of the acts alleged herein.

                                                                                              11
                                           CASE NO: CV 13-02977 RS                                           FIRST AMENDED COMPLAINT FOR DAMAGES
                                            Case 3:13-cv-02977-VC Document 30 Filed 10/25/13 Page 12 of 15



                                      1   78.    In doing the things herein alleged, the conduct of Apple and each of the other Defendants
                                      2   was despicable and each Defendant acted towards Mr. Banko with malice, oppression, fraud, and
                                      3   with a willful and conscious disregard of Mr. Banko’s rights. Each of the Defendants ratified,
                                      4   authorized and condoned the conduct of each and every other Defendant and managing agent,
                                      5   entitling Mr. Banko to an award of punitive and exemplary damages.
                                      6   79.    WHEREFORE, Mr. Banko requests relief as hereinafter provided.
                                      7                                  FOURTH CAUSE OF ACTION
                                                                     BREACH OF EMPLOYMENT CONTRACT
                                      8

                                      9   80.    Paragraphs 1-79 are incorporated herein by reference.

                                     10   81.    Mr. Banko was employed by Apple for 12 years. During the entirety of his employment

                                     11   with Apple, he consistently received either good or excellent performance evaluations and merit

                                     12   raises, was assured on numerous occasions that he would not be terminated arbitrarily, and was
650-684-1181 Main 650-684-1182 Fax




                                     13   told by his supervisor that she would support him and back him up with respect to continued
    100 Marine Parkway Suite 310
     Redwood Shores, CA 94065




                                     14   employment.
        Miclean Gleason LLP




                                     15   82.    Apple normally has a course of conduct and a policy of putting employees on performance

                                     16   improvement plans prior to terminating them.

                                     17   83.    Based on the oral representations, promises, and/or conduct of Apple and/or the other

                                     18   Defendants, Mr. Banko had an employment contract with Apple stating that he would be employed

                                     19   by Apple so long as his performance was satisfactory, and that Apple and/or the other Defendants

                                     20   would not discharge him without good and just cause.

                                     21   84.    The terms of the employment contract included, but were not limited to, the following:

                                     22   Apple and/or the other Defendants would not demote or discharge Mr. Banko without good cause

                                     23   and fair warning, based on objective, reasonable job evaluations of Mr. Banko, and following an

                                     24   opportunity to participate in a performance improvement plan.

                                     25   85.    Mr. Banko at all times fulfilled his duties and conditions under the contract and has been

                                     26   ready, willing, and able to continue performing them in a competent and satisfactory manner.

                                     27   86.     Notwithstanding the implied promise to terminate the employment contract only for good

                                     28   cause, on or about January 16, 2013, Apple and the other Defendants terminated Mr. Banko’s

                                                                                          12
                                           CASE NO: CV 13-02977 RS                                       FIRST AMENDED COMPLAINT FOR DAMAGES
                                            Case 3:13-cv-02977-VC Document 30 Filed 10/25/13 Page 13 of 15



                                      1   employment and later alleged grounds of poor performance, even though Mr. Banko had received
                                      2   consistently good performance evaluations, had received merit raises and bonuses, including a
                                      3   substantial discretionary merit bonus less than 2 weeks before his termination.
                                      4   87.    Mr. Banko is informed and believes and thereupon alleges that the fictitious Defendants
                                      5   named as DOES 1 through 50, inclusive, aided, abetted, incited, compelled, coerced or conspired
                                      6   to commit one or more of the acts alleged herein.
                                      7   88.     As a proximate result of Apple and the other Defendants’ breach of the employment
                                      8   contract, Mr. Banko has suffered and continues to suffer losses in earnings and other employment
                                      9   benefits, to his damage in an amount to be established at trial.
                                     10   89.    WHEREFORE, Mr. Banko requests relief as hereinafter provided.
                                     11                                   FIFTH CAUSE OF ACTION
                                                                      BREACH OF IMPLIED COVENANT OF
                                     12                                GOOD FAITH AND FAIR DEALING
650-684-1181 Main 650-684-1182 Fax




                                     13   90.    Paragraphs 1-89 are incorporated herein by reference.
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     Redwood Shores, CA 94065




                                     14
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                                          91.    The employment agreement referred to above contained an implied covenant of good faith
                                     15   and fair dealing, which obligated Apple and/or the other Defendants to perform the terms and
                                     16   conditions of the agreement fairly and in good faith and to refrain from doing any act that would
                                     17   prevent or impede Mr. Banko from performing any or all of the conditions of the contract that he
                                     18   agreed to perform, or any act that would deprive Mr. Banko of the benefits of the contract.
                                     19   92.    Mr. Banko was employed by Apple for 12 years, and reasonably relied on the provisions of
                                     20   the implied agreement regarding the causes for which employees could be discharged or demoted
                                     21   and the procedures set forth for such discharges for the expectation that Apple and/or the other
                                     22   Defendants would apply its policies even-handedly to afford Mr. Banko the protections of those
                                     23   procedures if Apple and/or the other Defendants believed there was cause to discharge Mr. Banko.
                                     24   93.    Apple and/or the other Defendants breached the implied covenant of good faith and fair
                                     25   dealing under the employment agreement by, among other actions, taking steps to undermine Mr.
                                     26   Banko’s performance of his employment obligations, and, in fact, making it impossible for Mr.
                                     27   Banko to perform his job. To this end, Apple’s actions, through Mr. Banko’s direct supervisors’,
                                     28   show that Apple ultimately required that Mr. Banko violate company policies and the law. The

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                                           CASE NO: CV 13-02977 RS                                           FIRST AMENDED COMPLAINT FOR DAMAGES
                                               Case 3:13-cv-02977-VC Document 30 Filed 10/25/13 Page 14 of 15



                                      1   actions of Apple frustrated and undermined Mr. Banko’s ability to perform his job by creating a
                                      2   situation whereby to properly perform in the view of his supervisors required him to choose to
                                      3   directly violate company policy and the law, thus causing disruption with his duties as Engineering
                                      4   Manager.
                                      5   94.      In addition to the above, Mr. Banko was one of the inventors of certain Apple Technology.
                                      6   As an inventor, Mr. Banko was entitled to, and had earned a bonus prior to his termination. Apple
                                      7   further breached the implied covenant of good faith and fair dealing by terminating Mr. Banko in
                                      8   order to justify not paying Mr. Banko the bonus he had already earned in relation to his work on
                                      9   the Apple invention.
                                     10   95.      Mr. Banko is informed and believes and thereupon alleges that the fictitious Defendants
                                     11   named as DOES 1 through 50, inclusive, aided, abetted, incited, compelled, coerced or conspired
                                     12   to commit one or more of the acts alleged herein.
650-684-1181 Main 650-684-1182 Fax




                                     13   96.      As a proximate result of Apple and/or the other Defendants’ breach of the implied
    100 Marine Parkway Suite 310
     Redwood Shores, CA 94065




                                     14   covenant of good faith and fair dealing, Mr. Banko has suffered, and continues to suffer, losses in
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                                     15   earning and other employment benefits, to his damage in an amount to be established at trial.
                                     16   97.      As a further proximate result of Apple and/or the other Defendants’ breach of the implied
                                     17   covenant of good faith and fair dealing, Mr. Banko has incurred reasonable attorney’s fees in
                                     18   attempting to secure the benefits owed him under the employment contract.
                                     19   98.      WHEREFORE, Mr. Banko requests relief as hereinafter provided.
                                     20

                                     21   IV.      PRAYER FOR RELIEF
                                     22   WHEREFORE, Plaintiff prays for judgment and relief as follows:
                                     23   1.       For a money judgment representing compensatory damages including lost wages, earnings,
                                     24   retirement benefits and other employee benefits, and all other sums of money, together with
                                     25   interest on these amounts, according to proof;
                                     26   2.       For a money judgment for mental pain and anguish and emotional distress, according to
                                     27   proof;
                                     28   3.       For an award of exemplary and punitive damages, according to proof;

                                                                                            14
                                           CASE NO: CV 13-02977 RS                                       FIRST AMENDED COMPLAINT FOR DAMAGES
                                               Case 3:13-cv-02977-VC Document 30 Filed 10/25/13 Page 15 of 15



                                      1   4.      For costs of suit and attorney's fees;
                                      2   5.      For pre-judgment and post-judgment interest; and
                                      3   6.      For such other and further relief as the court deems just and proper.
                                      4

                                      5   V.      REQUEST FOR JURY TRIAL
                                      6           Plaintiff Joshua Banko hereby requests trial by Jury.
                                      7

                                      8

                                      9   DATED: October 25, 2013                          MICLEAN GLEASON LLP
                                     10

                                     11
                                                                                           By __ _______________________
                                     12                                                           David J. Miclean
650-684-1181 Main 650-684-1182 Fax




                                                                                                  Gary R. Gleason
                                     13                                                           Attorneys for Plaintiff Joshua Banko
    100 Marine Parkway Suite 310
     Redwood Shores, CA 94065




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        Miclean Gleason LLP




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                                           CASE NO: CV 13-02977 RS                                         FIRST AMENDED COMPLAINT FOR DAMAGES
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10                         EXHIBIT F
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12             Banko v Apple (2013), Apple’s Second Motion to Dismiss
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     PLAINTIFF’S CONDITIONAL NON-OPPPSOTION TO DEFFENDANT’S    APRIL 23 2024
     REQUEST FOR JUDICIAL NOTICE | 3:23-CV-04597-EMC
Case 3:13-cv-02977-VC Document 32 Filed 11/07/13 Page 1 of 22
Case 3:13-cv-02977-VC Document 32 Filed 11/07/13 Page 2 of 22
Case 3:13-cv-02977-VC Document 32 Filed 11/07/13 Page 3 of 22
Case 3:13-cv-02977-VC Document 32 Filed 11/07/13 Page 4 of 22
Case 3:13-cv-02977-VC Document 32 Filed 11/07/13 Page 5 of 22
Case 3:13-cv-02977-VC Document 32 Filed 11/07/13 Page 6 of 22
Case 3:13-cv-02977-VC Document 32 Filed 11/07/13 Page 7 of 22
Case 3:13-cv-02977-VC Document 32 Filed 11/07/13 Page 8 of 22
Case 3:13-cv-02977-VC Document 32 Filed 11/07/13 Page 9 of 22
Case 3:13-cv-02977-VC Document 32 Filed 11/07/13 Page 10 of 22
Case 3:13-cv-02977-VC Document 32 Filed 11/07/13 Page 11 of 22
Case 3:13-cv-02977-VC Document 32 Filed 11/07/13 Page 12 of 22
Case 3:13-cv-02977-VC Document 32 Filed 11/07/13 Page 13 of 22
Case 3:13-cv-02977-VC Document 32 Filed 11/07/13 Page 14 of 22
Case 3:13-cv-02977-VC Document 32 Filed 11/07/13 Page 15 of 22
Case 3:13-cv-02977-VC Document 32 Filed 11/07/13 Page 16 of 22
Case 3:13-cv-02977-VC Document 32 Filed 11/07/13 Page 17 of 22
Case 3:13-cv-02977-VC Document 32 Filed 11/07/13 Page 18 of 22
Case 3:13-cv-02977-VC Document 32 Filed 11/07/13 Page 19 of 22
Case 3:13-cv-02977-VC Document 32 Filed 11/07/13 Page 20 of 22
Case 3:13-cv-02977-VC Document 32 Filed 11/07/13 Page 21 of 22
Case 3:13-cv-02977-VC Document 32 Filed 11/07/13 Page 22 of 22
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 9                         EXHIBIT G
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11          Banko v. Apple, Inc., No. 13-02977 RS (N.D. Cal. Dec. 16, 2013)
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     PLAINTIFF’S CONDITIONAL NON-OPPPSOTION TO DEFFENDANT’S       APRIL 23 2024
     REQUEST FOR JUDICIAL NOTICE | 3:23-CV-04597-EMC
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                                                                          6                                 IN THE UNITED STATES DISTRICT COURT
                                                                          7                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8                                       SAN FRANCISCO DIVISION
                                                                          9
                                                                              JOSHUA BANKO,                                            No. 13-02977 RS
                                                                         10
                                                                                               Plaintiff,                              ORDER DENYING IN PART AND
United States District Court




                                                                         11                                                            GRANTING IN PART MOTION TO
                                                                                  v.                                                   DISMISS
                               For the Northern District of California




                                                                         12
                                                                         13   APPPLE, INC., and DOES 1-50,
                                                                         14                Defendants.
                                                                              ____________________________________/
                                                                         15
                                                                         16                                           I.      INTRODUCTION

                                                                         17            Plaintiff Joshua Banko, a former employee of defendant Apple, Inc., filed this action in June

                                                                         18   2013. He asserts five claims for relief, each stemming from the allegation that Apple wrongfully

                                                                         19   terminated his employment. Apple moves to dismiss the first, second, third, and fifth claims alleged

                                                                         20   in Banko’s first amended complaint (FAC). For the following reasons, the motion is denied in part

                                                                         21   and granted in part. While Banko’s second, fourth, and fifth claims can proceed, his first and third

                                                                         22   claims are dismissed with prejudice.

                                                                         23                                           II.     BACKGROUND1

                                                                         24            Banko began working as an engineer for Apple in 2000. Over the following twelve years, he

                                                                         25   earned numerous promotions, positive performance reviews, and discretionary bonuses for his work

                                                                         26   on Apple products. In January 2012, Banko began to notice irregularities in expense reports

                                                                         27
                                                                              1
                                                                         28    The factual background is based on the averments in the FAC, which must be taken as true for
                                                                              purposes of a motion to dismiss.
                                                                                                                                                                  NO. CV 13-02977 RS
                                                                                                                                                                              ORDER
                                                                                    Case 3:13-cv-02977-VC Document 38 Filed 12/16/13 Page 2 of 13




                                                                          1   submitted by Employee Roe, a subordinate engineer.2 Banko directed Roe to remove the allegedly
                                                                          2   fraudulent charges from her reports. Later that year, he noticed further irregularities in Roe’s
                                                                          3   reported expenses. Banko once more raised the issue with Roe, who again failed to remedy the
                                                                          4   errors.
                                                                          5             Banko came to believe that Roe’s actions violated both the law and Apple company policy.
                                                                          6   Operating under the belief that he was obligated to report his subordinates’ wrongful behavior,
                                                                          7   Banko informed his supervisors that Roe had repeatedly filed inaccurate expense reports. His
                                                                          8   supervisors instructed Banko not to report Roe formally to the company. Banko, believing he was
                                                                          9   effectively being asked to cover up employee embezzlement, refused their request and lodged a
                                                                         10   formal complaint with Apple about Roe. As a result, the company conducted an internal audit that
United States District Court




                                                                         11   revealed over forty instances of misrepresentations on Roe’s expense reports. Based on these
                               For the Northern District of California




                                                                         12   results, Banko recommended that Roe be terminated.
                                                                         13             Despite Banko’s recommendation, Apple chose to retain Roe. Banko’s superiors informed
                                                                         14   him that he should cease pursuing Roe’s termination, stating that she was a valuable employee.
                                                                         15   Banko, however, continued to believe he had a legal obligation to stop Roe. He then informed
                                                                         16   Victor Cousins, a member of Apple’s Human Resources department, of Roe’s alleged wrongdoings.
                                                                         17   After investigating the matter, Cousins wrote a report recommending Roe’s termination. She was
                                                                         18   ultimately terminated on December 31, 2012.
                                                                         19             In early January 2013, after returning from a company-wide holiday break, Banko received a
                                                                         20   significant discretionary bonus for his recent work on an important Apple project. On January 9,
                                                                         21   2013, Banko was called into a meeting with his supervisor and another human resources employee.
                                                                         22   He was asked to stay home for the rest of the week – a request Banko understood to indicate that his
                                                                         23   termination was imminent. When he returned to work the following Monday, January 14, 2013,
                                                                         24   Banko was terminated.
                                                                         25             Banko filed suit in June 2013, alleging five claims for relief: (1) violation of the Dodd-Frank
                                                                         26   Act, (2) wrongful termination in violation of public policy, (3) retaliation in violation of the
                                                                         27   Sarbanes-Oxley Act, the Dodd-Frank Act, and California Labor Code § 1102.5, (4) breach of
                                                                         28   2
                                                                                  Employee Roe’s name has been changed to protect her privacy.
                                                                                                                                                                     NO. CV 13-02977 RS
                                                                                                                                                                                 ORDER
                                                                                                                                   2
                                                                                  Case 3:13-cv-02977-VC Document 38 Filed 12/16/13 Page 3 of 13




                                                                          1   employment contract, and (5) breach of the implied covenant of good faith and fair dealing. Apple
                                                                          2   moved to dismiss the complaint in its entirety. The motion was denied in part and granted in part
                                                                          3   with leave to amend. (Docket No. 29). The first claim was dismissed on the grounds that Banko
                                                                          4   does not qualify as a “whistleblower” under the Dodd-Frank Act because he did not report Roe’s
                                                                          5   alleged embezzlement to the Securities and Exchange Commission. Similarly, because Banko did
                                                                          6   not demonstrate that he can avail himself of federal whistleblower protection, the dismissal order
                                                                          7   further found that Banko’s third claim for retaliation is not cognizable under Sarbanes-Oxley or
                                                                          8   Dodd-Frank. That order permitted the third claim to proceed, however, under the theory that Apple
                                                                          9   violated the California Labor Code. Banko’s fifth claim for breach of the implied covenant of good
                                                                         10   faith and fair dealing was dismissed for failure to allege that Apple frustrated his ability to perform
United States District Court




                                                                         11   his contractual obligations. The motion was denied with respect to the second and fourth claims.
                               For the Northern District of California




                                                                         12   Banko proceeded to file the pending FAC. Apple now moves to dismiss the FAC’s first, second,
                                                                         13   third, and fifth claims for relief.
                                                                         14                                          III.    LEGAL STANDARD
                                                                         15           A motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(1) challenges a
                                                                         16   court’s subject matter jurisdiction over the plaintiff’s claims. A challenge to subject matter
                                                                         17   jurisdiction “can be either facial, confining the inquiry to allegations in the complaint, or factual,
                                                                         18   permitting the court to look beyond the complaint.” Savage v. Glendale Union High Sch., 343 F.3d
                                                                         19   1036, 1039 n. 2 (9th Cir. 2003). A complaint may also be dismissed pursuant to Federal Rule of
                                                                         20   Civil Procedure 12(b)(6) for failure to state a claim upon which relief may be granted. A Rule
                                                                         21   12(b)(6) motion may be based on either the lack of a cognizable legal theory or the absence of
                                                                         22   sufficient facts alleged under a cognizable legal theory. Balistreri v. Pacifica Police Dep’t, 901
                                                                         23   F.2d 696, 699 (9th Cir. 1990).
                                                                         24           A complaint must present factual allegations sufficient “to raise a right to relief above the
                                                                         25   speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). Specifically, the factual
                                                                         26   allegations must suffice to state a claim that is “plausible on its face,” that is, “plausibly suggesting
                                                                         27   (not merely consistent with)” a right to relief. Id. at 557, 570. While the factual allegations of the
                                                                         28   complaint are taken as true and all reasonable inferences are drawn in favor of the plaintiff,
                                                                                                                                                                     NO. CV 13-02977 RS
                                                                                                                                                                                 ORDER
                                                                                                                                  3
                                                                                  Case 3:13-cv-02977-VC Document 38 Filed 12/16/13 Page 4 of 13




                                                                          1   “[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory statements,
                                                                          2   do not suffice.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); see also Twombly, 550 U.S. at 555.
                                                                          3   Accordingly, “a court discounts conclusory statements, which are not entitled to the presumption of
                                                                          4   truth, before determining whether a claim is plausible.” Chavez v. United States, 683 F.3d 1102,
                                                                          5   1108 (9th Cir. 2012).
                                                                          6                                                 IV.   DISCUSSION
                                                                          7          A. Banko’s Procedural Objections
                                                                          8          Banko asserts that the bulk of Apple’s motion is procedurally improper. In particular, he
                                                                          9   contends that because the court denied Apple’s prior attempt to dismiss the second and third claims,
                                                                         10   Rule 12(g) bars Apple from challenging those claims again. That rule provides, in pertinent part:
United States District Court




                                                                         11          If a party makes a motion under this rule but omits therefrom any defense or
                                                                                     objection then available to the party which this rule permits to be raised by motion,
                               For the Northern District of California




                                                                         12          the party shall not thereafter make a motion based on the defense or objection so
                                                                                     omitted, except a motion as provided in subdivision (h)(2) hereof on any of the
                                                                         13
                                                                                     grounds there stated.
                                                                         14   Fed. R. Civ. P. 12(g). Rule 12(h)(2), in turn, allows a party to raise a defense of failure to state a
                                                                         15   claim: “(A) in any pleading allowed or ordered under Rule 7(a); (B) by a motion under Rule 12(c);
                                                                         16   or (C) at trial.” Fed. R. Civ. P. 12(h)(2).
                                                                         17          Apple’s motion proceeds on two bases. First, Apple contends the court lacks subject matter
                                                                         18   jurisdiction over the third claim. Federal courts have a continuing obligation to dismiss claims over
                                                                         19   which they lack subject matter jurisdiction. See Fed. R. Civ. P. 12(h)(3). Accordingly, it is entirely
                                                                         20   proper for the court to address whether it has subject matter jurisdiction over Banko’s third claim.
                                                                         21   Second, Apple argues that several of Banko’s claims must be dismissed for failure to state a claim
                                                                         22   upon which relief can be granted. Unlike motions under Rules 12(b)(2)-(5), a motion to dismiss
                                                                         23   under Rule 12(b)(6) is not mandatorily barred when omitted from a prior Rule 12 motion. See Fed.
                                                                         24   R. Civ. P. 12(h)(1). Although Rule 12(g) “technically prohibits successive motions to dismiss that
                                                                         25   raise arguments that could have been made in a prior motion . . . courts faced with a successive
                                                                         26   motion often exercise their discretion to consider the new arguments in the interests of judicial
                                                                         27   economy.” Amaretto Ranch Breedables, LLC v. Ozimals, Inc., 2011 WL 2690437, *2 n. 1 (N.D.
                                                                         28
                                                                                                                                                                     NO. CV 13-02977 RS
                                                                                                                                                                                 ORDER
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                                                                                  Case 3:13-cv-02977-VC Document 38 Filed 12/16/13 Page 5 of 13




                                                                          1   Cal. 2011). In this case, it is reasonable for the court to consider more fully how its prior holding
                                                                          2   impacts the viability of Banko’s remaining claims.
                                                                          3          B. First Claim: Violation of Dodd-Frank Act
                                                                          4          The Dodd-Frank Act prohibits employers from taking adverse employment actions against
                                                                          5   “whistleblower” employees for making disclosures that are required or protected under the
                                                                          6   Sarbanes-Oxley Act. 15 U.S.C. § 78u-6(h)(1)(A). Banko claims that Apple violated Dodd-Frank,
                                                                          7   contending his termination was motivated by his disclosures, which he asserts are protected by
                                                                          8   Sarbanes-Oxley.
                                                                          9          This claim was dismissed in the court’s prior order. (Docket No. 29). Banko, who has not
                                                                         10   amended this claim, intends to appeal the court’s conclusion that he cannot avail himself of Dodd-
United States District Court




                                                                         11   Frank’s whistleblower protections. The first claim is therefore dismissed without leave to amend.
                               For the Northern District of California




                                                                         12          C. Second Claim: Wrongful Termination in Violation of Public Policy
                                                                         13          In California, an employer may be subject to tort liability if it terminates an employee in
                                                                         14   violation of a fundamental public policy. Steffens v. Regus Grp., PLC, 485 F. App'x 187, 188 (9th
                                                                         15   Cir. 2012) (citing Gould v. Md. Sound Indus., Inc., 31 Cal. App. 4th 1137, 1147 (1995)). To sustain
                                                                         16   a claim for wrongful termination, the underlying public policy must be (1) supported by either
                                                                         17   constitutional or statutory provisions; (2) “public” in the sense that it “inures to the benefit of the
                                                                         18   public” rather than merely serving the interests of individuals; (3) well-established at the time of
                                                                         19   plaintiff's discharge; and (4) “fundamental” and “substantial.” Stevenson v. Super. Ct., 941 P.2d
                                                                         20   1157, 1161 (Cal. 1997).
                                                                         21          Claims for wrongful termination “typically arise when an employer retaliates against an
                                                                         22   employee for refusing to violate a statute, performing a statutory obligation, exercising a statutory
                                                                         23   right, or reporting an alleged violation of a statute of public importance.” Gould, 31 Cal. App. 4th at
                                                                         24   1147. When an employee claims he was terminated for reporting an alleged violation of a statute of
                                                                         25   public importance, he “is not required to report the violation to a government or law enforcement
                                                                         26   agency; internal reporting is sufficient.” Steffens, 485 F. App'x at 188 (citing Gould, 31 Cal. App.
                                                                         27   4th at 1150). Nor, for purposes of surviving a motion to dismiss, must the employee specify the
                                                                         28   particular statutory provision(s) supporting his claim. See Vargas v. BP Am., Inc., 2011 WL
                                                                                                                                                                      NO. CV 13-02977 RS
                                                                                                                                                                                  ORDER
                                                                                                                                  5
                                                                                  Case 3:13-cv-02977-VC Document 38 Filed 12/16/13 Page 6 of 13




                                                                          1   1601588 (E.D. Cal. 2011) (stating that while failure to identify a specific statutory or constitutional
                                                                          2   policy would doom a wrongful termination claim in state court, federal notice pleading requires
                                                                          3   less); see also Stoval v. Basin St. Properties, 2013 WL 6002758, *3 (N.D. Cal. 2013) (denying
                                                                          4   employer’s motion for summary judgment on wrongful termination claim where employee failed to
                                                                          5   specify which statutory provision was implicated by his allegation).
                                                                          6           The FAC alleges that Roe’s embezzlement of a publicly-traded corporation’s funds harmed
                                                                          7   the general public by “impacting the millions of Apple shareholders[] and . . . creating tax
                                                                          8   irregularities[.]” FAC ¶ 64. Banko contends that by ordering him to cease pursuing Roe’s
                                                                          9   termination, and for eventually firing him because he was unwilling to ignore Roe’s embezzlement,
                                                                         10   Apple punished him for reporting illegal activity in the workplace. Banko maintains he was simply
United States District Court




                                                                         11   seeking to enforce laws and policies that discourage employee financial misconduct, thereby
                               For the Northern District of California




                                                                         12   benefitting Apple and the general public alike.
                                                                         13           Apple argues that Banko’s wrongful termination claim fails for several reasons. First,
                                                                         14   seizing upon the prior order’s conclusion that Banko is not a “whistleblower” for purposes of
                                                                         15   Sarbanes-Oxley or Dodd-Frank, Apple argues that because Banko cannot prevail on that federal
                                                                         16   claim for relief, neither can he predicate his wrongful termination claim on the theory that Apple
                                                                         17   violated public policies set forth in either federal statute. Several courts in this district have held,
                                                                         18   however, that even where a plaintiff is unable to state a claim for relief under a particular statute, he
                                                                         19   can nevertheless prevail on a claim that he was wrongfully terminated in violation of that statute’s
                                                                         20   policy.3
                                                                         21           In Weingand v. Harland Fin. Solutions, Inc., the plaintiff sued his former employer, alleging
                                                                         22   he was fired for notifying supervisors that the company may have been violating California wage-
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                                                                         24     At oral argument, Apple purported not to dispute that a wrongful termination claim can be
                                                                              premised on a public policy set forth in a statute under which the wrongful termination plaintiff
                                                                         25   cannot recover. Apple maintains, however, that the policies underlying federal and California
                                                                              retaliation statutes do not protect employees who, like Banko, fail to report co-worker wrongdoing
                                                                         26   to outside authorities. This argument rings hollow at least with respect to the California Labor
                                                                              Code, which expressly protects employees who “refus[e] to participate in an activity that would
                                                                         27   result in a violation of state or federal statute, or a violation or noncompliance with a state or federal
                                                                              rule or regulation.” Cal. Lab. Code § 1102.5(c). An employee need not report to authorities in
                                                                         28   order to seek protection under this subsection.
                                                                                                                                                                      NO. CV 13-02977 RS
                                                                                                                                                                                  ORDER
                                                                                                                                   6
                                                                                  Case 3:13-cv-02977-VC Document 38 Filed 12/16/13 Page 7 of 13




                                                                          1   and-hour laws. 2012 WL 3537035 (N.D. Cal. 2012). The court dismissed plaintiff’s retaliation
                                                                          2   claim under California Labor Code § 1102.5, reasoning that he failed to meet the statutory
                                                                          3   requirement of reporting the alleged wrongdoing to authorities.4 Id. at *4. His wrongful
                                                                          4   termination claim, on the other hand, survived the employer's motion to dismiss. The employer
                                                                          5   argued that because the plaintiff's actions were not protected under the retaliation statute, his claim
                                                                          6   for wrongful termination could not be predicated upon the allegation that he was fired in violation of
                                                                          7   California Labor Code policy. The court disagreed, finding that “other cases with similar facts . . .
                                                                          8   have looked to the public policy evinced by the purpose of various statutes as opposed to a
                                                                          9   mechanical application of the statutory causes of action on an element-by-element basis.” Id. at *8.
                                                                         10   (emphasis in original); see also Gould, 31 Cal. App. 4th at 1148 (“[I]f MSI discharged Gould in
United States District Court




                                                                         11   retaliation for his reporting violations of the overtime wage law to MSI management, it violated a
                               For the Northern District of California




                                                                         12   fundamental public policy of the state.”)).
                                                                         13          Similarly, in Stoval v. Bain Street Properties, the plaintiff’s wrongful termination claim was
                                                                         14   cognizable based on the public policy reflected in § 1102.5 even though the plaintiff was likely
                                                                         15   precluded from stating a claim under the statute. 2013 WL 6002758 (N.D. Cal. 2013). In Stoval,
                                                                         16   the plaintiff was employed as a facilities manager for a company that owned several apartment
                                                                         17   buildings. The plaintiff was terminated after informing his employer that a co-worker illegally
                                                                         18   connected a cable television service to an apartment unit inside one of the employer's properties.
                                                                         19   The court denied the employer’s summary judgment motion on the plaintiff’s wrongful termination
                                                                         20   claim, reasoning that § 1102.5 “evinces a strong public interest in encouraging employee reports of
                                                                         21   illegal activity in the workplace.” Id. *3 (quoting Collier v. Super. Ct., 228 Cal. App. 3d 1117, 1123
                                                                         22   (1991) (alterations and quotation marks omitted). The court acknowledged that the plaintiff, who
                                                                         23   did not specify he was terminated in violation of § 1102.5’s policy, and who had not pled a claim
                                                                         24   under the statute, would likely be precluded from protection under § 1102.5 due to his failure to
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                                                                               Nor could the plaintiff in Weingand establish that he had refused to participate in illegal activity.
                                                                         28   See § 1102.5(c).
                                                                                                                                                                    NO. CV 13-02977 RS
                                                                                                                                                                                ORDER
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                                                                                  Case 3:13-cv-02977-VC Document 38 Filed 12/16/13 Page 8 of 13




                                                                          1   report the alleged wrongdoing to authorities.5 Id. Nonetheless, the court held that because the
                                                                          2   California Labor Code’s retaliation statute reflects a strong public policy encouraging employees to
                                                                          3   report illegal workplace activity, the plaintiff’s claim could proceed on the basis that he was
                                                                          4   terminated for reporting his co-worker’s alleged cable theft. Id.
                                                                          5           Weingand and Stoval demonstrate that Banko’s failure to state a claim under a particular
                                                                          6   statute (e.g., Dodd-Frank) does not preclude him from relying on that statute’s policies for purposes
                                                                          7   of his wrongful termination claim. As an initial matter, the Dodd-Frank and California Labor Code
                                                                          8   retaliation provisions both appear to reflect a strong public interest in encouraging employees to
                                                                          9   report illegal activity in the workplace. However, there is little case law exploring the extent to
                                                                         10   which a wrongful termination tort can be premised on the policies set forth in Dodd-Frank. For
United States District Court




                                                                         11   purposes of resolving this motion, it is sufficient to conclude that Banko’s claim can proceed on the
                               For the Northern District of California




                                                                         12   theory that he was terminated in violation of the “strong public interest,” reflected in California
                                                                         13   Labor Code § 1102.5, “in encouraging employee reports of illegal activity in the workplace.”
                                                                         14   Collier, 228 Cal. App. 3d at 1123; see also Stoval, 2013 WL 6002758 at *4.
                                                                         15           Apple further contends that Banko’s claim must fail because it cannot be tethered to any
                                                                         16   “fundamental” public policy. See Remus v. Fios, Inc., 2012 WL 707477 at *10 (N.D. Cal. 2012).
                                                                         17   According to Apple, it is well-settled that internal company complaints about employee
                                                                         18   embezzlement do not implicate a fundamental public policy for purposes of the wrongful
                                                                         19   termination tort. It relies primarily on American Computer Corp. v. Superior Court, wherein the
                                                                         20   California Court of Appeal held that the plaintiff’s internal reporting of co-worker embezzlement
                                                                         21   was insufficient to sustain a wrongful termination claim. See 213 Cal. App. 3d 664 (1989). The
                                                                         22   court reasoned that “the most that can connect [plaintiff's] conduct with the public interest is the
                                                                         23   argument that by reporting his suspicions to his superiors he took action which might eventually
                                                                         24   prevent or uncover commission of a felony and thereby serve[] the laudable goal of preventing
                                                                         25   crime.” Id. at 668.
                                                                         26
                                                                         27   5
                                                                                The court in Stoval did not address § 1102.5(c), presumably because the plaintiff did not “refus[e]
                                                                         28   to participate in an activity that would result in a violation of state or federal statute, or a violation or
                                                                              noncompliance with a state or federal rule or regulation.” Cal. Lab. Code § 1102.5(c).
                                                                                                                                                                       NO. CV 13-02977 RS
                                                                                                                                                                                   ORDER
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                                                                                 Case 3:13-cv-02977-VC Document 38 Filed 12/16/13 Page 9 of 13




                                                                          1          The court in Stoval rejected an argument similar to the one Apple makes here. Examining
                                                                          2   California cases decided since American Computer, the court concluded that “[u]nder California
                                                                          3   law, it implicates a public policy to terminate an employee’s employment as a result of his or her
                                                                          4   reporting a criminal activity.” 2013 WL 6002758, *4. In Collier, decided two years after American
                                                                          5   Computer, the California Court of Appeal recognized that there is a compelling and “fundamental
                                                                          6   public interest in a workplace free from crime.” 228 Cal. App. 3d at 1127. Further, in Haney v.
                                                                          7   Aramark Unif. Servs., Inc., the California Court of Appeal found that where a policy underlying a
                                                                          8   wrongful termination claim is reflected in a provision of the Penal Code, “the policy is deemed
                                                                          9   fundamental or substantial, and inures to the benefit of the public rather than merely serving the
                                                                         10   interests of individuals.” Stoval at *4 (summarizing Haney, 121 Cal. App. 4th 623 (2004)). Banko
United States District Court




                                                                         11   reported embezzlement, a crime enumerated in the state Penal Code. See Cal. Penal Code § 503.
                               For the Northern District of California




                                                                         12   Apple is therefore incorrect to contend that, as a matter of law, Banko’s internal complaint about
                                                                         13   Roe’s alleged criminal activity cannot implicate a fundamental public policy. See Stoval at *3
                                                                         14   (because cable theft is proscribed in the Penal Code, wrongful termination claim could proceed
                                                                         15   where employee was allegedly fired for reporting co-worker’s cable theft).
                                                                         16          Against the backdrop of Haney and Collier, both of which acknowledge that reporting
                                                                         17   criminal activity in the workplace implicates a public policy, Apple's other authorities are less
                                                                         18   compelling. Apple relies on Rivera v. Nat’l R.R. Passenger Corp., wherein the Ninth Circuit held
                                                                         19   that “reporting ongoing criminal conduct to an employer's management does not necessarily
                                                                         20   implicate a public interest.” 331 F.3d 1074, 1080 (9th Cir.) (emphasis added). In Rivera, the
                                                                         21   plaintiff alleged he was wrongfully terminated for reporting unsafe and illegal activities in the
                                                                         22   workplace. The district court granted the defendant’s motion for summary judgment, and the Ninth
                                                                         23   Circuit affirmed, reasoning that there was insufficient evidence that the plaintiff actually reported
                                                                         24   the criminal activity to his employer. Then, in apparent dicta, the court stated that “[i]f Rivera had
                                                                         25   reported the illegal activities of his co-workers, Rivera may have achieved the ‘laudable goal’ of
                                                                         26   preventing crime, but this is not enough to fit within the narrow confines of wrongful termination in
                                                                         27   violation of public policy.” Id. at 1080 (quoting American Computer, 213 Cal. App. 3d at 668).
                                                                         28   The court’s conclusion apparently was premised exclusively on American Computer, a case the
                                                                                                                                                                   NO. CV 13-02977 RS
                                                                                                                                                                               ORDER
                                                                                                                                 9
                                                                                  Case 3:13-cv-02977-VC Document 38 Filed 12/16/13 Page 10 of 13




                                                                          1   California Court of Appeal has since found to be inconsistent with subsequent California cases. See
                                                                          2   Collier, 228 Cal. App. 3d at 1125. Moreover, Rivera was decided before Haney, in which the Court
                                                                          3   of Appeal held that a wrongful discharge claim implicates fundamental public policy when the
                                                                          4   plaintiff alleges he was fired for reporting and refusing to engage in fraudulent billing practices. See
                                                                          5   121 Cal. App. 4th at 643.6 In sum, because Banko alleges sufficient facts to support a plausible
                                                                          6   claim that he was terminated for reporting co-worker embezzlement in the workplace, Apple’s
                                                                          7   motion is denied with respect to his second claim.
                                                                          8          D. Third Claim: Retaliation
                                                                          9          Banko alleges that Apple retaliated against him in violation of Dodd-Frank, Sarbanes-Oxley,
                                                                         10   and California Labor Code § 1102.5. As discussed in the court’s prior order, Banko’s third claim
United States District Court




                                                                         11   cannot proceed under either federal law. (Docket No. 29). Apple contends state law similarly
                               For the Northern District of California




                                                                         12   provides no remedy. Like Dodd-Frank and Sarbanes-Oxley, the state statute seeks to protect
                                                                         13   whistleblowers by prohibiting employers from retaliating against employees for engaging in certain
                                                                         14   categories of protected activity. Cal. Lab. Code § 1102.5. While § 1102.5(a) and (b) provide
                                                                         15   protections for employees who report wrongdoing to government authorities, (c) prohibits
                                                                         16   employers from retaliating against employees “for refusing to participate in an activity that would
                                                                         17   result in a violation of state or federal statute, or a violation or noncompliance with a state or federal
                                                                         18   rule or regulation.” Id. § 1102.5(c).
                                                                         19          Apple contends that the court lacks subject matter jurisdiction over this claim, arguing that
                                                                         20   Banko was required to exhaust his administrative remedies with the California Labor Commissioner
                                                                         21   before coming to federal court. Although § 1102.5 is silent on administrative exhaustion
                                                                         22   requirements, § 98.7 sets out the complaint process for an employee alleging a violation of the
                                                                         23   California Labor Code. See Dowell v. Contra Costa Cnty., 928 F. Supp. 2d 1137, 1152 (N.D. Cal.
                                                                         24   2013). That statute provides, in pertinent part: “Any person who believes that he or she has been
                                                                         25   discharged or otherwise discriminated against in violation of any law under the jurisdiction of the
                                                                         26   6
                                                                                Apple also invokes Van Hulten v. Us. Sec. Assocs., 2010 U.S. Dist. LEXIS 57979 (E.D. Cal.
                                                                         27   2010), Lewis v. Electronic Data Systems Corp., 2004 Cal. App. Unpub. LEXIS 8987 (2004), and
                                                                              Giknyo v. Alticor, Inc., 2010 Cal. App. Unpub. LEXIS 3303 (2010). All three cases rely primarily
                                                                         28   on American Computer for the notion that reporting co-worker wrongdoing does not implicate a
                                                                              fundamental public policy.
                                                                                                                                                                     NO. CV 13-02977 RS
                                                                                                                                                                                 ORDER
                                                                                                                                  10
                                                                                 Case 3:13-cv-02977-VC Document 38 Filed 12/16/13 Page 11 of 13




                                                                          1   Labor Commissioner may file a complaint with the division within six months after the occurrence
                                                                          2   of the violation.” Cal. Lab. Code § 98.7(a) (emphasis added). Noting the permissive language of
                                                                          3   the statute, some courts in this district have held that § 98.7(a) does not require a plaintiff to exhaust
                                                                          4   administrative remedies before bringing a § 1102.5 claim in federal court. See, e.g., Dowell, 928 F.
                                                                          5   Supp. 2d at 1153; Turner v. City & County of San Francisco, 892 F. Supp. 2d 1188, 1201–02 (N.D.
                                                                          6   Cal. 2012). The majority of courts addressing the issue, however, have held that a plaintiff must file
                                                                          7   a complaint with the Labor Commissioner before bringing a § 1102.5 claim in federal court. See,
                                                                          8   e.g., Miller v. Sw. Airlines, Co., 923 F. Supp. 2d 1206, 1210 (N.D. Cal. 2013); Wright v. Kaiser
                                                                          9   Found. Hospitals, 2012 WL 4097738 (N.D. Cal. 2012); Ferretti v. Pfizer Inc., 855 F. Supp. 2d
                                                                         10   1017, 1023 (N.D. Cal. 2012); Morrow v. City of Oakland, 2012 WL 2133755 (N.D. Cal. 2012);
United States District Court




                                                                         11   Reynolds v. City & Cnty. of San Francisco, 2011 WL 4808423 (N.D. Cal. 2011). These cases rely
                               For the Northern District of California




                                                                         12   on Campbell v. Regents of University of California, in which the California Supreme Court held that
                                                                         13   even though § 1102.5 is silent on the issue, “the past 60 years of California law on administrative
                                                                         14   remedies” nevertheless compels the conclusion that a plaintiff bringing a claim under the statute is
                                                                         15   subject to the exhaustion requirement. 106 P.3d 976, 988 (2005).
                                                                         16          Banko pleads no facts indicating that he filed an administrative complaint with the Labor
                                                                         17   Commissioner. Accordingly, he fails to demonstrate that the court has subject matter jurisdiction
                                                                         18   over his § 1102.5 claim. At oral argument, counsel for Banko acknowledged that the administrative
                                                                         19   exhaustion requirements have not been satisfied. Accordingly, because amendment apparently
                                                                         20   would be futile, the third claim for retaliation is dismissed with prejudice. See AmerisourceBergen
                                                                         21   Corp. v. Dialysist W., Inc., 465 F.3d 946, 951 (9th Cir. 2006).
                                                                         22          E. Fifth Claim: Breach of Implied Covenant of Good Faith and Fair Dealing
                                                                         23          Every contract contains an implied-in-law covenant of good faith and fair dealing that
                                                                         24   “neither party will do anything which will injure the right of the other to receive the benefits of the
                                                                         25   agreement.” Kransco v. Am. Empire Surplus Lines Ins. Co., 2 P.3d 1, 8 (2000) (quotations and
                                                                         26   citations omitted). The implied covenant “imposes upon each party the obligation to do everything
                                                                         27   that the contract presupposes they will do to accomplish its purpose.” Careau & Co. v. Sec. Pac.
                                                                         28   Bus. Credit, Inc., 272 Cal. Rptr. 387, 398 (Ct. App. 1990) (citations and quotations omitted). Thus,
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                                                                                                                                                                                 ORDER
                                                                                                                                  11
                                                                                  Case 3:13-cv-02977-VC Document 38 Filed 12/16/13 Page 12 of 13




                                                                          1   it “protects only the parties' right to receive the benefit of their agreement.” Foley v. Interactive
                                                                          2   Data Corp., 765 P.2d 373, 400 n. 39 (1988). “A claim for breach of the implied covenant of good
                                                                          3   faith and fair dealing is not duplicative of a breach of contract claim when a plaintiff alleges that the
                                                                          4   defendant acted in bad faith to frustrate the benefits of the alleged contract.” Davis v. Capitol
                                                                          5   Records, LLC, 2013 WL 1701746 (N.D. Cal. 2013).
                                                                          6          Unlike his initial complaint, Banko’s amended complaint plausibly suggests he is entitled to
                                                                          7   relief for this claim. See Twombly, 550 U.S. at 570. Banko reported Roe’s activities to his
                                                                          8   supervisors due to his belief that he was obligated by law and company policy to do so. Banko
                                                                          9   avers that when he was told to cease pursuing Roe’s termination, Apple presented him with an
                                                                         10   untenable dilemma: either disobey his superiors’ instructions or adopt a course of conduct Banko
United States District Court




                                                                         11   believed would violate Apply policy and the law. According to Banko, his employer’s actions made
                               For the Northern District of California




                                                                         12   it impossible for him to do his job pursuant to his purported employment contract, thereby breaching
                                                                         13   Apple’s obligation to abide by the implied covenant of good faith and fair dealing.7 When viewing
                                                                         14   these allegations in a light most favorable to Banko, the FAC raises his right to relief “above the
                                                                         15   speculative level” for breach of the implied covenant of good faith and fair dealing. Id. at 555.
                                                                         16   Accordingly, Apple’s motion is denied with respect to Banko’s fifth claim.
                                                                         17                                             V.      CONCLUSION
                                                                         18          For the foregoing reasons, Apple’s motion is GRANTED with respect to Banko’s first and
                                                                         19   third claims for relief. It is DENIED with respect to his second and fifth claims.
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                                                                         21     The FAC further avers that Apple breached the implied covenant by terminating Banko in order to
                                                                              avoid paying him a separate bonus he allegedly earned as a result of his work on an important Apple
                                                                         22   invention. Apple rejects this allegation, arguing that Banko’s implied covenant claim is duplicative
                                                                              of his breach of contract claim. See Celador Int'l Ltd. v. Walt Disney Co., 347 F. Supp. 2d 846, 852
                                                                         23   (C.D. Cal. 2004) (“A breach of the implied covenant of good faith and fair dealing involves
                                                                              something more than breach of the contractual duty itself.”) (citing Careau & Co. v. Security Pacific
                                                                         24   Business Credit, Inc., 272 Cal. Rptr. 387, 398 (Ct. App. 1990)). Banko avers the existence of an
                                                                              implied contract whereby Apple could terminate him only for cause. Taking Banko’s allegations as
                                                                         25   true, Apple had a duty to execute the contract's purposes in good faith. See Daly v. United
                                                                              Healthcare Ins. Co., 2010 WL 4510911 (N.D. Cal. 2010). If Apple fired Banko in bad faith to
                                                                         26   deprive him of the bonus he would have otherwise received absent his sudden and unexpected
                                                                              termination, it may have breached the implied covenant of good faith and fair dealing. Because
                                                                         27   Banko’s other averments are sufficient to survive Apple’s 12(b)(6) motion on this claim, the
                                                                              invention bonus allegations are, if anything, an additional grounds warranting the denial of Apple’s
                                                                         28   motion as to this claim.
                                                                                                                                                                     NO. CV 13-02977 RS
                                                                                                                                                                                 ORDER
                                                                                                                                 12
                                                                                Case 3:13-cv-02977-VC Document 38 Filed 12/16/13 Page 13 of 13




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                                                                          2         IT IS SO ORDERED.
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                                                                          4   Dated: 12/16/13
                                                                          5
                                                                                                                RICHARD SEEBORG
                                                                          6                                     UNITED STATES DISTRICT JUDGE
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                               For the Northern District of California




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                                                                                                                                                             ORDER
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